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   1
   2           UNITED STATES DISTRICT COURT
               EASTERN DISTRICT OF NEW YORK
   3           ------------------------------------------X
               SAMUEL WHITE,
   4
                                                             PLAINTIFF,
   5
   6                        -against-                        Case No:
                                                             2:20-cv-01501
   7
   8           COUNTY OF SUFFOLK, SUFFOLK COUNTY POLICE
               DEPARTMENT, RONALD TAVARES, MICHAEL MILAU,
   9           SUFFOLK COUNTY DISTRICT ATTORNEY'S OFFICE,
               DARRYL LEVY, LAURA NEWCOMBE, THOMAS SPOTA,
 10            JOHN DOES 1-10, TIMOTHY SINI, OFFICE OF THE
               MEDICAL EXAMINER CRIME LABORATORY (SUFFOLK
 11            COUNTY) HELEN WONG, ODETTE R. HALL, M.D.,
               JOHN PETERSON, and JAMES MCGUINNESS,
 12
                                          DEFENDANTS.
 13            ------------------------------------------X
 14                           DATE: April 12, 2022
 15                           TIME: 10:07 a.m.
 16                      DEPOSITION of the Defendant,
 17            COUNTY OF SUFFOLK, by a witness, ALEXANDER
 18            CRAWFORD, taken by the Plaintiff, pursuant
 19            to a Subpoena and to the Federal Rules of
 20            Civil Procedure, held at the offices of
 21            SUFFOLK COUNTY COUNTY, H. LEE DENNISON
 22            BUILDING, 100 Veterans Memorial Highway,
 23            Hauppauge, New York 11788, before Nancy
 24            Weinschreider, a Notary Public of the State
 25            of New York.

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                                                                    Page 2

   1
   2           A P P E A R A N C E S:
   3
   4           LAW OFFICES OF STEPHANIE McCLURE, ESQ.
                 Attorney for the Plaintiff
   5             SAMUEL WHITE
                 101 Avenue of the Americas, 9th Floor
   6             New York, New York 10013
                 BY: STEPHANIE McCLURE, ESQ.
  7              Email: stephanie@nycnjlawyer.com
  8
  9
 10            DENNIS M. COHEN, ESQ.
                 SUFFOLK COUNTY ATTORNEY'S OFFICE
 11              Attorneys for the Defendants
                 COUNTY OF SUFFOLK, et. al.
 12              H. Lee Dennison Building
                 100 Veterans Memorial Highway
 13              Hauppauge, New York 11788
                 BY: BRIAN MITCHELL, ESQ.
 14              Email:bmitchell@suffolkcountyny.gov
 15
 16
 17
 18
               ALSO PRESENT: Brian Duval
 19
                                   Kyle Wood
 20
 21
 22
 23                          *               *               *
 24
 25

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                                                                    Page 3

   1
   2              F E D E R A L         S T I P U L A T I O N S
   3
   4
   5              IT IS HEREBY STIPULATED AND AGREED by and
   6           between the counsel for the respective
   7           parties herein that the sealing, filing and
   8           certification of the within deposition be
   9           waived; that the original of the deposition
 10            may be signed and sworn to by the witness
 11            before anyone authorized to administer an
 12            oath, with the same effect as if signed
 13            before a Judge of the Court; that an
 14            unsigned copy of the deposition may be used
 15            with the same force and effect as if signed
 16            by the witness, 30 days after service of
 17            the original & 1 copy of same upon counsel
 18            for the witness.
 19
 20               IT IS FURTHER STIPULATED AND AGREED that
 21            all objections except as to form, are
 22            reserved to the time of trial.
 23
 24                            *        *         *           *
 25

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                                                                    Page 4

   1                                  A. CRAWFORD
   2           A L E X A N D E R             C R A W F O R D ,
   3           called as a witness, having been first duly
   4           sworn by a Notary Public of the State of
   5           New York, was examined and testified as
   6           follows:
   7           EXAMINATION BY
   8           MS. McCLURE:
   9                  Q.     Please state your name for the
 10            record.
 11                   A.     Alexander Crawford.
 12                   Q.     What is your business address?
 13                   A.     Suffolk County Police
 14            Department, 30 Yaphank Avenue, Yaphank, New
 15            York 11980.
 16                          MS. McCLURE: Can you mark this
 17                    as Plaintiff's 1, please?
 18                          (Whereupon, the aforementioned
 19                    documents were marked as Plaintiff's
 20                    Exhibit 1 for identification as of
 21                    this date by the Reporter.)
 22                          MS. McCLURE: So just to call
 23                    the case a bit more formally, we have
 24                    been placed on the record by the
 25                    Court Reporter in the matter of

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   1                                  A. CRAWFORD
   2                   Samuel White versus Suffolk County,
   3                   et al.     Today is April 12, 2022.
   4                   We're beginning at 10:08 a.m.                 We
   5                   have Alexander Crawford here.
   6                  Q.     Sir, you have been sworn in.
   7           You understand that today we will be doing
   8           your deposition where you're placed under
   9           oath just like you are at trial --
 10                   A.     Yes.
 11                   Q.     -- or at a formal hearing?
 12                   A.     Yes.
 13                   Q.     And you understand that of
 14            course today that oath is the same as it is
 15            in those settings where you have to tell
 16            the truth, the whole truth and nothing but
 17            the truth.       You understand that?
 18                   A.     Yes, I do.
 19                   Q.     How many depositions have you
 20            testified in up until today approximately?
 21                   A.     Approximately eight or nine.
 22                   Q.     So you know the drill?
 23                   A.     Yes, I am familiar with the
 24            process, yes.
 25                   Q.     So you know that if I ask you

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                                                                       Page 6

   1                                  A. CRAWFORD
   2           any questions that you don't understand,
   3           please let me know and it's perfectly
   4           acceptable for you to stop me and say that
   5           you don't understand the question or you
   6           need me to repeat it.
   7                  A.     Yes, I understand.
   8                  Q.     I have a tendency to talk a bit
   9           softly and in a room like this, I think
 10            it's probably more appreciated than me
 11            overwhelming everyone with a loud voice, so
 12            if you don't have the ability to hear me at
 13            any time, please also let me know because
 14            it's important that you fully hear and
 15            understand all the questions.                   Okay?
 16                   A.     Yes, I understand.
 17                   Q.     Okay, very good.                All right.
 18                          So I am Stephanie McClure.                   I'm
 19            the attorney for Samuel White and also, by
 20            way of introduction, this is my assistant
 21            today, Investigator Brian Duval.                   He will
 22            be assisting me throughout the deposition.
 23                          MS. McCLURE: I assume that no
 24                    one has any objection to the ordinary
 25                    stipulation and preserving, of course

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   1                                  A. CRAWFORD
   2                   not waiving, any objections, Brian, I
   3                   heard you mention that earlier to
   4                   Mr. Crawford and that's certainly
   5                   acceptable to me that stipulation
   6                   that you're not waiving your rights
   7                   to object, but rather that you're
   8                   preserving them.
   9                         Does anybody else have anything
 10                    to place on the record before we get
 11                    started?
 12                          MR. WOOD: I do not.
 13                          MR. MITCHELL: And I do not.
 14                          MS. McCLURE: Okay, very good.
 15                   Q.     And actually, two more things
 16            of recordkeeping.           Of course, although no
 17            judge will be present, Mr. Mitchell, as he
 18            indicated to you, does have the right
 19            although limited to object to certain kinds
 20            of questions.        If there is an objection,
 21            unless he tells you directly not to answer
 22            it, you are directed to answer it.
 23                          Additionally, before this
 24            deposition can be used in a court, you will
 25            have the full opportunity to review it for

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   1                                  A. CRAWFORD
   2           accuracies before such time, okay, all
   3           right.      Mr. Crawford, what is your present
   4           title?
   5                  A.      Inspector.
   6                  Q.      And by whom are you so
   7           employed?
   8                  A.      The Suffolk County Police
   9           Department.
 10                   Q.      And Suffolk County Police
 11            Department is an arm of the county; is that
 12            correct?
 13                   A.      That's an agency of the county,
 14            yes.
 15                   Q.      And what are your present
 16            duties in that capacity?
 17                   A.      I am the executive officer of
 18            the Internal Affairs Bureau.
 19                   Q.      Okay.
 20                           And by executive officer, tell
 21            me what are your specific duties as an
 22            executive officer?
 23                   A.      I assist the commanding officer
 24            in running the operations of Internal
 25            Affairs Bureau.

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   1                                  A. CRAWFORD
   2                  Q.     Can you describe for me the
   3           operations of running an Internal Affairs
   4           Bureau?
   5                  A.     Well, I obviously, there's the
   6           investigative aspect of the
   7           responsibilities of the office, conducting
   8           investigations regarding civilian
   9           complaints and other allegations of
 10            misconduct; also the responsibilities of
 11            the office include discovery production to
 12            the DA's office, the County Attorney's
 13            office, the U.S. Attorney's Office.                   It
 14            also involves formal production to various
 15            requestors, so, and then overseeing other
 16            aspects of control operations, detective
 17            operations as far as conducting audits,
 18            doing checks; also Internal Affairs is
 19            responsible for drug and alcohol testing
 20            for the department.
 21                   Q.     When you mentioned conducting
 22            audits in the context of patrol, can you
 23            tell me what you mean by conducting audits?
 24                   A.     Can vary, will check to make
 25            sure that officers respond to their post in

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   1                                  A. CRAWFORD
   2           a timely fashion and remain on their post
   3           for the assigned period of time, will
   4           conduct audits to ensure officers or
   5           crossing guards assigned to crossing posts
   6           are doing their jobs properly, we will
   7           conduct audits of property section
   8           contained to ensure that they're
   9           maintaining and securing invoiced items in
  10           a proper fashion, so it's wide ranging.
  11                  Q.       And are those audits done
  12           pursuant to a written policy or procedure?
  13                           MR. MITCHELL: I object to the
  14                   form.     You can answer.
  15                  A.       As far as a written policy, we
  16           have a guidebook within Internal Affairs
  17           Bureau; and as far as the policy manual for
  18           the department, yes, it does require
  19           various audits.
  20                  Q.       So you have a guidebook and
  21           also a policy manual, two separate
  22           documents, is that right?
  23                  A.       Yes.
  24                  Q.       And are those issued and
  25           re-issued every year or is there one

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   1                                  A. CRAWFORD
   2           standing manual that is updated whenever it
   3           needs to be?
   4                  A.      Yeah, it's updated
   5           continuously.
   6                  Q.      Do you know when the last
   7           update to that was published?
   8                  A.      For the policy manual?
   9                  Q.      Yes.
  10                  A.      That occurs on a daily basis.
  11                  Q.      On a daily basis, okay.
  12                          So on a daily basis, the
  13           written policy manual is updated?
  14                  A.      Yes, as department directors
  15           are issued amending the policies, yes.
  16           It's amended on a continual basis, yes.
  17                  Q.      Roger, I understand.
  18                          So when memoranda are issued
  19           with regard to any pertinent material to
  20           the policy manual, it becomes part and
  21           parcel to the manual, correct?
  22                  A.      Well, actually it's a
  23           department general order.                     There are
  24           various department orders, but a department
  25           general order, yes, does amend the policy

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   1                                  A. CRAWFORD
   2           manual.
   3                  Q.      And where are those department
   4           general orders stored?
   5                  A.      They are disseminated
   6           electronically on the internet for the
   7           department.       As far as the physical copies
   8           of the orders, I believe they're maintained
   9           at research and development.
  10                  Q.      And where is that located?
  11                  A.      That's within the headquarters
  12           building.
  13                  Q.      Which is where?
  14                  A.      At 30 Yaphank Avenue in
  15           Yaphank.
  16                  Q.      And how about for the guidebook
  17           separate from the policy manual, when was
  18           that last published?
  19                  A.      Well, it's, you mean published
  20           or amended?
  21                  Q.      What was the last edition?
  22                  A.      It was probably about four or
  23           five months ago.
  24                  Q.      And is that updated on a
  25           regular schedule or on an as-needed basis?

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   1                                  A. CRAWFORD
   2                  A.      As-needed basis.
   3                  Q.      And where can one go in order
   4           to find a copy of that guidebook and the
   5           various editions of it?
   6                  A.      That would be maintained within
   7           the Internal Affairs Bureau.
   8                  Q.      Which is located where?
   9                  A.      Actually, we just moved.                We're
  10           now in Hauppauge, right behind the 4th
  11           Precinct.      Sorry, I don't know the street
  12           address.
  13                  Q.      That's all right.
  14                  A.      The Hauppauge North Complex, I
  15           believe it's called.
  16                          MR. MITCHELL: Yeah, this is by
  17                   counsel, the actual address is North
  18                   County Complex, Veterans Highway,
  19                   Hauppauge, New York 11788 and I don't
  20                   know the building number.               Each
  21                   building in there has a number, so
  22                   whatever the building number it is.
  23                  A.      C928.
  24                  Q.      Thank you, gentlemen.
  25                          With regard to the amendments

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                                                                    Page 14

   1                                  A. CRAWFORD
   2           that are done on an as-needed basis, who
   3           makes the determination?
   4                  A.      The ultimate decision is made
   5           by the commanding officer from the Internal
   6           Affairs Bureau.
   7                  Q.      And when you say ultimate
   8           decision, is that because someone may
   9           present him with an idea or a concern for
  10           amendment?
  11                  A.      Yes.
  12                  Q.      Okay.
  13                          And then it would be up to him
  14           to say yes or no, it goes in the manual or
  15           no?
  16                  A.      Yes, it would be up to her.
  17                  Q.      Her, pardon.             All right.
  18                          So going back to some
  19           preliminaries.         How long have you been in
  20           law enforcement altogether, Mr. Crawford?
  21                  A.      Little over 30 years.
  22                  Q.      And can you give me an idea of,
  23           clearly you probably started in patrol, is
  24           that right?
  25                  A.      Yes.

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                                                                   Page 15

   1                                    A. CRAWFORD
   2                  Q.      Worked your way to detective?
   3                  A.      No.
   4                  Q.      Never a detective, okay.
   5                          Can you track what you did from
   6           the time you were on patrol until you're
   7           sitting here now as an investigator?
   8                  A.      Sure.        As a police officer, I
   9           was assigned to the 5th Precinct.
  10                  Q.      Okay.
  11                  A.      Then to the Highway Patrol
  12           Bureau; then upon promotion to sergeant in
  13           2000, I was assigned to 5th Precinct
  14           patrol; then I was assigned to research and
  15           development; and then to Internal Affairs
  16           Bureau; and then upon promotion to
  17           lieutenant in 2005, I remained at Internal
  18           Affairs Bureau; and then transferred to
  19           Special Patrol Bureau; then to the 7th
  20           Precinct; then upon promotion to captain in
  21           2014, I was assigned to Legal Bureau --
  22                  Q.      Okay.
  23                  A.      -- which is within the
  24           Commissioner's office.                  Sorry.
  25                  Q.      That's all right, take your

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   1                                  A. CRAWFORD
   2           time.
   3                   A.     2016 I was assigned to 7th
   4           Precinct.
   5                   Q.     In what capacity?
   6                   A.     As a captain; then, I was
   7           assigned then to Highway Patrol Bureau as a
   8           captain in also 2017; then 2018, I was
   9           promoted to deputy inspector, I was
  10           assigned to the 6th Precinct; and then in
  11           2019, I was assigned to Internal Affairs
  12           Bureau where I'm currently assigned.
  13                   Q.     Okay.
  14                          That was pretty good, thank
  15           you?
  16                   A.     Yeah, sorry, the details is a
  17           little hazy overtime.
  18                   Q.     That's all right.              That was a
  19           lot of positions.
  20                          So at what point through that
  21           course did you obtain your juris doctorate
  22           and your legal degrees?
  23                   A.     When I was a police officer.
  24                   Q.     Okay.
  25                          So while you were on patrol, is

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   1                                  A. CRAWFORD
   2           that right?
   3                  A.      Yes.
   4                  Q.      So you did law school around
   5           your shifts?
   6                  A.      Yes, I worked a steady midnight
   7           shift.
   8                  Q.      Okay.
   9                          And when did you pass the bar?
  10                  A.      In 1997.
  11                  Q.      That said, in the course of
  12           your history, I see that, I have made the
  13           presumption originally which you corrected
  14           that you would have gone from patrol to an
  15           investigatory unit as a detective.
  16                          Throughout your various
  17           promotions and supervisory capacities, were
  18           they continually over patrol or did you
  19           have direct chain of command over an
  20           investigatory officer, a chain of officers
  21           at any time?
  22                  A.      The only supervisory position I
  23           had in an investigative capacity is
  24           currently in the Internal Affairs Bureau.
  25                  Q.      So prior to this last position

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   1                                  A. CRAWFORD
   2           that you're holding, did you have to
   3           undergo any additional special training or
   4           instruction with regard to investigation or
   5           investigation techniques?
   6                   A.     I'm sorry, could you repeat
   7           that?
   8                   Q.     That's okay.
   9                          Prior to this current position
  10           that you hold since you hadn't had previous
  11           investigatory experience, did you have to
  12           undergo any additional training or whatnot
  13           in that regard specifically about
  14           investigation techniques?
  15                   A.     Okay.      I thought your previous
  16           question was regarding supervising
  17           investigations?
  18                   Q.     I'm asking if you had training
  19           in investigation specifically.
  20                   A.     Yes.     When I was first assigned
  21           as an investigator in the Internal Affairs
  22           Bureau --
  23                   Q.     Okay.
  24                   A.     And that was in 2004.
  25                   Q.     Can you tell me a little bit

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                                                                   Page 19

   1                                  A. CRAWFORD
   2           about that training, if you recall it?
   3                  A.      Yeah, it was just like a basic
   4           course in Internal Affairs Investigations
   5           and there were a few training seminars that
   6           I attended, but I'm sorry, I don't recall
   7           the specific names at this point.
   8                  Q.      That's okay.             I wouldn't expect
   9           you to.
  10                          So with regard to your
  11           investigative training, is it fair to say
  12           that it all pertained to the investigation
  13           of Internal Affairs issues?
  14                  A.      Yes, when I was assigned to the
  15           Internal Affairs Bureau.
  16                  Q.      Okay.
  17                          When you were going through
  18           your time in patrol, did you have any
  19           training specifically in investigating
  20           street crimes, homicides or anything of
  21           that nature?
  22                  A.      You mean like a basic criminal
  23           investigation course or anything of that
  24           nature?     No, not while I was in patrol. No.
  25                  Q.      At any time?

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   1                                     A. CRAWFORD
   2                  A.       No.
   3                  Q.       You're a member of any union?
   4                  A.       I am currently a member of the
   5           Suffolk Superior Officers Association.
   6                  Q.       Tell me, what is the purpose of
   7           splitting up the police union into superior
   8           officers and regular non-superior officers?
   9                           MR. MITCHELL: I object to the
  10                   form, but you can answer.
  11                  A.       I, maybe it was done before I
  12           started my employment with the agency.                     I
  13           would imagine it was --
  14                           MR. MITCHELL: I know it's a
  15                   figure of speech, but don't guess or
  16                   imagine.
  17                           THE WITNESS: Okay.
  18                           MR. MITCHELL: If you have some
  19                   basis for your knowledge, that's
  20                   fine.
  21                  A.       I don't know why they were
  22           split up as they were, as they were formed.
  23                  Q.       Does the union have a function
  24           or is it more of a social in nature?
  25                           MR. MITCHELL: I object to the

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   1                                  A. CRAWFORD
   2                   form.     You can answer.
   3                  A.       It's, no, each union has a
   4           function.       They're the bargaining
   5           representative for all of the members.
   6                  Q.       When you say bargaining
   7           representative, can you explain to me what
   8           that means?
   9                           MR. MITCHELL: I object to the
  10                   form.     This is beyond the scope of
  11                   the 30B.       I'm going to direct him not
  12                   to answer.
  13                           MS. McCLURE: I had specifically
  14                   asked about all of his knowledge with
  15                   regard to the Suffolk County Police
  16                   Department and it does go into
  17                   recordkeeping, but part of what we're
  18                   talking about today, Brian, is
  19                   Internal Affairs records, some of
  20                   these records having to do with
  21                   issues that pertain to union related
  22                   issues and outcomes that pertain to
  23                   union related issues, so it's a fair
  24                   question.
  25                           MR. MITCHELL: I disagree.               I'm

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   1                                   A. CRAWFORD
   2                    directing him not to answer questions
   3                    about the make-up of the union --
   4                            MS. McCLURE: Okay.
   5                            MR. MITCHELL: -- as far as the
   6                    union being involved in, if there's
   7                    an IA investigation, that's
   8                    different, but you're asking about
   9                    the structural make-up of the union.
  10                    He's not here for that, so I'm
  11                    directing him not to answer.
  12                            MS. McCLURE: Okay.            That's
  13                    fine.     Madam Reporter, I would just
  14                    ask you to note and mark that
  15                    question for follow-up at a later
  16                    date.
  17                  Q.        But you said you are a member
  18           of that Superiors Officers Union, is that
  19           right?
  20                  A.        Yes.
  21                  Q.        How long have you been there?
  22                  A.        Since my promotion to sergeant
  23           in 2000.
  24                  Q.        And have you ever held an
  25           office within that union?

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   1                                    A. CRAWFORD
   2                  A.      As a board member?
   3                  Q.      Yes.
   4                  A.      Yes.
   5                  Q.      And do you currently hold an
   6           office?
   7                  A.      No.
   8                  Q.      Okay.
   9                          Can you tell me the years when
  10           you were a board member of any kind?
  11                  A.      I served as a trustee for the
  12           Superiors Officers Association from 2011 to
  13           2014 and then I served as the sergeant at
  14           arms in, from 2015 to 2018.
  15                  Q.      Have you ever been deposed
  16           before as a representative of the union in
  17           any capacity?
  18                  A.      No.
  19                  Q.      No, okay.
  20                          Have you ever appeared on
  21           behalf of a member in a representative
  22           capacity on behalf of the union?
  23                          MR. MITCHELL: I object to the
  24                   form, but you can answer.
  25                  A.      I, in what capacity?

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   1                                    A. CRAWFORD
   2                  Q.      At any hearing.                  Have you gone
   3           along with an officer for any purpose to
   4           assist him on his behalf?
   5                  A.      Not for a hearing.                  I used to
   6           provide assistance with disciplinary issues
   7           when I was on the board.
   8                  Q.      Okay.
   9                          What kind of assistance?
  10                  A.      Just providing counseling and
  11           appearing at Internal Affairs interviews.
  12                  Q.      So almost as counsel for them,
  13           legal counsel?
  14                  A.      No, as union, union counsel.
  15           That would be separate legal union counsel.
  16                  Q.      And with regard to your prior
  17           depositions, have you ever been designated
  18           by the county as you have today as a
  19           representative under 30B6?
  20                  A.      No.
  21                  Q.      And you're familiar with that
  22           rule as someone with a legal background?
  23                  A.      Yes.
  24                  Q.      So you understand today that
  25           that is your role today?

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   1                                    A. CRAWFORD
   2                  A.      Yes.
   3                  Q.      And it's your first time?
   4                  A.      Yes.
   5                  Q.      And before, especially given
   6           that, before today, did you have the
   7           opportunity, without telling me what you
   8           guys talked about, to speak or get-together
   9           with Mr. Mitchell for preparation?
  10                  A.      Yes.
  11                  Q.      Did you meet with anyone else?
  12                  A.      No.
  13                  Q.      And did you review any
  14           documents of any kind in preparation for
  15           today?
  16                  A.      Yes, I, yes, I did.
  17                  Q.      Okay.
  18                          Can you tell me what you
  19           reviewed, do you recall?
  20                  A.      Yes, the affidavit that I had
  21           submitted regarding the matter.
  22                  Q.      That's it?
  23                  A.      Yeah.
  24                  Q.      Okay.
  25                          No policies, procedures, guide

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   1                                   A. CRAWFORD
   2           books?
   3                  A.        No.
   4                  Q.        No, okay.
   5                            Nothing with regard to the
   6           storage of files or software used to
   7           maintain them, nothing?
   8                  A.        No, I'm pretty familiar with.
   9                  Q.        Is that because you use it all
  10           the time?
  11                  A.        Yes.
  12                  Q.        So you have mastered the craft
  13           of your organizational software and
  14           systems?
  15                            MR. MITCHELL: I object to the
  16                    form.     You can answer.
  17                  A.        For the purposes of Internal
  18           Affairs Bureau?
  19                  Q.        Yes.
  20                  A.        Yes, I'd like to think so.
  21                  Q.        Okay, very good.
  22                            So with regard to the subpoena
  23           that was issued for you today, it's been
  24           marked Exhibit 1.            Fellas, I think you've
  25           had a chance to look at it.                   Do you

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   1                                  A. CRAWFORD
   2           recognize that specific form?
   3                           MR. MITCHELL: Now, are you
   4                   referring to the notice, the 30B
   5                   Notice?
   6                           MS. McCLURE: Yes.
   7                           MR. MITCHELL: Okay.             I'm
   8                   splitting hairs here, but it's not a
   9                   subpoena.        It's a notice, it's what
  10                   we're talking about, 30B Notice.
  11                  Q.       It's Exhibit 1?
  12                  A.       Yes.
  13                  Q.       And you had the opportunity to
  14           review that --
  15                  A.       Yes.
  16                  Q.       -- prior to today?
  17                  A.       Yes.
  18                  Q.       So you saw the issues that we
  19           wanted to talk about today specifically
  20           with regard to a number of things that are
  21           not enumerated, but set forth within the
  22           notice?
  23                  A.       Yes.
  24                  Q.       And do you consider yourself
  25           qualified to speak on all of those issues

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   1                                   A. CRAWFORD
   2           as they're written in that, in any
   3           tangential related issue that might come
   4           up?
   5                           MR. MITCHELL: I object to the
   6                   form.     You can answer.
   7                  A.       Yes.
   8                  Q.       Can you tell me what makes you
   9           so qualified to speak on behalf of the
  10           county as to all of those things?
  11                           MR. MITCHELL: I object to the
  12                   form, but you can answer.
  13                  A.       Because of my knowledge and
  14           experience, being assigned to Internal
  15           Affairs Bureau.
  16                  Q.       Okay.
  17                           And of all of the different
  18           capacities that you were counted for, and
  19           forgive me, I wasn't taking note of all the
  20           years that you were dictating, sort of
  21           speak, how many years altogether have you
  22           served in Internal Affairs in one capacity
  23           or another?
  24                  A.       Approximately six years.
  25                  Q.       Six years, okay.

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   1                                     A. CRAWFORD
   2                           And so through those six years,
   3           you have gone through a couple of different
   4           administrations if you will, at least?
   5                  A.       Yes, two.
   6                  Q.       Okay.
   7                           Mr. Crawford, in addition to
   8           reviewing your affidavit and just through
   9           generalized knowledge as well as meeting
  10           with Mr. Mitchell, did you take any time to
  11           study anything else, any policy or
  12           procedures that are going to be perhaps
  13           going into effect or changes that are
  14           currently proposed, anything of that
  15           nature?
  16                           MR. MITCHELL: I object to the
  17                   form.     You can answer.
  18                  A.       I'm sorry, did I look into
  19           anything that's being proposed?
  20                  Q.       Right, yes.
  21                  A.       For preparation for today?
  22                  Q.       Yep.
  23                  A.       No.
  24                  Q.       No, okay.
  25                           And how many times did you meet

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   1                                  A. CRAWFORD
   2           with Mr. Mitchell to prepare for today?
   3                  A.       Two times.
   4                  Q.       Two times, okay.
   5                           Do you feel as though you've
   6           had enough time to go over anything that
   7           you might have wanted to go over with him
   8           in preparation for today?
   9                           MR. MITCHELL: I object to the
  10                   form, but you can answer.
  11                  A.       Yes, I think I'm prepared for
  12           whatever questions you have.
  13                  Q.       Okay, very good.
  14                           Do you guys in IA use a
  15           specifically designated IT department, so
  16           information technology department to
  17           maintain your software and data?
  18                  A.       I'm sorry, are you asking does
  19           the department have an IT section?
  20                  Q.       Yes, its own.
  21                  A.       Yes.
  22                  Q.       So it's separate and apart from
  23           the counties in general and the police
  24           department, you have your own IA IT
  25           department, is that right?

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   1                                   A. CRAWFORD
   2                  A.       No, it's not an IA IT, we do
   3           have a department IT section.
   4                  Q.       And who does that department
   5           serve besides IA?
   6                  A.       The whole department.
   7                  Q.       The whole department, okay.
   8                           And can you tell me which
   9           softwares you use to maintain your files
  10           on-line?
  11                  A.       An Internal Affairs Bureau?
  12                  Q.       Yes.
  13                  A.       IAPro.
  14                  Q.       Do you know which version that
  15           you use?
  16                  A.       As far as version number, no,
  17           no, I don't.
  18                  Q.       Do you know someone that would
  19           know that?
  20                  A.       We could have somebody check on
  21           the computer.
  22                  Q.       Okay.
  23                           Yes, part of the things that
  24           we're going to be talking about today are
  25           specifics with regard to how you maintain

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   1                                  A. CRAWFORD
   2           your records and I think it is important to
   3           know which version you're operating to
   4           fully understand the use, and so I'm going
   5           to ask that if you don't know the answer to
   6           that question, perhaps you could take a
   7           minute for you to step out and check the
   8           computer or make a phone call to find out
   9           which version?
  10                          MR. MITCHELL: Yes, that's fine.
  11                   You want to do that now?
  12                          MS. McCLURE: Sure.             We can go
  13                   off the record.
  14                          (Whereupon, a five-minute break
  15                   was taken.)
  16                          MS. McCLURE: Back on the
  17                   record.
  18                  Q.      So we're back on the record
  19           after a short recess.               All the same parties
  20           have returned and are present.
  21                          Mr. Crawford, of course, you
  22           realize you're still under oath the same as
  23           before and that will be the same for any
  24           break and regrouping throughout the day,
  25           all right?

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   1                                   A. CRAWFORD
   2                  A.       Yes, I understand.
   3                  Q.       Okay.
   4                           So that said, were you able to
   5           make a phone call and find out which
   6           version of IAPro you guys are using?
   7                  A.       Yes.
   8                  Q.       And which version is that?
   9                  A.       7.5.197.
  10                  Q.       One more time?
  11                  A.       7.5.197.
  12                  Q.       7.5.197, okay.
  13                           And are you aware of whether or
  14           not that's the most current version?
  15                  A.       No, I'm not aware.
  16                  Q.       Are you aware of how long you
  17           guys have been running that version?
  18                  A.       No.
  19                  Q.       Have you ever taken a look at
  20           any of the user manuals for any version of
  21           IAPro?
  22                  A.       Yes, I have.
  23                  Q.       But you did not look at it in
  24           preparation for today?
  25                  A.       No.

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   1                                   A. CRAWFORD
   2                  Q.       Are you aware of whether the
   3           user manual that you use corresponds with
   4           the same version that you currently
   5           operate?
   6                  A.       That, I am, I'm not aware of.
   7           There's a particular user manual for that
   8           version that we use currently.
   9                  Q.       Okay.
  10                           Is there someone in your office
  11           that is more knowledgeable with regard to
  12           the IAPro system than you are?
  13                           MR. MITCHELL: I object to the
  14                   form.     You can answer.
  15                  A.       As far as using it or are you
  16           talking about like updates and tech
  17           support?
  18                  Q.       I'm talking specifically about
  19           the capacity of the software and how you
  20           use it, so you could answer in two parts if
  21           you want.
  22                           Is there someone who has a
  23           better understanding than of the capacity
  24           of the IAPro software meaning the functions
  25           that are capable of running?

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   1                                  A. CRAWFORD
   2                          MR. MITCHELL: And I object to
   3                   the form, but you can answer.
   4                  A.      As far the capabilities of the
   5           software, I don't know, possibly someone in
   6           our IT section.         As far as the day to day
   7           usage and how we use it, no, I'm not
   8           familiar.
   9                  Q.      Do you know whose decision it
  10           was to use that software in particular of
  11           all the softwares that can be used?
  12                  A.      It was a decision made under
  13           Commissioner Dormer, D-O-R-M-E-R.
  14                  Q.      And do you recall about what
  15           years Commissioner Dormer served in that
  16           capacity?
  17                  A.      Commissioner Dormer served as
  18           commissioner from 2004 through 2011.
  19                  Q.      So since 2011, are you aware of
  20           whether or not that software has been
  21           updated at all?
  22                  A.      Yes, we have periodic updates.
  23                  Q.      And when you run those updates,
  24           is the system integrated with the new
  25           version and any new capabilities that a new

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   1                                   A. CRAWFORD
   2           version may have?
   3                  A.       I'm sorry, can you ask that one
   4           more time?
   5                  Q.       Sure.
   6                           When you run a new system, so a
   7           new system is put into your office.                   Is all
   8           of the information from the former system
   9           input into the new system or is it legacy
  10           that you have an old system and a new
  11           system?
  12                  A.       The data that's actually stored
  13           in the system is legacy and it's just
  14           assimilated with whatever updates are added
  15           to the system.
  16                  Q.       So then if the information in
  17           the old version is legacy, given that, are
  18           you aware of whether or not any old
  19           functions, old flags, old monitoring are
  20           carried over to the new system
  21           automatically?
  22                           MR. MITCHELL: I object to the
  23                   form.     You can answer.
  24                  A.       I, are they automatically when
  25           the update occurs?            No, I don't, I don't

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   1                                  A. CRAWFORD
   2           believe any of the -- no, no, any of the
   3           monitoring that's in the system, you know,
   4           not with any of the updates.                   It's not as
   5           if we're working from a new and have to
   6           create everything all over again.
   7                  Q.      Okay.
   8                          So are you saying that when you
   9           run the update, some information is
  10           imported as far as the employees or whatnot
  11           or do you work completely anew from a
  12           system?
  13                  A.      No, all the data is maintained
  14           in the system.
  15                  Q.      Okay.
  16                          But the functions are not
  17           transferred, so monitoring, flagging all of
  18           that are automatically transferred, someone
  19           has to trigger that?
  20                          MR. MITCHELL: I object to the
  21                   form of the question.                 You can
  22                   answer.
  23                  A.      As far as the actual technical
  24           set up, that, I'm not sure.
  25                  Q.      And are you not sure because

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   1                                    A. CRAWFORD
   2           that's not something that you consider to
   3           be particularly important for your role?
   4                            MR. MITCHELL: I object to the
   5                    form.     You can answer.
   6                   A.       No, it's very important, but we
   7           never had an issue.             I don't recall any
   8           updates where we erased any data or any --
   9           and, you know, the monitoring in the system
  10           is a continual process, so I'm not aware of
  11           any resets or anything where we had lost
  12           data or flags or anything of that nature.
  13                   Q.       Have you ever asked?
  14                   A.       Have I asked what?
  15                   Q.       If any information would be
  16           lost or fallen through the cracks with
  17           assimilation into a new version?
  18                            MR. MITCHELL: I object to the
  19                    form.     You can answer.
  20                   A.       I never had a concern with
  21           that.        I'm not aware of any loss of data,
  22           I'm not aware of any lapses with any of the
  23           monitoring or flagging in the system.
  24                   Q.       Okay.
  25                            And is the administration of a

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   1                                  A. CRAWFORD
   2           new update subject to any standards of
   3           procedures, protocols?
   4                           MR. MITCHELL: I object to the
   5                   form of the question.                 You can
   6                   answer.
   7                  A.       As per our IT section, no, not
   8           aware of the protocols or procedures.
   9                  Q.       Does IT have protocols or
  10           procedures?
  11                           MR. MITCHELL: I object to the
  12                   form.     You can answer.
  13                  A.       I don't know.            I presume that
  14           they do, but I never worked in the IT
  15           section.     I defer to the experts.
  16                  Q.       All right, you defer to the
  17           experts.
  18                           So you're not prepared then to
  19           speak on the technological side of how IA
  20           files are stored and maintained, but
  21           someone else should speak on that, as to
  22           that, is that fair to say?
  23                           MR. MITCHELL: I object to the
  24                   form.     I will allow him to answer it.
  25                   The portion of your question I'm

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   1                                  A. CRAWFORD
   2                   objecting to is someone else should
   3                   speak to.       He doesn't, regardless of
   4                   whether he's here as a 30B witness or
   5                   as a fact witness or anything, the
   6                   question itself is objectionable
   7                   because it's not his place to testify
   8                   as to who should be giving
   9                   information.          That being said, you
  10                   can answer if you can.
  11                  Q.      Well, you have already
  12           testified, correct, that you defer to the
  13           experts.     What did you mean by that?
  14                  A.      When it comes to any
  15           programming of our computers, I, I know to
  16           defer to the IT people and that's our IA
  17           requirement and policy of the department.
  18                  Q.      So it's a policy of the
  19           department not to ask any questions per se,
  20           but just to leave IT to what they do?
  21                          MR. MITCHELL: I'm going to
  22                   object to the form.                   You can answer.
  23                  A.      When it comes to any computer
  24           programming, we defer to the expertise of
  25           the programmer, so if the ones that are

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   1                                  A. CRAWFORD
   2           actually experts that when it comes to
   3           computer equipment, my expertise runs to
   4           using it and how we maintain the data.                     As
   5           far as the technical aspects of it, no, I'm
   6           not familiar.
   7                  Q.       Has your department ever done
   8           any type of audit of the information from
   9           one version to another to make sure that
  10           everything is A OK in there?
  11                           MR. MITCHELL: I object to the
  12                   form.     You can answer.
  13                  A.       We use the software on a
  14           continual basis throughout the day.                   If we
  15           have a glitch in the system or if we have
  16           any problems, then yes, at that point we
  17           then we seek assistance, but as far as
  18           audits, I mean this is, you know, never
  19           done an audit to check to make sure that we
  20           haven't lost files or anything because it
  21           would be noticeable.              You know, if we went
  22           to run data or input anything and all of a
  23           sudden the data was lost, it would be
  24           noticeable.
  25                  Q.       How many files do you think are

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   1                                  A. CRAWFORD
   2           in there?
   3                  A.       In the computer system?
   4                  Q.       Yes.
   5                  A.       What kind of files?            Are you
   6           talking about altogether?
   7                  Q.       All of them, yes.
   8                  A.       In the computer system, you got
   9           to remember, it's not limited to
  10           investigative files.              It also includes all
  11           the alerts, notifications, et cetera, so I
  12           would say in the tens of thousands.
  13                  Q.       But you would feel it would be
  14           noticeable if something was missing?
  15                           MR. MITCHELL: I object to the
  16                   form.     You can answer.
  17                  A.       Yes.
  18                  Q.       And why do you feel that way?
  19                           MR. MITCHELL: I object to the
  20                   form.     You can answer.
  21                  A.       Because we have discovery
  22           demands made upon the office on an hourly
  23           basis in which we have to produce files
  24           dating back sometimes 30 or 40 years and if
  25           any files were missing, it would be

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   1                                   A. CRAWFORD
   2           noticeable.
   3                   Q.       Do you maintain any kind of
   4           paper copy or list that mirrors the
   5           information in the IAPro system?
   6                   A.       Yes.
   7                   Q.       You do, okay.            Tell me about
   8           that.
   9                            MR. MITCHELL: I object to the
  10                    form.     You can answer.
  11                   A.       Every file within IAB is kept
  12           in paper form and some of them are
  13           maintained in digital form on IAPro, but we
  14           have all of the paper files maintained
  15           within the office.
  16                   Q.       So some of them are uploaded
  17           into the system, but all of them are in
  18           paper form in the office; is that correct?
  19                   A.       Yes.
  20                   Q.       Who makes the decision as to
  21           what gets uploaded into the system?
  22                   A.       Well, as of about seven or
  23           eight years ago, every file is maintained
  24           in a digital format, but as far legacy
  25           files, some of them are only maintained on

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   1                                  A. CRAWFORD
   2           paper and haven't been digitized.
   3                   Q.     Where are the legacy files
   4           kept?
   5                   A.     Within the office of IAB.
   6                   Q.     And what is the storage system
   7           of those files?
   8                   A.     They're paper files, they're
   9           maintained in file cabinets, many file
  10           cabinets.
  11                   Q.     Okay.
  12                          Are they by number, by last
  13           name?
  14                   A.     By number.
  15                   Q.     Is there any back-up of that
  16           paper filing system such that if anything
  17           were ever to happen, say, a fire that that
  18           information wouldn't be lost?
  19                   A.     Like I said, most of the files
  20           have been digitized, but there are some
  21           from many years ago that have not.                   Some of
  22           the older files have been copied to
  23           microfilm and the paper files for those are
  24           stored in file cabinets, so yes, the files
  25           are maintained in many forms.

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   1                                  A. CRAWFORD
   2                  Q.      Is it fair to say that the
   3           files are maintained in some form of
   4           electronic back-up or microfiche back-up or
   5           are there files that exist that are only on
   6           paper?
   7                  A.      There are some files that only
   8           exist on paper.
   9                  Q.      And when do you think they
  10           would be from, ancient files?
  11                  A.      Yes, most of them, yes, that
  12           are old files, but at some point in history
  13           we had a need to produce files for
  14           discovery or for any other purpose and they
  15           weren't stored digitally, they would be
  16           digitized, so that if they were maintained
  17           in IAPro, but no, there were some files
  18           that are just maintained in paper format.
  19                  Q.      So from, say, the year 2000, so
  20           from 2000 until now, is it fair to say that
  21           all of those files are some way backed up
  22           and digitized somehow?
  23                  A.      No, not all of them.             There
  24           would be some files that are just
  25           maintained in paper format.

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   1                                  A. CRAWFORD
   2                  Q.       Not microfiche for those?
   3                  A.       No, the microfilm only goes to
   4           files through, I believe, to '95 -- from
   5           the files of the year 1995 and prior to
   6           that are, have been placed on microfilm,
   7           but we still have the paper versions, but
   8           the microfilming, that stopped for the
   9           files, like I said, in 1995.
  10                  Q.       What is your understanding of
  11           the reason why those files up through 1995
  12           were placed on microfilm?
  13                           MR. MITCHELL: I object, but you
  14                   can answer.
  15                  A.       So the files could be, they
  16           would be stored in the microfilm, so they
  17           would be available.              We used to have
  18           microfilm machines to pull the files.                      As
  19           far as the decision why and why it ceased
  20           at that point, I don't know.
  21                  Q.       Would you agree that putting
  22           them on microfilm did indeed make it
  23           easier, quicker to access those files?
  24                           MR. MITCHELL: I object, but you
  25                   can answer.

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   1                                  A. CRAWFORD
   2                   A.     Have you ever used a microfilm
   3           machine?
   4                   Q.     I have.
   5                   A.     It's, in my opinion, much
   6           easier to access the paper file than it is
   7           to locate a file on thousands of pages on a
   8           microfilm reel.
   9                   Q.     It sounds like a large
  10           undertaking to put all of those files on
  11           microfilm, right?
  12                   A.     As far as I understand, yes, a
  13           great undertaking, yes.
  14                   Q.     So there must been some reason
  15           for it, correct?
  16                          MR. MITCHELL: I object.               You
  17                    can answer it.
  18                   A.     I'm sure there's a reason why
  19           they stopped doing it, but that, I don't
  20           know.
  21                   Q.     So from 1996 until seven or
  22           eight years ago when everything started
  23           being digitized, that span of files, from
  24           '96 to seven or eight years ago is all on
  25           backed up, is that right, it's all on paper

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   1                                   A. CRAWFORD
   2           or how would you be able to tell?
   3                   A.      No, most of the files are
   4           digitized, but there are some files that
   5           are only available for paper form.
   6                   Q.      What percentage of those files
   7           are only available on paper form?
   8                   A.      I'd say 10 to 15 percent.
   9                   Q.      And everything is else is
  10           digitized at this point?
  11                   A.      Yes.
  12                   Q.      So what system are they stored
  13           in, are they part of IAPro or something
  14           else?
  15                   A.      IAPro.
  16                   Q.      Who uses IAPro within your
  17           office?
  18                   A.      All of the members assigned to
  19           the office.
  20                   Q.      Okay.
  21                           Does everyone have the same
  22           access to the files and information on
  23           there?
  24                   A.      No.
  25                   Q.      Can you describe the different

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   1                                  A. CRAWFORD
   2           levels of access?
   3                  A.      There are limitations that can
   4           be imposed on files, so some of, all files
   5           are confidential; however, some are labeled
   6           as confidential on top of confidential and
   7           limiting the access to everybody in the
   8           office.
   9                  Q.      That's it?
  10                  A.      As far as procedures within the
  11           office, yes.
  12                  Q.      Okay.
  13                          So you're aware then that IAPro
  14           has other capabilities to label files, to
  15           restrict files, right?
  16                  A.      Yes.
  17                  Q.      Can you tell me what your
  18           understanding is of the capability of the
  19           system?
  20                  A.      As far as the other uses that
  21           are available, no, I'm familiar with our
  22           usage of the system, yes.
  23                  Q.      But you don't know the other
  24           abilities of the software, for example, the
  25           other items and the drop down menu for

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   1                                  A. CRAWFORD
   2           classification, you're not aware of those
   3           or you are?
   4                  A.      As far as the categorization
   5           with each file --
   6                  Q.      Yes.
   7                  A.      -- no.       As far as the drop down
   8           menus and the limitations imposed, we just
   9           use, it's either confidential or not
  10           confidential within the office, but just to
  11           make it clear, all our files are
  12           confidential, but just within IAPro, we can
  13           limit access to just the commanding
  14           officer, executive officer and the three
  15           captains.
  16                  Q.      Okay.
  17                          And what is the reason for
  18           limiting information?
  19                  A.      Depending on the circumstances
  20           of a case or the information involved is
  21           just to prevent anybody who doesn't have a
  22           need to from accessing the file.
  23                  Q.      Does the IAPro office allow
  24           access to any other members of law
  25           enforcement who is not specifically in IA?

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   1                                  A. CRAWFORD
   2                  A.      The commissioner and the two
   3           deputy police commissioners.
   4                  Q.      That's it?
   5                  A.      That's it.
   6                  Q.      Who makes that decision?
   7                  A.      That was the commissioner that
   8           made that decision.
   9                  Q.      Which commissioner?
  10                  A.      Commissioner Harrison.
  11                  Q.      And when was Commissioner
  12           Harrison in that office?
  13                  A.      When did he become
  14           Commissioner?
  15                  Q.      Yes.
  16                  A.      January 1st -- or actually
  17           December 27th.
  18                  Q.      So it was his decision to make
  19           sure that he had access to IAPro as well as
  20           certain folks underneath him in his chain
  21           of command as well as the Internal Affairs
  22           Department, is that right?
  23                  A.      The Internal Affairs Bureau
  24           already had access, but as far as access
  25           outside of Internal Affairs Bureau, yes,

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   1                                  A. CRAWFORD
   2           Commissioner Harris, Deputy Police
   3           Commissioner Anthony Carter and Deputy
   4           Police Commissioner Risco Mention-Lewis,
   5           R-I-S-C-O; Mention, M-E-N-T-I-O-N, hyphen,
   6           Lewis, L-E-W-I-S.
   7                  Q.       So before December 27, 2021,
   8           the Commissioner did not have access to
   9           IAPro; is that correct?
  10                  A.       No, Acting Commissioner Cameron
  11           had access to IAPro and Risco Mention,
  12           Deputy Police Commissioner Risco
  13           Mention-Lewis also had access.
  14                  Q.       As far as you can remember back
  15           in your current capacity, has the
  16           Commissioner and whoever they made
  17           designated in their chain of command, had
  18           they always also had access to IAPro
  19           besides the IA Department?
  20                  A.       Commissioner Hart did not have
  21           access, but First Deputy Police
  22           Commissioner James Skopek had access.
  23                  Q.       And when was that person in
  24           office?
  25                  A.       Commissioner Hart was

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   1                                  A. CRAWFORD
   2           commissioner between 2018 and 2021.
   3                  Q.      And are you aware if whether or
   4           not they use any of the classifications in
   5           addition to the confidential
   6           classifications for files?
   7                  A.      Are you talking, who's they,
   8           the Commissioner?
   9                  Q.      The Commissioner and anyone
  10           under, in their direct chain of command who
  11           has access?
  12                  A.      I don't know. I, could you ask
  13           the question one more time, please?
  14                  Q.      Sure.
  15                          Are you aware if whether or not
  16           they have the ability to classify any
  17           information in IAPro using either the
  18           confidential designation or the others
  19           which are top secret and unclassified?
  20                  A.      They do.         As to whether or not
  21           they use that, I don't know.
  22                  Q.      Who has the ability to input
  23           information in the IAPro system?
  24                  A.      Everybody assigned to the
  25           office.

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   1                                  A. CRAWFORD
   2                  Q.       Is everyone's imputability
   3           unrestricted?
   4                  A.       What do you mean by
   5           unrestricted?
   6                  Q.       Does everybody have full access
   7           to input information into the system as
   8           much as or as little as they would like?
   9                  A.       As far as reporting?
  10                  Q.       As far as any input that may go
  11           in.
  12                  A.       Administrative access, no, they
  13           don't have, but as far as reporting, yes,
  14           they have access.
  15                  Q.       Tell me about administrative
  16           reporting, what is that?
  17                  A.       As far as creating files or
  18           eliminating files from IAPro, the
  19           investigators don't have that access.
  20                  Q.       So the investigators don't have
  21           access, it's administrators that have
  22           access for those purposes, is that right?
  23                  A.       Yes.
  24                  Q.       And who is it that makes up
  25           those administrators currently, what are

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   1                                  A. CRAWFORD
   2           the titles of those folks who have that
   3           access?
   4                  A.      The commanding officer, the
   5           executive officer, the three captains and
   6           also the Administrative One in the office.
   7                  Q.      What is an Administrative One?
   8                  A.      She's the head clerical within
   9           the office.
  10                  Q.      Perhaps it's a good time for me
  11           to understand the structure of the offices
  12           a little bit.
  13                          Could you start just very
  14           generally explain to me the chain of
  15           command within Internal Affairs and how
  16           they may work with any administrative folks
  17           that you were just saying?
  18                  A.      Okay.      There's a commanding
  19           officer, an executive officer; right now we
  20           have three captains and each captain is in
  21           charge of an investigative team and
  22           ordinarily, we have 18 investigators
  23           assigned to the office.                 We just lost two
  24           transfers in promotions on Friday, so right
  25           now we have 16 investigators, but

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   1                                  A. CRAWFORD
   2           ordinarily there would be three
   3           investigative teams with six investigators
   4           on each team, and then we have a field
   5           auditing unit which is three lieutenants, a
   6           sergeant; and then as far as an admin
   7           staff, we have four members of the admin
   8           staff, they have clerical responsibilities
   9           and the head clerical, her position is per
  10           Civil Service Administrative One.
  11                  Q.      You mentioned 18 investigators
  12           ordinarily was the term that you had used.
  13           How long have you had that many
  14           investigators in that unit?
  15                  A.      What do you mean, how long has
  16           the staffing been 18 investigators?
  17                  Q.      Yes.
  18                  A.      That staffing level has been in
  19           effect for many years dating back to when I
  20           worked as an investigator, but the actual
  21           staffing levels of Internal Affairs Bureau
  22           will fluctuate, depending on promotions,
  23           transfers, things of that nature, but
  24           ideally, we have 18 investigators and we're
  25           hoping to have a full compliment at the end

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   1                                  A. CRAWFORD
   2           of this week again.
   3                  Q.      And you said you've had it for
   4           many years since you have been an
   5           investigator, but forgive me, again, I
   6           wasn't keeping track of the years that you
   7           served in your position, so I can't
   8           extrapolate that information, so for how
   9           long has the staffing been at 18 for that
  10           position?
  11                  A.      Well, it's, again, it
  12           fluctuates.       When I was an investigator
  13           assigned to Internal Affairs Bureau between
  14           2004 and 2007, the staffing level was 18
  15           investigators, but like I said, it would
  16           fluctuate occasionally based on transfers
  17           and promotions.
  18                          After I left the office, the
  19           staffing apparently went down and then when
  20           I got back into the office in 2018, it was
  21           at 18.
  22                  Q.      Who is responsible for
  23           determining how many investigators are
  24           needed in that position?
  25                  A.      For staffing, that's the

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   1                                  A. CRAWFORD
   2           Commissioner's purview.
   3                  Q.      And for each of those roles
   4           that you just went down, does each staffing
   5           position have its own procedures and
   6           policies that they have to follow in the
   7           form of a written manual?
   8                          MR. MITCHELL: I object, but you
   9                   can answer.
  10                  A.      Could you repeat that question,
  11           please?
  12                  Q.      Is there a procedure manual for
  13           each staffing position?
  14                          MR. MITCHELL: I object, but you
  15                   can answer.
  16                  A.      Procedure manual for a staffing
  17           position, I don't understand what you're
  18           asking.
  19                  Q.      For each job within your
  20           office, does each job have a standard
  21           operating procedure or a manual with
  22           procedures they have to follow?
  23                  A.      Yes, for Internal Affairs
  24           Bureau, yes, there is a guidebook for the
  25           investigators.

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   1                                  A. CRAWFORD
   2                   Q.     Okay.
   3                          And for, just for the
   4           investigators or everyone?                    Is everyone --
   5                   A.     No, it applies to all personnel
   6           within the office.
   7                   Q.     One guidebook for all?
   8                   A.     Yes.
   9                   Q.     And who is it that makes that
  10           --
  11                   A.     We maintain it within the
  12           office.
  13                   Q.     Who's responsibile for the
  14           policies and procedures then?
  15                   A.     The commanding officer.
  16                   Q.     The commanding officer, okay.
  17                          And how long have those, has
  18           that manual currently been in place in its
  19           current form?
  20                   A.     What do you mean by its current
  21           form?
  22                   Q.     In the current form that it's
  23           in right now, I believe you testified about
  24           a guidebook and policy manual.                    How long
  25           has the current guidebook been in its

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   1                                   A. CRAWFORD
   2           current form?
   3                   A.       What do you mean by current
   4           form?        You mean the last time an amendment
   5           was made to it?
   6                   Q.       Yes.
   7                   A.       About four, five months ago.
   8                   Q.       And when does someone receive
   9           that guidebook?
  10                   A.       Upon assignment.              It's
  11           available as a reference with any [sic]
  12           office and it's provided to new
  13           investigators when they get to the office
  14           when they get transferred and new captains.
  15                   Q.       And after they receive a copy
  16           of the guidebook, how do they receive
  17           amendment?
  18                   A.       The amendments are usually
  19           disseminated either electronically or by
  20           Email or through paper version.
  21                   Q.       Going back to IAPro, I know you
  22           testified earlier that you currently run
  23           7.5.197, that's correct?
  24                   A.       Yes.
  25                   Q.       And am I correct in also saying

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   1                                  A. CRAWFORD
   2           that everyone within the Internal Affairs
   3           Department has access to it?
   4                  A.       Has access to IAPro, yes.
   5                  Q.       Yes?
   6                  A.       Yes.
   7                  Q.       What training do they receive
   8           in IAPro specifically?
   9                  A.       Generally it's more experienced
  10           officer within the command will provide
  11           instruction to anybody who is recently
  12           transferred into the office.
  13                  Q.       There's no formalized training
  14           of any kind?
  15                           MR. MITCHELL: I object to the
  16                   form.     You can answer.
  17                  A.       As far as formal, no.
  18                  Q.       No class?
  19                  A.       No class, no.
  20                  Q.       Guidebook?
  21                  A.       The guide, there's a guidebook
  22           available in the office as a reference, but
  23           usually somebody who is proficient in the
  24           system will provide instruction to whoever
  25           is new to the office.

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   1                                  A. CRAWFORD
   2                  Q.      You testified earlier that you
   3           were not sure how often it's updated.
   4           Since you have been using it, have you seen
   5           any changes to the format or to the way
   6           that you use the software?
   7                  A.      Since I've been in the office,
   8           any noticeable changes, no.
   9                  Q.      Do you know which version was
  10           used back in 2006?
  11                  A.      No, I don't.
  12                  Q.      Do you have any idea how many
  13           updates may have been made?
  14                  A.      To the software, no.
  15                  Q.      Do you get any kind of notice
  16           before an update is made?
  17                  A.      Usually the company will send a
  18           notification that an update is available.
  19                  Q.      And whose decision is it to run
  20           that update?
  21                  A.      Decision to run the update, I
  22           mean that's, you know, if it's just
  23           software update, we have our Admin One --
  24                  Q.      Okay.
  25                  A.      -- managing the update.

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   1                                  A. CRAWFORD
   2                  Q.       So who is responsible for
   3           finding out what the update entails?
   4                  A.       The Admin One.
   5                  Q.       So the Admin One is responsible
   6           for receiving notice of the update and
   7           determining whether or not it's in the
   8           County's best interest to run it?
   9                           MR. MITCHELL: I object to the
  10                   form.     You can answer.
  11                  A.       No, if we get an update, then
  12           we incorporate it into the system or if we
  13           get word of an update, then we incorporate
  14           it into the system.
  15                  Q.       You said no, but your answer
  16           sounded like a yes answer.
  17                           So when you guys get, do you
  18           get an Email, is that how you get notice?
  19                  A.       Generally it's a Email.
  20                  Q.       So when you get notice by Email
  21           or otherwise that an update needs to be run
  22           to the IAPro system, it's the Admin One's
  23           job to run that update, correct?
  24                  A.       To coordinate with our IT
  25           section and also with IAPro.

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   1                                  A. CRAWFORD
   2                  Q.      So take me step by step.               She
   3           receives notice that an update needs to be
   4           run and then what is her duties next?
   5                  A.      To coordinate with our IT
   6           section and then with IAPro.
   7                  Q.      So whose job is it to find out
   8           what the update is?
   9                          MR. MITCHELL: And I object, you
  10                   can answer.
  11                  A.      Who job is it, IAPro.
  12                  Q.      So you automatically run it
  13           without any investigation as to what it's
  14           going to be changing in your system?
  15                          MR. MITCHELL: I object to the
  16                   form, but you can answer.
  17                  A.      I mean we get notice of the
  18           recommended software amendment, but I'm not
  19           aware of any time where we decided not to
  20           run an update.         I mean we have to reply on
  21           our [sic] vendor.
  22                  Q.      Okay.
  23                          So you rely on the vendor and
  24           don't make any inquiry as to what the
  25           update is going to be doing to your data or

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   1                                  A. CRAWFORD
   2           this system, is that right?
   3                          MR. MITCHELL: I object, but you
   4                   can answer.
   5                  A.      Yes, we get a description as to
   6           what the update, you know, as with any
   7           software update, the general purpose of the
   8           update and then we coordinate the measure
   9           to make sure the update is conducted.
  10                  Q.      So when you get the general
  11           notice of the update, it comes now with a
  12           description of what the update does?
  13                  A.      Generally, yes.
  14                  Q.      Okay.
  15                          Is there any policy or
  16           procedure in place that when an update
  17           comes in measures have to be taken
  18           specifically to find out what it's going to
  19           be doing to IAPro beyond just the Email
  20           from the vendor before it's run?
  21                          MR. MITCHELL: I object.               You
  22                   can answer.
  23                  A.      I'm sorry, could you ask the
  24           question again, please?
  25                  Q.      Is there any policy or

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   1                                  A. CRAWFORD
   2           procedure that needs to be done when the
   3           County receives notice of an update to
   4           investigate the purpose of the update
   5           beyond what it just says in the Email from
   6           the vendor before it makes the decision to
   7           run the update?
   8                          MR. MITCHELL: And I object, but
   9                   you can answer.
  10                  A.      It's coordinated for the IT
  11           section.     As far as a decision not to run,
  12           a recommended software update, I'm not
  13           aware of any discussion where we decided
  14           not to incorporate a recommended update.
  15                  Q.      Is there any action that's
  16           required to be taken before an update is
  17           run?
  18                  A.      We have to coordinate with our
  19           IT section.
  20                  Q.      What does that mean, though,
  21           what do they do?
  22                  A.      We have our technical experts
  23           coordinate to make sure it's one that our
  24           system can incorporate whatever software
  25           amendment is going to take place and ensure

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   1                                  A. CRAWFORD
   2           that it's done properly.
   3                  Q.      Okay.
   4                          How about a back-up?
   5                  A.      Our entire computer system is
   6           backed up on a daily basis by our IT
   7           section.
   8                  Q.      Tell me about the daily
   9           back-ups. Are they maintained on hard copy,
  10           meaning on an external thumb drive, CD, a
  11           network or are they uploaded to a Cloud
  12           base system?       I'm giving you options.
  13                  A.      Yeah, a microsystem -- this is
  14           under [sic] the purview of the IT section.
  15                  Q.      So you're unaware of how your
  16           back-ups are maintained of all of the
  17           information in the IAPro?
  18                  A.      Yes, I am not familiar with the
  19           form of how it's backed up or the
  20           procedures are involved.
  21                  Q.      Are you aware that one of the
  22           reasons or one of the issues to be explored
  23           today was to find out about how information
  24           is stored within IA files which would
  25           include electronic storage?

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   1                                  A. CRAWFORD
   2                          MR. MITCHELL: And I object to
   3                    the form.      You could answer.            Are you
   4                    asking him is he aware of what your
   5                    notice said, is that what you're
   6                    asking?
   7                          MS. McCLURE: Was he aware that
   8                    that was going to be a question that
   9                    we were going to be asking him?
  10                          MR. MITCHELL: You could ask him
  11                    that question.           I object to it, and
  12                    you can answer, but that's not what
  13                    your notice says, but go ahead,
  14                    answer the question.
  15                  A.      I mean my understanding of your
  16           notice was that am I familiar with how our
  17           files are maintained in IAPro, yes.
  18                  Q.      And how are your files are
  19           stored, right, so if they're stored in a
  20           back-up, that's something we need to know
  21           today.
  22                          MR. MITCHELL: And he's answered
  23                    they are stored in the back-up.
  24                    You're now asking how the back-up
  25                    works and we've already had that

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   1                                  A. CRAWFORD
   2                  discussion and he's not here as an IT
   3                  person and, I'm allowing him to
   4                  answer I don't know, but I could
   5                  direct him not to answer because it's
   6                  beyond the scope of the 30B Notice;
   7                  that being said, I will allow him to
   8                  answer I don't know if that's what
   9                  you prefer, but with that in mind, if
  10                  you want to read back the question,
  11                  read it back, I will object, but I
  12                  will allow him to answer and his
  13                  answer is his answer.
  14                          MS. McCLURE: Before you answer,
  15                  for the record, it is fully within
  16                  the scope of this notice and the
  17                  entire purpose that this witness was
  18                  ordered by The Court to explore how
  19                  the files are maintained in the
  20                  office.
  21                          MR. MITCHELL: And we disagree,
  22                  that's fine, we have a disagreement.
  23                          MS. McCLURE: Mr. Mitchell, I
  24                  let you put your full objection on
  25                  the record and I would ask for the

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   1                                  A. CRAWFORD
   2                  same courtesy.
   3                          MR. MITCHELL: Sure, go ahead.
   4                          MS. McCLURE: Judge Wicks
   5                  specifically ordered this witness in
   6                  the context of a discovery dispute
   7                  that pertains to paper files and the
   8                  availability of electronic discovery,
   9                  part and parcel of our discussions
  10                  during the court proceedings were the
  11                  availability of electronic discovery;
  12                  that necessarily goes to back-ups of
  13                  information and the format and
  14                  accessibility of those records.
  15                          In fact, I believe in the
  16                  deposition notice specifically, and
  17                  I'm referring to Exhibit 1, I was
  18                  sure to include knowledge pertaining
  19                  to recordkeeping, the availability
  20                  and maintenance of all Internal
  21                  Affairs files among other things in
  22                  the Notice, but what that means is
  23                  availability and maintenance could in
  24                  fact include electronically stored
  25                  information.

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   1                                   A. CRAWFORD
   2                  Q.       So going back, my question was,
   3           in sum and substance, are you aware of how
   4           those back-ups are maintained in your
   5           office?
   6                           MR. MITCHELL: And I object.
   7                   You can answer.
   8                  A.       I, I can, are you talking about
   9           our IT section backing up all of the
  10           computers, all the computer storage within
  11           the department or are we talking about how
  12           we maintain within IAPro?
  13                  Q.       I'm glad you are aware of that
  14           distinction, so let's answer both with
  15           regard to IAPro.           How is the information
  16           backed up?
  17                  A.       It's stored in our computers.
  18           As far as our IT section, they back up all
  19           the computers, all the computer storage
  20           within the department.                 As far as our
  21           files, we maintain them in paperwork, we
  22           also have them in microfilm.
  23                  Q.       Okay.
  24                           So if anything were to happen
  25           to your computers, you'd be able to

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   1                                  A. CRAWFORD
   2           essentially duplicate it the next day
   3           because the back-ups would be available; is
   4           that right?
   5                  A.      Not only that, we would have
   6           the paper files.
   7                  Q.      Of course, understood.
   8                  A.      So, yeah, if anything happened
   9           to our computers, we would still have our
  10           paper files to use as a reference.
  11                  Q.      Of course many of those paper
  12           files that you testified to are uploaded to
  13           IAPro directly, is that right?
  14                  A.      Yes, but we still maintain the
  15           paper files even if they're digitally
  16           stored.
  17                  Q.      And body camera footages is
  18           also available to be linked to IAPro, is
  19           that right?
  20                          MR. MITCHELL: I object, but you
  21                   can answer.
  22                  A.      If the video or audio record
  23           has been downloaded to IAPro, yes, it would
  24           be stored in IAPro.
  25                  Q.      Tell me about the mechanism

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   1                                  A. CRAWFORD
   2           that you guys use to download the body cam
   3           footage?
   4                   A.     Generally we have our
   5           electronic investigation section, we will
   6           obtain a copy of the video or audio files
   7           and then we will have it on CD-Rom and then
   8           the CD-Rom will either be downloaded to
   9           IAPro or it will be stored within the case
  10           file.
  11                   Q.     Is there a policy and procedure
  12           with regard to how often body cam footage
  13           is downloaded do IAPro?
  14                          MR. MITCHELL: Objection.               You
  15                    can answer.
  16                   A.     No, that's based on an
  17           investigative need.
  18                   Q.     So it's not done automatically,
  19           it's done on an as-needed individual basis?
  20                   A.     Yeah, the body cam program at
  21           this point is limited to our, it's called
  22           our safety section from Highway Patrol
  23           Bureau and it's eight officers assigned to
  24           essentially stop DWI and they maintain the
  25           body cam video within their command.

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   1                                  A. CRAWFORD
   2                  Q.       So only eight officers, I might
   3           have misunderstood, only eight officers in
   4           the Suffolk County Police Department have
   5           body cam?
   6                  A.       At this point, eight officers
   7           and a sergeant, yes.
   8                  Q.       All right.
   9                           How many officers are there in
  10           the Suffolk County Police Department
  11           active?
  12                  A.       There are approximately 2,500
  13           sworn members.
  14                  Q.       And how about detectives, how
  15           many detectives are in the Suffolk County
  16           Police Department?
  17                  A.       No, that's sworn members.
  18                  Q.       Sworn members altogether,
  19           2,500, and only eight have body cam
  20           footage, is that right?
  21                           MR. MITCHELL: Objection to the
  22                   form. You can answer.
  23                  A.       At this point, yes, eight
  24           officers and a sergeant.
  25                  Q.       And who is in charge of that

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   1                                  A. CRAWFORD
   2           decision?
   3                  A.       What decision?
   4                  Q.       Who decides which officers get
   5           body cam footage capabilities?
   6                  A.       That was a decision made on the
   7           highest level of the police commissioner.
   8                  Q.       Police commissioner, all right.
   9                           Is there any reason why every
  10           officer can't have body cam footage?
  11                           MR. MITCHELL: I object to the
  12                   form.      You can answer.
  13                  A.       We're in the process of, yes,
  14           adopting a body cam program for all patrol
  15           officers and hopefully that's being rolled
  16           out very shortly.
  17                  Q.       Is that for all patrol officers
  18           you said or all officers?
  19                  A.       I, as far as the end result, as
  20           far as the assignment, that, I don't know
  21           at this point, but yes, the program, at
  22           this point, is going to involve all patrol
  23           officers having body cam cameras.
  24                  Q.       And when is that expected to go
  25           into effect?

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   1                                   A. CRAWFORD
   2                   A.       Right now the department is in
   3           the procurement process with the vendor and
   4           hope to have the program rolled out by the
   5           end of this year.
   6                   Q.       And how long has that
   7           initiative been in the works, do you know?
   8                            MR. MITCHELL: I object to the
   9                    form.     You can answer.
  10                   A.       As far as this procurement
  11           plan?
  12                   Q.       Yes.
  13                   A.       This has been in effect since
  14           the fall of last year.
  15                   Q.       So from the fall of last year
  16           until the anticipated start date that you
  17           just placed on the record, that's how long
  18           it took to create the initiative for the
  19           procurement plan and then to deal with
  20           vendors in an expected fulfillment, say,
  21           within the year, is that right?
  22                   A.       Yes.
  23                   Q.       And is that because the county
  24           felt it was important to have video
  25           capability available for the integrity of

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   1                                  A. CRAWFORD
   2           its investigation at all times from all of
   3           its officers?
   4                           MR. MITCHELL: I object to the
   5                   form.      You can answer.
   6                  A.       Yes, it was a decision made by
   7           the commissioner, yes, to, for many
   8           positive reasons to have the body cam
   9           program adopted by the department, on a
  10           widespread basis.
  11                  Q.       And was that this current
  12           commissioner or the one immediately before
  13           it?
  14                  A.       It actually started with Acting
  15           Commissioner Stuart Cameron and then
  16           Commissioner Harrison has continued with
  17           the process.
  18                  Q.       Is there plans within that
  19           initiative to have daily download of body
  20           cam footage to IAPro?
  21                           MR. MITCHELL: You can answer.
  22                  A.       No, it's not going to be stored
  23           on IAPro.
  24                  Q.       Are you aware that IAPro has
  25           the capability to store body cam footage?

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   1                                  A. CRAWFORD
   2                  A.       Yes, but it's going to be
   3           stored on, the plan right now is Axon is
   4           the vendor and Axon is going to maintain
   5           the platform on which the storage is to
   6           take place.
   7                           MS. McCLURE: Off the record.
   8                           (Whereupon, a five-minute break
   9                   was taken.)
  10                           MS. McCLURE: All right.                We're
  11                   back on the record.                   Again, this
  12                   represents our second break for the
  13                   day.     We're all back in attendance.
  14                   The witness is back.                   He is aware
  15                   that he is still sworn as discussed
  16                   last time. We will pick back up with
  17                   questioning.
  18                  Q.       So one thing that I thought of
  19           during the break was that I forgot to ask
  20           you this with regard to the general
  21           directives that are pushed out that amend
  22           the guidebook.
  23                           What is the specific format
  24           that they're pushed out in, is it Email?
  25                  A.       Generally any procedures to be

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   1                                  A. CRAWFORD
   2           amended in the office, yeah, we send them
   3           out by Email.
   4                  Q.      And whose responsibilities is
   5           it to send them out?
   6                  A.      Generally I send them out.
   7           Sometimes our training officer within the
   8           office will update people with directives
   9           as well.
  10                  Q.      Okay.
  11                          And what, if any, system of
  12           follow-up do you have to make sure that
  13           they are received, acknowledged and
  14           understood?
  15                  A.      Well, generally it's the Email
  16           is to send to everybody as a reference, but
  17           we usually have a meeting within the
  18           office, so everybody was working as
  19           apprised to whatever policies and
  20           procedures are being amended and then, you
  21           know, just follow-up with whoever is not
  22           working, you know, at a later time.
  23                  Q.      Okay.
  24                          Is there any formalized
  25           procedure whereby almost like attendance or

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   1                                  A. CRAWFORD
   2           acknowledgement is tracked or specifically
   3           received and maintained?
   4                  A.      I mean it depends on the nature
   5           of the procedural amendment or the policy
   6           amendment.      We do track.             If there's a
   7           formal measure taken, but I have to remind
   8           people of anything, I will just speak to
   9           everybody in the office and then follow-up
  10           with an Email to everybody.
  11                  Q.      So is it fair to say it's at
  12           your discretion as to how follow-up is
  13           taken on a directive by directive basis?
  14                  A.      It depends on the nature of the
  15           matter.
  16                  Q.      Okay.
  17                          So tell me about the nature of
  18           matter that require more formalized
  19           follow-up?
  20                  A.      If we're changing any procedure
  21           within the office, then we're going to have
  22           our training officer administrate the
  23           training.      As far as like if I have to
  24           remind people of, hey, this has been coming
  25           up as an issue and you guys need to

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   1                                  A. CRAWFORD
   2           remember to do something, just like a
   3           reminder, I will do it in an informal
   4           matter in the office and then follow it up
   5           an Email.
   6                  Q.       All right.
   7                           Is there any system kept within
   8           each person's personnel file to prove that
   9           they received and acknowledged these
  10           additional amendments?
  11                  A.       In the personnel file, no, we
  12           have training records maintained by the
  13           academy.
  14                  Q.       So your training records for
  15           your employees are maintained separately by
  16           a third party, is that right?
  17                  A.       Yes.
  18                           MR. MITCHELL: I object to the
  19                   form.     You can answer.
  20                  A.       Yes, by the police academy,
  21           yes.
  22                  Q.       So you do not then use the
  23           system available through IAPro that
  24           maintains training records, is that right?
  25                  A.       No, we don't use that system.

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   1                                  A. CRAWFORD
   2                   Q.     But you're aware that it's part
   3           of the IAPro software?
   4                   A.     I have heard of the feature
   5           that's available, but no, we don't use
   6           that.
   7                   Q.     Whose decision is it to use
   8           certain features and not use others in
   9           IAPro?
  10                          MR. MITCHELL: I object, but you
  11                    can answer.
  12                   A.     It's ultimately the commanding
  13           officer.
  14                   Q.     So the commanding officer is
  15           the one who, would be fully familiar with
  16           the capabilities of IAPro and would decide
  17           we're going to use this, we're not going to
  18           use that, is that right?
  19                   A.     As far as features that are
  20           being used with IAPro?
  21                   Q.     Correct.
  22                   A.     I mean this has been a
  23           continual process since the platform was
  24           adopted by the office, but as far as the
  25           various features on it, no, not all of the

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   1                                  A. CRAWFORD
   2           capabilities are used by our office.
   3                  Q.      Okay.
   4                          A moment ago you mentioned
   5           personnel files.          Are they separate than
   6           the files that are maintained in your
   7           office?
   8                  A.      I'm sorry, could you repeat
   9           that question?
  10                  Q.      Sure.
  11                          Does each employee have a
  12           personnel file that is separate and apart
  13           from an IA file?
  14                  A.      Yes.
  15                  Q.      Are you familiar with what goes
  16           in the personnel file?
  17                  A.      Yes.
  18                  Q.      And who's responsible for
  19           maintaining those files?
  20                  A.      The personnel office.
  21                  Q.      Okay.
  22                          Which consists of what?
  23                  A.      Consists of, her title is
  24           Administrator Four and there's also an
  25           Administrative Three assigned to the office

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   1                                      A. CRAWFORD
   2           as well as other staff clerical members.
   3                  Q.        And does the Suffolk County
   4           Police Department maintain a personnel file
   5           for each and every hire?
   6                  A.        For every employee, yes.
   7                  Q.        Where is the personnel office
   8           specifically located?
   9                  A.        Within police headquarters.
  10                  Q.        Which is where?
  11                  A.        30 Yaphank Avenue in Yaphank.
  12                  Q.        And who has access to those
  13           files?
  14                  A.        The personnel assigned to the
  15           personnel section.
  16                  Q.        Do supervisory employees have
  17           access to their subordinates personnel
  18           files?
  19                  A.        No.
  20                  Q.        For example, if a supervisor
  21           wanted to make a note with regard to an
  22           issue, problem or some corrective action,
  23           would it go in the personnel file?
  24                            MR. MITCHELL: I object to the
  25                    form.     You can answer.

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   1                                    A. CRAWFORD
   2                   A.       Depending on the nature, yes,
   3           it would be filed with the personnel file
   4           and also with the associated disciplinary
   5           file.
   6                   Q.       Okay.
   7                            Let's say a disciplinary
   8           investigation was not triggered for
   9           whatever would be the reason, just some
  10           kind of corrective action noted by a
  11           supervisor of some kind, where would that
  12           go?
  13                   A.       Generally that would be
  14           documented on the internal correspondence
  15           and then it would be filed in the, involved
  16           of the employees personnel file.
  17                   Q.       Who is in charge of the
  18           policies and procedures with regard to the
  19           personnel files?
  20                            MR. MITCHELL: I object to the
  21                    form.     You can answer.
  22                   A.       Policies and procedures
  23           regarding personnel files?
  24                   Q.       Yes.
  25                   A.       Well, we have department

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   1                                  A. CRAWFORD
   2           policies that impact upon the maintenance
   3           of personnel files and what should be
   4           filed, so that's ultimately under the
   5           purview of the police commissioner or the
   6           chief of department.              As far as, are you
   7           referring to the day-to-day operation of
   8           personnel section?
   9                  Q.      I wasn't, but you could tell me
  10           about that now.
  11                          MR. MITCHELL: No, I'm going to
  12                   object.      He's not here to tell you
  13                   about personnel section.               He's here
  14                   to tell you about Internal Affairs,
  15                   and, wait, he hasn't clarified it.
  16                   Personnel section is separate and
  17                   apart from the Internal Affairs, it's
  18                   not part of Internal Affairs, so with
  19                   that in mind, you know, if you want
  20                   to ask him another question, ask him
  21                   another question.
  22                          MS. McCLURE: Well, referring to
  23                   Exhibit 1, Brian, the Notice --
  24                          MR. MITCHELL: If you want to
  25                   the ask him a question, ask him a

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   1                                  A. CRAWFORD
   2                  question.        I will either direct him
   3                  to answer or not.
   4                          MS. McCLURE: Well, the Notice
   5                  --
   6                          MR. MITCHELL: You don't have to
   7                  tell me about the Notice, I read it
   8                  five times.
   9                          MS. McCLURE: -- okay, well,
  10                  then clearly all of the Suffolk
  11                  County Police Department files are
  12                  subject to inquiry today.
  13                          MR. MITCHELL: No, they're not,
  14                  but you can go ahead.                  You know, the
  15                  Notice is not asking for all police
  16                  department files.                You're asking, if
  17                  you note at the beginning of your
  18                  Notice, it says, it says "Alexander
  19                  Crawford must be produced for a
  20                  deposition herein.                He should be
  21                  prepared to testify about his role
  22                  and knowledge" and then after that is
  23                  a paragraph.
  24                          So he's here to testify about
  25                  his role and knowledge and quite

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   1                                  A. CRAWFORD
   2                  frankly, I didn't hold him to that
   3                  way it was written. I'm allowing him
   4                  to testify to things beyond his role
   5                  and knowledge, but he's not here to
   6                  testify about the personnel
   7                  department.          He's here to testify
   8                  about the Internal Affairs
   9                  Department, which he's doing and you
  10                  can take your seven hours and talk to
  11                  him about it, but as far as, you're
  12                  now asking him to go into specifics
  13                  about personnel department, he's not
  14                  here for that.
  15                          MS. McCLURE: He's here to be
  16                  prepared and to testify about his
  17                  role and knowledge and it's no secret
  18                  why you stopped at that part in the
  19                  sentence because it says his role and
  20                  knowledge of the Suffolk County
  21                  Police Department and the
  22                  recordkeeping.
  23                          MR. MITCHELL: Right.             He's not
  24                  here to testify about, well, first
  25                  place, I'm going to make a record and

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   1                                  A. CRAWFORD
   2                  then we will just move on because
   3                  we're just going to wind up making
   4                  this record again and again.
   5                          You create, you submitted a 30B
   6                  Notice that is deficient.                I didn't
   7                  want to make a big deal out of it, I
   8                  didn't want to go to Judge Wicks and
   9                  say that your 30B Notice doesn't
  10                  comply with the statute because the
  11                  understanding was that we have
  12                  someone produced for the purpose of
  13                  investigating and talking about
  14                  Internal Affairs, how the files are
  15                  kept, IAPro, all that stuff.                  We're
  16                  on the same page as that.
  17                          Your general phrase at the
  18                  very, very beginning that you're now
  19                  relying on that he be familiar with
  20                  the Suffolk County Police Department
  21                  and their recordkeeping is, if you're
  22                  now arguing that that general phrase
  23                  means that he's to be here to testify
  24                  about the entire Suffolk County
  25                  Police Department recordkeeping, that

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   1                                  A. CRAWFORD
   2                  is unreasonable.               That is not
   3                  something that your Notice says.
   4                  Your Notice talks all about IA.                   He's
   5                  here to talk about IA, he's here to
   6                  talk about the way it works, the
   7                  maintenance of the files, he'll tell
   8                  you all about that.
   9                          He's not here to talk about
  10                  other departments of the police
  11                  department and he's not here to talk
  12                  about the entire recordkeeping
  13                  process of the entire Suffolk County
  14                  Police Department.                That being said,
  15                  continue with your examination,
  16                  anything beyond what I just, what
  17                  your Notice indicates having to do
  18                  with IA, anything beyond that, I'm
  19                  going to advise him not to answer.
  20                          I don't mind him to talk about
  21                  the personnel department because your
  22                  questions weren't really, they seem
  23                  to be reasonable and weren't in
  24                  depth, but now that you've gotten to
  25                  this point of asking him let's now

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   1                                  A. CRAWFORD
   2                   talk about the personnel department,
   3                   I'm going to direct him not to
   4                   answer.
   5                          I know we have a disagreement
   6                   on that.       I'm not trying to convince
   7                   you.    I'm simply putting on the
   8                   record that that's my position.                  If
   9                   you want to put your position on the
  10                   record, please do.               I'm just saying
  11                   we have a disagreement on it, that's
  12                   it.
  13                          MS. McCLURE: So we can mark
  14                   that for inquiry or follow-up if we
  15                   have to.
  16                          I'm going to go ahead and
  17                   continue to ask him these questions
  18                   that I want to ask and if you're
  19                   going to direct him not to answer as
  20                   to each one, then Madam Reporter, I
  21                   would just respectfully mark each
  22                   question to which there is a response
  23                   of a direction not to answer.
  24                  Q.      Now, knowing that there are
  25           procedures in place whereby a certain

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   1                                  A. CRAWFORD
   2           discipline memoranda are filed in the
   3           personnel files as opposed to those that
   4           rise to the level of being placed in the
   5           Internal Affairs files, I do some
   6           additional questions.
   7                          So with regard to the personnel
   8           department, does that department conduct
   9           reviews of employees or do supervisors
  10           conduct reviews of employees?
  11                          MR. MITCHELL: I object to the
  12                   form, but you can answer.
  13                  A.      A review in what manner?
  14                  Q.      A review in performance.
  15                  A.      In personnel section?
  16                  Q.      Does any supervisor in the
  17           Suffolk County Police Department take
  18           reviews regularly of the performance of
  19           their subordinates?
  20                  A.      Yes.
  21                  Q.      All of them?
  22                  A.      As long as they have
  23           subordinates to supervise, yes, that's part
  24           of being a supervisor.
  25                  Q.      Okay.

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   1                                  A. CRAWFORD
   2                           And the results of that
   3           performance review, are they memorialized
   4           in writing somewhere?
   5                  A.       It depends on the nature of the
   6           review.
   7                  Q.       So there's no requirement that
   8           it be written down?
   9                  A.       It depends what type of
  10           employee you're, that's at issue.
  11                  Q.       Let's talk about detectives.
  12           Do their performance reviews get
  13           memorialized in writing?
  14                           MR. MITCHELL: I object to the
  15                   form.      You can answer.
  16                  A.       Probationary detectives, yes,
  17           have reviews by their supervisor.                    As far
  18           as further reviews, yes, the detective
  19           supervisor is required to review the
  20           performance of each of their subordinate
  21           investigators and takes action as
  22           warranted.
  23                  Q.       Among those actions that may be
  24           warranted, can you explain them for me?
  25                           MR. MITCHELL: I object to the

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   1                                   A. CRAWFORD
   2                   form.     You can answer.
   3                  A.       If there's any kind of remedial
   4           need, the supervisor should document the
   5           observed deficiency and document whatever
   6           remedial action was taken.                    If it's of a
   7           disciplinary nature, then the supervisor
   8           should be taking appropriate disciplinary
   9           action.
  10                  Q.       And are those written results
  11           stored then in the personnel file?
  12                  A.       It depends if it's a counseling
  13           or a training, that would just be
  14           documented and placed into the personnel
  15           folder; if a disciplinary action was taken,
  16           then a copy will be put in the personnel
  17           folder, but it then will be a disciplinary
  18           file regarding a disciplinary action and
  19           that would be filed in Internal Affairs
  20           Bureau.
  21                  Q.       Okay.
  22                           Are disciplinary files
  23           different than Internal Affairs files in
  24           general, is that a special kind of file?
  25                           MR. MITCHELL: I object.               You

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   1                                  A. CRAWFORD
   2                   can answer.
   3                  A.       Disciplinary files, I'm
   4           referring to some kind of investigation or
   5           some kind of observed infraction and
   6           documentation regarding resulting
   7           disciplinary action, yes, that would be
   8           filed within IAB.
   9                  Q.       Are all corrective actions that
  10           end up in personnel files forwarded in some
  11           way to Internal Affairs to determine if
  12           further action is needed?
  13                           MR. MITCHELL: I object to the
  14                   form.     You can answer.
  15                  A.       If a matter was simply a matter
  16           of counseling, in other words a supervisor
  17           provided training or what we call
  18           counseling to a subordinate member, then
  19           that would be documented on internal
  20           correspondence and, no, ordinarily that
  21           would not be filed in IAB unless it
  22           resulted from some type of disciplinary
  23           type of investigation.
  24                  Q.       And is there protocol with
  25           regard to these disciplinary measures that

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   1                                   A. CRAWFORD
   2           supervisors may take of their direct
   3           subordinates and protocol about how to
   4           memorialize it and file it, et cetera?
   5                  A.       Yes.
   6                  Q.       Within that protocol, is there
   7           any internal trigger for your office to
   8           audit personnel files at all?
   9                  A.       To audit personnel files, no.
  10           We don't have any procedures with Internal
  11           Affairs Bureau to audit personnel files.
  12                  Q.       Okay.
  13                           Is there any type of reporting
  14           or copy of any type of corrective action
  15           memo that goes in a personnel file sent
  16           anywhere else except for personnel?
  17                           MR. MITCHELL: I'm going to
  18                    object.       You can answer.
  19                  A.       It depends on the nature of the
  20           issue.      It could be filed within the
  21           command, it could be filed in addition to
  22           just being in the personnel folder, it
  23           could be, I mean for, for example, if you
  24           had an employee who was involved in a
  25           police vehicle motor vehicle accident and

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   1                                  A. CRAWFORD
   2           there was some kind of remedial training
   3           offered or conducted with the involved
   4           member, that would just ordinarily be
   5           documented as counseling.
   6                          However, given another example,
   7           if Internal Affairs Bureau conducted a
   8           disciplinary action based on a complaint or
   9           referral and there was some kind of
  10           training need detected pursuant to the
  11           investigation, then a referral would be
  12           made to the command to effective
  13           recommended training and then the, in that
  14           case, then the counseling would be
  15           documented in the Internal Affairs Bureau
  16           file as well.
  17                  Q.      Okay.
  18                          So absent that referral, is
  19           there any other internal trigger for IA to
  20           take a look at personnel files, absent or
  21           referral?
  22                  A.      If you could clarify what you
  23           bean by taking a look at personnel files?
  24                  Q.      Is there any reason for, under
  25           the current policies, for anyone in IA to

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   1                                  A. CRAWFORD
   2           keep abreast of what is in the internal,
   3           pardon me, of what is in the personnel
   4           files?
   5                          MR. MITCHELL: I object.               You
   6                    can answer.
   7                  A.      What do you mean by what's in
   8           the personnel file?             Like, did, I, do you
   9           mean by that that Internal Affairs Bureau
  10           will go down to personnel section and
  11           review what's indicated in somebody's
  12           personnel file?
  13                  Q.      Yes.
  14                  A.      Yes, that could occur if, as
  15           part of an IAB investigation, if there was
  16           a need to delve into any records that are
  17           maintained within somebody's personnel
  18           file, yes.
  19                  Q.      Does it happen as a part of any
  20           procedural audit that you do of performance
  21           reviews or any other memoranda that may be
  22           in personnel files?
  23                          MR. MITCHELL: I object, but you
  24                    can answer.
  25                  A.      I need clarification.              You're

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   1                                  A. CRAWFORD
   2           talking about personnel files and I'm --
   3                  Q.      Does Internal Affairs Bureau
   4           maintain any policy whereby it occasionally
   5           reviews the notes and more memoranda in
   6           personnel files to see whether there was or
   7           any issues noted by any supervisors?
   8                  A.      Yes.
   9                          MR. MITCHELL: I object.               You
  10                   can answer.
  11                  A.      Yes, depending on the
  12           circumstances, yes, there might be
  13           pertinent information to an IAB
  14           investigation.
  15                  Q.      Respectfully what I'm asking
  16           you is not whether it could happen or
  17           perhaps it does, I'm asking you is there
  18           any policy or procedure whereby IAB is
  19           required to stay abreast of the information
  20           placed in personnel files?
  21                          MR. MITCHELL: And I object, but
  22                   you can answer.
  23                  A.      No, as far as what's documented
  24           within somebody's personnel file?
  25                  Q.      Yes.

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    1                                  A. CRAWFORD
    2                  A.     Unless it pertains to some
    3           disciplinary issue, no, IAB would not get a
    4           notification.
    5                  Q.     When you say disciplinary
    6           issues, do you mean a specific referral to
    7           IAB that an investigation is needed?
    8                  A.     No, it could be a disciplinary
    9           issue that was investigated on the command
  10            level by an involved supervisor.
  11                   Q.     Okay.
  12                          So let's say an involved
  13            supervisor has had to make some kind of
  14            counseling, perhaps on more than one
  15            occasion, is there any requirement that IAB
  16            be notified of that or is that
  17            discretionary upon the supervisor?
  18                          MR. MITCHELL: I object.               You
  19                    can answer.
  20                   A.     If it's a disciplinary issue,
  21            then yes, the IAB has to be notified a copy
  22            of the correspondence would be forwarded to
  23            IAB.
  24                   Q.     Are there clearly defined
  25            issues that are considered disciplinary

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    1                                  A. CRAWFORD
    2           issues?
    3                  A.     It depends on the
    4           circumstances, if --
    5                  Q.     Well, what I'm asking is, is
    6           there a list clearly defining circumstances
    7           as disciplinary issues that require a
    8           referral?
    9                  A.     Within the policy manual that
  10            there's policy regarding standards of
  11            conduct, but generally with counseling,
  12            that's considered essentially a training
  13            issue, so that if supervisor detects that
  14            somebody is not performing their job
  15            functions properly, but it's not a matter
  16            of misconduct, it's just a matter of
  17            training or advising the subordinate, then
  18            it would just be documented as counseling
  19            and documented as a training.
  20                   Q.     So there are no clearly defined
  21            triggers for supervisors in those
  22            circumstances, they have the right to
  23            exercise discretion as to whether it's a
  24            training issue or whatnot?
  25                          MR. MITCHELL: And I object, but

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    1                                  A. CRAWFORD
    2                   you can answer.
    3                  A.     No, there are -- I mean if it's
    4           misconduct, then it has to be reported.
    5                  Q.     What I'm asking you is, how
    6           does a supervisor know whether or not it's
    7           reportable misconduct?                Is there a specific
    8           list that clearly defines instances that
    9           are to be reported to IAB or are they
  10            trusted with discretion to some extent?
  11                   A.     All misconduct has to be
  12            reported to IAB.          Again, as I'm sure you
  13            supervise subordinates, I mean just because
  14            an employee makes a mistake in job
  15            performance you don't automatically take
  16            disciplinary action, you train the
  17            employee.
  18                          So it's a training issue, it's
  19            a supervisory responsibility to train
  20            subordinates and make sure they're doing
  21            their jobs properly.              If it's misconduct,
  22            it has to be reported to IAB.
  23                   Q.     I guess I'm having a hard time
  24            understanding the vernacular.                 So what
  25            defines misconduct that needs to be

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    1                                  A. CRAWFORD
    2           reported to IAB, is that defined in the
    3           manual or no?
    4                  A.     Yes, there are standards of
    5           conduct, with respect to conduct of
    6           members, but there's always a catchall
    7           category conduct on becoming, so again,
    8           it's a matter of, if somebody is making a
    9           mistake while doing their job
  10            responsibilities and a mistake was made in
  11            good faith and a supervisor recognizes the
  12            mistake and takes appropriate remedial
  13            action, it's just a matter of training or
  14            providing instruction, then it's not
  15            considered a misconduct issue.
  16                   Q.     Okay.
  17                   A.     Where if somebody doesn't
  18            intentionally do their job or has a pattern
  19            of not doing their job properly, then it
  20            would be misconduct.
  21                   Q.     How would a supervisor know
  22            whether or not a particular employee has
  23            reached a pattern of misconduct, is that
  24            clearly defined in policy?
  25                          MR. MITCHELL: I object.               You

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    1                                  A. CRAWFORD
    2                   can answer.
    3                  A.      To recognize a pattern of
    4           misconduct?
    5                  Q.      Sure.
    6                          How does a supervisor know when
    7           it's going beyond the need of training to
    8           the point where it should be reported to
    9           you, what defines that in the policies and
  10            procedures?
  11                           MR. MITCHELL: I object, but you
  12                    can answer.
  13                   A.      Again, if somebody has a
  14            pattern of not doing their job properly,
  15            it's an issue of either incompetence or
  16            misconduct and if remedial action such as
  17            instruction is not working, then the
  18            supervisor should report the issue and it
  19            should be an issue of discipline,
  20            misconduct or incompetence.
  21                   Q.      So that decision to refer to
  22            IAB is trusted to the supervisor whose job
  23            it is to train and supervise their
  24            employees, is that right?
  25                   A.      If it's an issue of job

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    1                                  A. CRAWFORD
    2           performance, yes.           I just want to make it
    3           manifestly clear when it's an issue of
    4           misconduct, it has to be reported to IAB --
    5                  Q.     Sure.
    6                  A.     -- it's not a discretionary
    7           issue.
    8                  Q.     Right, because of course,
    9           that's very important to distinguish
  10            between misconduct and just regular old
  11            failure to perform proper duties, right?
  12                   A.     Yes.
  13                   Q.     So then being in agreement with
  14            you, I would expect that IA would have
  15            clearly defined circumstances if then
  16            statements, if your supervisee does X and
  17            must reported, if your supervisee does Y,
  18            it must be reported.              Is there any such
  19            lists?
  20                   A.     There is --
  21                   Q.     Okay.
  22                          THE WITNESS: I'm sorry.
  23                          MR. MITCHELL: No, I'm sorry, go
  24                     ahead.    I was just going to direct
  25                     you you can answer.

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    1                                  A. CRAWFORD
    2                  A.     If there's a mandatory
    3           reporting requirement like misconduct.
    4                  Q.     All right.
    5                         Where is that found?
    6                  A.     In the policy manual.
    7                  Q.     Okay.
    8                         When was the last time that was
    9           updated?
  10                   A.     That's policy 10-10.              That was
  11            updated within the last month or two and it
  12            gets continually updated.
  13                   Q.     Would you consider those
  14            updates to be of the utmost importance --
  15                          MR. MITCHELL: I object, but you
  16                    can answer.
  17                   A.     Yes.
  18                   Q.     Likely to the integrity of the
  19            whole department I would think.
  20                   A.     Yes.
  21                   Q.     So what extra measures do you
  22            guys do to make sure those specific
  23            procedural updates are received,
  24            acknowledged and understood by the parties
  25            who receive them?

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    1                                  A. CRAWFORD
    2                          MR. MITCHELL: I object, but you
    3                    can answer.
    4                   A.     That's administered through the
    5           Lexipol, L-E-X-I-P-O-L, platform.
    6                   Q.     Tell me about that.              What is
    7           that software, what is it?
    8                   A.     It's the department policy
    9           manual.
  10                    Q.     So the policy manual is
  11            maintained through software?
  12                    A.     Through the department's
  13            internet, yes.
  14                    Q.     Through the department's
  15            internet, okay.
  16                           Is Lexipol the name of the
  17            software or your internet system?
  18                    A.     It's the name of the software
  19            company.
  20                    Q.     Name of the software company,
  21            okay.
  22                           Is there a version that you're
  23            currently administering?
  24                    A.     As far as the actual version
  25            number, that I'm not aware of.

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    1                                  A. CRAWFORD
    2                   Q.     And who is responsible for
    3           administering the Lexipol system?
    4                   A.     Our research and development
    5           section.
    6                   Q.     Where does research and
    7           development fall in the chain of command?
    8                   A.     It's under the commissioner's
    9           office.
  10                    Q.     Who is the head of the research
  11            and development section?
  12                    A.     At this point, it's Lieutenant
  13            Colleen Cooney, C-O-O-N-E-Y.
  14                    Q.     Is that department always lead
  15            by a person in a lieutenant capacity?
  16                    A.     No.
  17                    Q.     What else has it been?
  18                    A.     I served as commanding officer
  19            many years ago, I was a sergeant at the
  20            time.
  21                    Q.     Okay.
  22                           And why is it that the policy
  23            manual is maintained separately through
  24            that system?
  25                           MR. MITCHELL: I object, you can

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    1                                  A. CRAWFORD
    2                   answer.
    3                  A.     Through Lexipol?
    4                  Q.     Yes.
    5                         What is it about Lexipol that
    6           makes it useful for that purpose?
    7                         MR. MITCHELL: I object, but you
    8                   can answer.
    9                  A.     Actually, I was part of the
  10            process with assimilating it into the
  11            department.       Just ease of use as compared
  12            to our prior rules and procedures that we
  13            had, our former rules and procedures that
  14            we had over 1,600 pages and unfortunately
  15            overtime there were amendments where
  16            references would be in separate chapters,
  17            so it wasn't easy to use, it was a bit
  18            unwheely [sic] and the Lexipol product is
  19            maintained and updated and for that
  20            training aspects to it, that's why the move
  21            went from our in-house rules and procedures
  22            to the Lexipol version.
  23                   Q.     And when was that system first
  24            rolled out in your office?
  25                   A.     Well, it was rolled out for the

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    1                                  A. CRAWFORD
    2           department.      That went into effect January
    3           11th of 2021.
    4                  Q.     Okay.
    5                         And how about, when you say the
    6           department, you're referring to the IA
    7           Department, right?
    8                  A.     No, I'm talking about the
    9           police department.
  10                   Q.     The police department, okay.
  11                          So January of 2021, you began
  12            using Lexipol, right?
  13                   A.     Yes.
  14                   Q.     So before January of '21, how
  15            was the policy manual updated?
  16                   A.     Before January 2021?
  17                   Q.     Yes, before January 2021.
  18                   A.     The rules and procedures would
  19            be amended through the issuance of
  20            department general orders.
  21                   Q.     And how did the personnel
  22            receive those department general orders?
  23                   A.     They would be published on the
  24            internet and the individual members of the
  25            department would be tasked with clicking on

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    1                                  A. CRAWFORD
    2           to confirm receipt of the directive.
    3                  Q.     Okay.
    4                         Was there a signature required?
    5                  A.     A signature, no.
    6                  Q.     Was there any follow-up done to
    7           ensure that any kind of training required
    8           by that general directive, was there any
    9           follow-up that it was had by an individual
  10            person?
  11                   A.     Can you repeat that?
  12                   Q.     Sure.
  13                          So if a general order required
  14            any additional training, was there any
  15            system of follow-up to ensure that the
  16            employees received it?
  17                          MR. MITCHELL: And I object, you
  18                    can answer.
  19                   A.     The information, that would be
  20            disseminated and the department general
  21            order would be received by the employee;
  22            the confirmation would be through
  23            electronic delivery through the internet
  24            and which would be tracked and supervisors
  25            of this subordinates are required to ensure

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    1                                  A. CRAWFORD
    2           that the subordinate employees have access
    3           the directives and review them.
    4                  Q.     But it was not done through
    5           Email, right, it was just done through this
    6           internet base acknowledgement?
    7                  A.     Yes.
    8                  Q.     Similar to when you're on a
    9           website and it asks you to agree to the
  10            terms, something like that?
  11                   A.     Yes.
  12                   Q.     So with a click, they
  13            acknowledged receipt and that was it?
  14                   A.     Yes.
  15                   Q.     Was there any requirement that
  16            a copy be printed and maintained anywhere
  17            and hard copy by each employee?
  18                          MR. MITCHELL: I object.               You
  19                    can answer.
  20                   A.     For most circumstances, no.
  21                   Q.     Was there any inventory taken
  22            to ensure that the certain number of clicks
  23            matched up with the certain number of
  24            persons who are supposed to do it?
  25                   A.     Yes, there is an auditing

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    1                                  A. CRAWFORD
    2           capability within the system to confirm
    3           receipt of the directives, yes, supervisors
    4           were tasked to ensure that there were
    5           subordinates have access and received the
    6           directives.
    7                  Q.     Okay.
    8                         And who was tasked with the
    9           auditing of each general directive as far
  10            as the computer goes, not the supervisor's
  11            responsibilities that were stated, but who
  12            maintains the computer tracking that you're
  13            talking about?
  14                          MR. MITCHELL: I object, but you
  15                    can answer.
  16                   A.     It's maintained through the IT
  17            system.
  18                   Q.     Through the IT system, okay.
  19                          And who is in charge of looking
  20            into that IT system to make sure that the
  21            number of acknowledgements and clicks match
  22            the number of employees who needed to
  23            receive that general directive?
  24                          MR. MITCHELL: I object, but you
  25                    can answer.

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    1                                  A. CRAWFORD
    2                  A.     It would be the responsibility
    3           of the immediate supervisor to check to
    4           ensure that the subordinates have received
    5           the directive and then there would be a
    6           command audit depending on the command; if
    7           it was a precinct, then it would be the CO
    8           or the XO confirming that all the required
    9           directive dissemination occurred and that's
  10            actually part of the department's
  11            accreditation process.
  12                   Q.     I guess what I'm talking about
  13            is on the electronic tracking that you were
  14            talking about before.               I realize there's an
  15            in-person protocol and we will get back to
  16            that in a moment, but as far as the
  17            computer tracking goes, whose job is it to
  18            look at the computer records and say, okay,
  19            general directive number ABC was
  20            disseminated to 2,500 folks and 2,500 folks
  21            clicked the form to acknowledge receiving
  22            it.    Whose job is it to do the individual
  23            audit?
  24                          MR. MITCHELL: I object, but you
  25                     can answer.

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    1                                   A. CRAWFORD
    2                   A.       As I explained, the
    3           responsibilities of the immediate
    4           supervisor would be to ensure that all of
    5           the subordinate employees assigned to that
    6           supervisor have received a directive and
    7           then there would be a command review.
    8                   Q.       We're not seeing eye to eye on
    9           this.        I know that you are saying that an
  10            immediate supervisor --
  11                    A.       I'm unaware of any audit on a
  12            higher level other than the command.
  13                    Q.       Are you aware of any audit done
  14            on a computer acknowledgement system?
  15                             MR. MITCHELL: I object.            You
  16                     can answer.
  17                    A.       Other than what I have already
  18            explained.
  19                    Q.       Yes.
  20                    A.       No, I'm not aware.
  21                    Q.       Is there anybody else that
  22            would be aware of any procedures for
  23            Internal Affairs to make sure that the
  24            number of electronic clicks send out to the
  25            department to all the folks who needed to

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    1                                  A. CRAWFORD
    2           receive this general directive matched the
    3           number of folks that it was supposed to
    4           reach?      Are you aware if it's anybody's job
    5           in your department?
    6                          MR. MITCHELL: I object.              You
    7                    can answer.        You're asking
    8                    specifically about Internal Affairs
    9                    now, am I correct?
  10                           MS. McCLURE: Yes.
  11                           MR. MITCHELL: Because I think
  12                     your answer before was department
  13                     wise, am I right?
  14                           THE WITNESS: Yes.
  15                   A.      But the review is done on a
  16            command level and I'm not aware of anybody
  17            else doing any further review.
  18                   Q.      Okay.
  19                   A.      It's up to the commanding
  20            officer to ensure all the subordinate
  21            personnel have reviewed all the directives.
  22                   Q.      Okay.
  23                           So if no one is taking an audit
  24            of the computer tracking and, tell me then
  25            what follow-up was done with the

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    1                                  A. CRAWFORD
    2           supervising officers of the command level
    3           folks to ensure that all of their people
    4           underneath them received and also
    5           understood what was in that general
    6           directive update?
    7                         MR. MITCHELL: I object.               You
    8                   can answer.
    9                  A.     Without having you ask the
  10            question again, are you asking is there any
  11            further review in addition to the command
  12            level review?
  13                   Q.     Right.
  14                          Does anybody say to the command
  15            level, folks, did all your people receive
  16            general notice one, two, three; did anyone
  17            understand it, is there any follow-up done,
  18            that's my question?
  19                   A.     Yes, there is follow-up done.
  20                   Q.     Okay.
  21                   A.     If the review by all
  22            subordinate personnel is not completed, so
  23            there would have to be documentation as to
  24            why the, any particular employees didn't
  25            access or received the record.

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    1                                  A. CRAWFORD
    2                  Q.     Okay.
    3                  A.     I guess somebody out on a long
    4           term absence or something of that nature,
    5           military deployment, then it would be
    6           documented.
    7                  Q.     I guess what I'm asking is,
    8           does anyone take any action to ensure the
    9           command level audit come out appropriately,
  10            that everybody has in fact received each
  11            general department order?
  12                   A.     Yes, the research and
  13            development process with accreditation
  14            would ensure that all of the commands that
  15            were reviewed, that they received [sic] of
  16            all the subordinate personnel.
  17                   Q.     So then it's up to someone in
  18            research and development to make sure that
  19            every department general order issued by
  20            the Lexipol system was received,
  21            acknowledged and understood by all of the
  22            recipients that it was intended for?
  23                   A.     Yes.
  24                   Q.     And that was with regard to
  25            each and every update of the policies that

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    1                                  A. CRAWFORD
    2           we're talking about?
    3                  A.     Yes.
    4                  Q.     So does R & D keep some type of
    5           record of those audits?
    6                  A.     Yes.
    7                         MR. MITCHELL: I object.               You
    8                   can answer.
    9                  A.     Yes.
  10                   Q.     And what kind of records do
  11            they keep?
  12                          MR. MITCHELL: I object, you can
  13                    answer.
  14                   A.     I, are you asking for the scope
  15            of records that they maintain in that
  16            office?
  17                   Q.     Well, yes, is there a checklist
  18            to show or an acknowledgement form?
  19                   A.     It's a computer-generated
  20            report from each command showing,
  21            confirming receipt of directives and
  22            indicating any subordinate personnel that
  23            haven't received the directives and there
  24            be documentation from the command as to why
  25            any particular employee didn't access any

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    1                                  A. CRAWFORD
    2           particular directives.
    3                  Q.     Understood.
    4                         So if someone wanted to find
    5           out if a particular employee failed to
    6           receive or knowledge a certain directive at
    7           any point, they could look back into R &
    8           D's records and see whether or not that
    9           person properly acknowledged it in a timely
  10            fashion?
  11                   A.     Yes.
  12                   Q.     Do supervisors receive any
  13            particularized training when department
  14            general orders come out as supervisors to
  15            make sure they're equipped to answer
  16            questions that may come about from?
  17                   A.     That depends on the nature of
  18            the information.
  19                   Q.     So not on a, not on a matter of
  20            protocol with regard to every general
  21            order, it's a matter of the nature of the
  22            scope of it?
  23                   A.     Yeah, if there's some kind of
  24            significant policy or procedure change,
  25            yes, then usually some type of training

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    1                                  A. CRAWFORD
    2           would be indicated. Most times if it's just
    3           what we consider housekeeping amendment,
    4           no, it wouldn't warrant any additional
    5           training.
    6                  Q.     Is there any system for
    7           communication between the District
    8           Attorney's office and your office with
    9           regard to general orders that update the
  10            policy manual, are they put on notice as
  11            well or is it just the police department?
  12                          MR. MITCHELL: I object, but you
  13                    can answer.
  14                   A.     The policies and procedures are
  15            maintained within the department and unless
  16            the DA's office submits a specific request,
  17            no, we don't disseminate our directives to
  18            the DA's office.
  19                   Q.     Okay.
  20                          Is there any standardized
  21            communication for any of your records in
  22            Internalized Affairs with the DA's office,
  23            is there anything that automatically
  24            triggers communication or is it no, it's a
  25            case by case?

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    1                                  A. CRAWFORD
    2                  A.      As far as an automatic, we
    3           automatically send copies of all of our
    4           investigations, all the investigative
    5           reports, they get transmitted to the DA's
    6           office.     If we discern any information
    7           indicating criminal conduct by any of our
    8           members, then we notify the DA's office.
    9                  Q.      Who do you send them to within
  10            the DA's office?
  11                   A.      You're talking about the IA
  12            files that we sent over?
  13                   Q.      Yes.
  14                   A.      They go to the Public Integrity
  15            Bureau and right now the Bureau Chief is
  16            Kevin Ward.
  17                   Q.      Has that bureau been, how long
  18            has that bureau been in existence?
  19                   A.      I think it was in existence
  20            when I was assigned an investigator in IAB
  21            in 2004.     I don't know when the bureau was
  22            created.
  23                   Q.      When your office conducts its
  24            investigations and issues reports, does it
  25            take care to include a review of the

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    1                                  A. CRAWFORD
    2           personnel file as well?
    3                  A.      If there's reason to delve into
    4           somebody's personnel file, yes.
    5                  Q.      If there's not a specific
    6           reason, is it not checked?
    7                  A.      It's not checked as a matter of
    8           course if that's you're asking.
    9                  Q.      Yes.
  10                           So when you send information to
  11            the DA's office, you only send what's in
  12            the four corners of your IA file, is that
  13            right?
  14                   A.      Yes.
  15                   Q.      Does Internal Affairs have any
  16            access to any computerized system where
  17            personnel files are maintained or are they
  18            only on paper?
  19                   A.      The files maintained within the
  20            personnel section?
  21                   Q.      Yes.
  22                   A.      No, we don't have access
  23            through IA, through our office.
  24                   Q.      Does one need to have special
  25            access or clearance, if you will, in order

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    1                                   A. CRAWFORD
    2           to access personnel files or no?                 Does
    3           everybody from IA have the right to access
    4           those files?
    5                           MR. MITCHELL: I object to the
    6                   form.     You can answer.
    7                  A.       It's not a matter of right,
    8           it's a based on need.
    9                  Q.       Okay.
  10                   A.       Our IA investigators can't just
  11            walk down the hallway and access a
  12            personnel file without justification.
  13                   Q.       How long are IA files
  14            maintained in general?
  15                   A.       Indefinitely.
  16                   Q.       Is there any procedure or
  17            protocol about when and if files are purged
  18            or discarded?
  19                   A.       We don't purge any files.
  20                   Q.       So they're kept forever?
  21                   A.       Yes.
  22                   Q.       With regard to your IAPro
  23            system and the documents that are scanned
  24            into it, who determines which documents,
  25            are, if any, are scanned into each file?

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    1                                  A. CRAWFORD
    2                   A.    It's going to be what's in the
    3           file.
    4                   Q.    Okay.
    5                   A.    They're going to be scanned
    6           into, it's not a matter of discretion, oh,
    7           this one goes in, this one doesn't.                   The
    8           IAB file gets scanned into an IAPro.
    9                   Q.    As a matter of course, am I
  10            understanding correctly that all documents
  11            within IA's paper file gets scanned and
  12            uploaded to the corresponding IAPro file?
  13                    A.    Yes.
  14                    Q.    So there's no discretion about
  15            this handwritten note doesn't go in or that
  16            handwritten note doesn't go in, every
  17            paper should go into IAPro, is that right?
  18                    A.    Any document that's within the
  19            IAPro investigative file is going to be
  20            scanned into IAPro.
  21                    Q.    Okay.
  22                          Does that include any
  23            handwritten notes that may be taken?
  24                    A.    If the handwritten notes are
  25            added as an attachment to the file, yes.

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    1                                  A. CRAWFORD
    2                  Q.      I guess what I'm trying to
    3           figure out is, is there any procedure or
    4           protocol whereby it's required that any
    5           writing be scanned and uploaded to IAPro?
    6                          MR. MITCHELL: I object, you can
    7                   answer.
    8                  A.      Well, what kind of document are
    9           you referring to?
  10                   Q.      If a person is making notes on
  11            a draft or a report, does that version get
  12            scanned in if someone sees fit that draft
  13            in the paper folder?
  14                   A.      If it's just a draft and it's
  15            been amended, no, that's not scanned in,
  16            that's not a final report.
  17                   Q.      So is there a system whereby
  18            someone we doubt them or doesn't go in and
  19            what does go in to their electronic file?
  20                           MR. MITCHELL: I'm going to
  21                    object, but you can answer.
  22                   A.      No, whatever is incorporated in
  23            the file, the IAB file, it's scanned and
  24            incorporated into the IAPro.
  25                   Q.      Are people permitted to keep

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    1                                  A. CRAWFORD
    2           notes that don't go into the file on the
    3           desk or elsewhere?
    4                   A.    What kind of notes are you
    5           talking about?
    6                   Q.    Notes from any of their
    7           thoughts or instructions with regard to any
    8           particular report or discipline or any part
    9           of the investigation?
  10                          So if you jot anything down on
  11            a piece of paper before you write it in the
  12            computer, does that get considered part of
  13            the file, too, or no?
  14                    A.    Only if it's submitted by the
  15            investigator as a reference or attachment
  16            with the file, so if somebody takes a phone
  17            message and jots something down, unless it
  18            has some pertinence to the case, I wouldn't
  19            expect that to be made part of the IAB
  20            file.
  21                    Q.    Is that then a matter of
  22            discretion as to what someone sees fit to
  23            be include in the official file or is it a
  24            matter of written of policy that they have
  25            the discretion to consider something part

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    1                                  A. CRAWFORD
    2           or the file or not?
    3                         MR. MITCHELL: I object, but you
    4                   can answer.
    5                  A.     They don't have discretion, but
    6           I mean if it's part of the investigation
    7           and there's a need to refer to it, it's
    8           going to be included as an attachment, so
    9           for that example, I have seen phone
  10            messages and added as attachments.                  If it's
  11            just, you know, doesn't have pertinence to
  12            the case, then okay, the complainant call
  13            back the fifth time today, no, we don't
  14            save every scrap of paper.
  15                          If it's a criminal case, then I
  16            obviously implications, but as far as the
  17            IAB file, it depends on the nature of the
  18            notation.
  19                   Q.     Is there any requirement that
  20            within IAPro, an investigator keep track of
  21            work performed on the investigations?
  22                   A.     Case?
  23                   Q.     Yes.
  24                   A.     Yes.
  25                   Q.     Can you tell me about

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    1                                  A. CRAWFORD
    2           requirements of data?
    3                   A.    We instruct our investigators
    4           to make prompt and diligent case note
    5           entries regarding the actions that they
    6           have taken regarding their investigations.
    7                   Q.    What is the purpose of that?
    8                   A.    It's to memorialize whatever
    9           action are taken by the investigator.
  10                    Q.    And how about when it comes to
  11            intake, is there a requirement that someone
  12            sufficiently summarized the nature of the
  13            claim within the IAPro in a summary section
  14            or note section?
  15                    A.    When doing complaint intake?
  16                    Q.    Yes.
  17                    A.    Yes, they're supposed to input
  18            a summary of the complaint.
  19                    Q.    And what is the purpose of
  20            that?
  21                    A.    It's to obtain sufficient
  22            information to commence an investigation.
  23                    Q.    Okay.
  24                          So would you agree that all
  25            material facts about the allegation should

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    1                                  A. CRAWFORD
    2           go in there?
    3                   A.    Yes.
    4                   Q.    Because that's going to be what
    5           commences your investigation, is that
    6           right?
    7                   A.    Well, the investigation is
    8           going to go be commenced no matter whatever
    9           information is indicated, but yes, the more
  10            material information you can obtain, the
  11            better, but we've had investigations
  12            commenced based on the vagueness of
  13            details, like, for example, a cop harassed
  14            me and it was four years ago and, you know,
  15            obviously that's the barest of information,
  16            but we commenced investigations based on
  17            that.
  18                    Q.    As far as the summary goes
  19            where you indicated that all material facts
  20            should go in there, is that updated as the
  21            case goes on to include a more robust
  22            summary of what the heck is going on in
  23            this case?
  24                          MR. MITCHELL: I object, but you
  25                     can answer.

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    1                                  A. CRAWFORD
    2                  A.      No.     Once the complaint intake
    3           is completed, generally, no, there's no
    4           amendments to that document.
    5                  Q.      So let's say a complaint came
    6           in with ten allegations, would all ten be
    7           summarized as it was received in that
    8           summary portion of the IAPro?
    9                  A.      Yes.
  10                   Q.      And that's a matter of standard
  11            operating procedure?
  12                   A.      Yes.
  13                   Q.      And everybody is trained in
  14            that procedure?
  15                   A.      Yes.
  16                   Q.      Is there any auditing system to
  17            ensure that the way cases are opened in
  18            IAPro are done fully and appropriately per
  19            procedure?
  20                   A.      I'm sorry, auditing or you mean
  21            a review process?
  22                   Q.      A review process.
  23                   A.      Yes.
  24                   Q.      Can you tell me about that?
  25                   A.      When IAB investigations

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    1                                  A. CRAWFORD
    2           completed by the investigator, it gets
    3           submitted to the captain by that particular
    4           team, it gets conveyed to me for my review
    5           and commanding officer for her review and
    6           then we will then be reviewed by the deputy
    7           commissioner.
    8                  Q.     And going all the way back to
    9           the intake procedure, is there any review
  10            process done to make sure new cases are
  11            properly opened within the system?
  12                   A.     Yes.
  13                   Q.     Okay.
  14                          Can you tell me about that
  15            review procedure, is that part of an SOP
  16            for Internal Affairs?
  17                          MR. MITCHELL: I object, but you
  18                    can answer.
  19                   A.     Yes.
  20                   Q.     And who is in charge of making
  21            sure the files are opened up fully and
  22            appropriately?
  23                   A.     The commanding officer and also
  24            myself.
  25                   Q.     Okay.

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    1                                  A. CRAWFORD
    2                         And that's part of routine
    3           duties would you say?
    4                   A.    Yes.
    5                   Q.    Would you say that it's
    6           required that every file newly opened in
    7           IAPro is required to undergo a review to
    8           make sure that all of the data entries and
    9           summary is full and accurate and complete?
  10                    A.    Yes.
  11                    Q.    When a file is opened in IAPro,
  12            what content goes in meaning specifically
  13            in addition to the allegations, is it
  14            linked to employees, suspects, can you tell
  15            me what else goes into the opening of a
  16            file?
  17                    A.    If a specific employee can be
  18            identified as being involved in the matter,
  19            then yes, the employee would be named.                    If
  20            that information gets developed pursuant to
  21            an investigation, then it will be done at a
  22            later time, but as far as the complaint
  23            intake, I mean like I said, sometimes we
  24            get written complaints that are so vague
  25            that you can't even really formulate, you

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    1                                  A. CRAWFORD
    2           know, an allegation misconduct or a time,
    3           date, location or an involved officer, but
    4           we commence an investigation and we try to
    5           get as much information as we can.
    6                  Q.      So in cases like that, you say
    7           you do your best to summarize what you
    8           believe the case is about to justify the
    9           facts that you then take to investigating
  10            it?
  11                   A.      When we get the complaint, we
  12            work with whatever information we can get.
  13            I mean if we can get a written complaint
  14            report and it just has the barest of
  15            information, we will commence an
  16            investigation and then work from there.
  17                           I mean we will try to get
  18            additional information from the
  19            complainant.        Sometimes the complainant
  20            don't cooperate.
  21                   Q.      Right.
  22                           If it comes to be that initial
  23            persons are identified through the
  24            investigatory process, are they added to
  25            the IA profile subsequently?

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    1                                  A. CRAWFORD
    2                  A.      Yes.
    3                  Q.      Is there any effort during an
    4           investigation process to search for
    5           commonalities in light kind situations,
    6           common personnel, common incidents?
    7                  A.      Yes.
    8                  Q.      And is it the case that
    9           sometimes folks are employees are seen to
  10            have been acting in concert with other
  11            employees regularly, perhaps a partner?
  12                           MR. MITCHELL: I object, but you
  13                    can answer.
  14                   A.      You mean working with somebody?
  15                   Q.      Yes, right.
  16                   A.      Yes.
  17                   Q.      Is that person as a matter of
  18            routine added to the investigation to see
  19            whether they're a witness or whether
  20            they're also involved in wrongdoing?
  21                   A.      Yes.      All members that were
  22            working at the time of occurrence, anybody
  23            who was present could be at the very least
  24            an involved party or a witness, so yes,
  25            they're going to be what we call linked

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    1                                  A. CRAWFORD
    2           into the investigation.
    3                  Q.     Is that a matter of standard
    4           procedure linking all parties that have may
    5           have been involved in one way or the other?
    6                  A.     Yes.
    7                  Q.     As far as how IA files are
    8           developed, who is in charge of the
    9           procedures that are taken?
  10                   A.     Could you repeat that, please?
  11                   Q.     Sure.
  12                          As far as the procedure and the
  13            investigative measures that are taken, who
  14            is in charge of those standard operations
  15            in your office?
  16                          MR. MITCHELL: I object, but you
  17                    can answer.
  18                   A.     Commanding officer.
  19                   Q.     And is there any type of system
  20            of standardized measures that are taken in
  21            every case and then developed further on an
  22            as-needed basis as investigators fit?                    Is
  23            there any common system, checklist of
  24            things?
  25                   A.     An investigative checklist?

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    1                                  A. CRAWFORD
    2                  Q.      Yes.
    3                  A.      Yes.
    4                  Q.      Can you tell me what is on that
    5           investigative checklist?
    6                  A.      Just a list of usual
    7           investigative measures to be considered by
    8           the investigator.
    9                  Q.      Where is that checklist found?
  10                   A.      That's in the guidebook.
  11                   Q.      When was the last time that
  12            checklist was investigated?
  13                   A.      Not recently.                  I couldn't tell
  14            you exactly when it was last amended.
  15                   Q.      Can you estimate for me perhaps
  16            whether in your career since --
  17                   A.      Probably about two or three
  18            years ago.
  19                   Q.      Two or three years ago, okay.
  20                           When an IA file is created and
  21            the summary is written, is there any
  22            attempt at that point to categorize the
  23            complaint into any system of
  24            categorization?
  25                   A.      Yes.

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    1                                  A. CRAWFORD
    2                  Q.     Can you tell me about that
    3           system?
    4                  A.     It's a drop down menu and any
    5           IAPro that's available through the blue
    6           team entry and the allegations of
    7           misconduct are to be categorized and
    8           entered, you know, just using that drop
    9           down menu and linked to the particular
  10            officer.
  11                   Q.     That's down in addition to
  12            linking the employees and then narrative
  13            summary we talked about before?
  14                   A.     Well, it would be all part of
  15            the same report, but yes.
  16                   Q.     Okay.
  17                   A.     Summary would be a narrative of
  18            the allegation, material information and
  19            then the involved officer would be added or
  20            what we call linked and then any
  21            allegations of misconduct attributed to
  22            that particular officer would be
  23            categorized and linked as well.
  24                   Q.     And as far as those categories
  25            are as it stands right now today, how many

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    1                                  A. CRAWFORD
    2           categories are on that drop down menu?
    3                  A.      Thirty-seven.
    4                  Q.      And how long have there been 37
    5           categories?
    6                  A.      There have been -- let's see,
    7           it was probably last amended seven years
    8           ago.
    9                  Q.      And as of that point seven
  10            years ago, do you mean, do you know how
  11            many categories existed at that time?
  12                   A.      No, I don't.
  13                   Q.      Okay.       Let's see.
  14                           So prior to seven years ago,
  15            how would one find out how many categories
  16            there were at that time?
  17                   A.      We would have a, would have
  18            documentation maintained in the office.
  19                   Q.      Okay.
  20                           Where?
  21                   A.      It would be maintained within
  22            IAB.
  23                   Q.      Well, I mean in a file with
  24            regard to legacied --
  25                   A.      Yeah.

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    1                                  A. CRAWFORD
    2                   Q.    -- procedures?                  Okay.
    3                         And if someone wanted to
    4           request that file, what would they call it?
    5                   A.    They would call it a list of
    6           categorized allegations and misconduct.
    7                   Q.    And do you know how many times
    8           that list has changed since, say, the year
    9           2000?
  10                    A.    Well, the system was put into
  11            effect around 2005.             Prior to that, no, I
  12            wouldn't, I mean that's, that list has been
  13            essentially standard.               I'm only aware of
  14            recent change, like I said, within the last
  15            seven years where we had advised policing
  16            and that was pursuant to a DOJ agreement.
  17                    Q.    And this list of 37, you're
  18            aware that it's customized, correct?
  19                    A.    Yes.
  20                    Q.    And who is it that customized
  21            these 37 categories?
  22                    A.    It was done by Deputy Chief
  23            Nicholas Mango back when this system, when
  24            IAPro was incorporated into the office.
  25                    Q.    And what is the general purpose

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    1                                  A. CRAWFORD
    2           of this generalization?
    3                  A.     That was the feature that was
    4           available through IAPro to categorize
    5           allegations and misconduct and have them
    6           attributed to the involved members.
    7                  Q.     Do you know whether or not any
    8           of the suggested categories that come with
    9           the software were not used or deleted?
  10                   A.     When the system was first put
  11            into effect, not that I'm aware.
  12                   Q.     Or, currently, because current
  13            versions have current suggestions.                  Are you
  14            aware of whether or not anyone has been
  15            looking at them to see if they should be
  16            adopted or not?
  17                   A.     So, well, the system has worked
  18            for us, so we've maintained it as it is.
  19                   Q.     Have you found that this system
  20            of 37 incorporates all possible categories
  21            that patrol and investigatory personnel
  22            might encounter?
  23                          MR. MITCHELL: And I note my
  24                    objection.        You can answer.
  25                   A.     In my experience, we didn't

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    1                                  A. CRAWFORD
    2           feel the need to add any additional one.
    3                  Q.     Looking at this list of 37, I
    4           don't see any categories specific to those,
    5           to the investigator.              This looks like it
    6           mainly pertains to patrol issues.                  Is that
    7           because it's often parole folks that are
    8           patrol folks that are dealing with the
    9           public and perhaps may fall into these
  10            categories more readily than investigatory
  11            personnel?
  12                          MR. MITCHELL: And I object, but
  13                    you can answer.
  14                   A.     No, investigations are part of
  15            everyone's job including patrol members.
  16                   Q.     So patrol members, detectives
  17            don't receive any specialized training or
  18            they don't have any specialized rules that
  19            they're supposed to follow when
  20            investigating crimes that wouldn't
  21            necessarily be reflected on here?
  22                          MR. MITCHELL: And I object.
  23                    You can answer.
  24                   A.     I'm sorry, can you repeat the
  25            question?

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    1                                  A. CRAWFORD
    2                   Q.    Sure.
    3                         It seems to me that these
    4           categories apply mainly to patrol officers.
    5           Are you able to account for all detectives
    6           specialized trained and rules within these
    7           37 categories?
    8                         MR. MITCHELL: And I object, but
    9                    you can answer.
  10                    A.    Yes, we have been using these
  11            categories of allegations and we haven't
  12            determined the need to add any or amend
  13            them.
  14                    Q.    Okay.
  15                          So, for example, in the
  16            instance of someone who's accused of
  17            fabricating evidence, what category would
  18            that go into?
  19                    A.    Well, fabricating evidence
  20            would generally be considered conduct
  21            unbecoming.
  22                    Q.    Unbecoming you said?
  23                    A.    Yes, or it could be considered
  24            improper performance as well.
  25                    Q.    So I don't see improper

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    1                                  A. CRAWFORD
    2           performance on here.               Is there another one
    3           that it would be --
    4                  A.      I'm sorry.
    5                  Q.      That's okay.
    6                  A.      There's improper police act,
    7           action and for something like that, that
    8           would be, if we got a referral from the
    9           DA's office, it would be most likely
  10            categorized as conduct unbecoming.
  11                   Q.      Conduct unbecoming, okay.
  12                           So falsifying evidence would
  13            fall under conduct unbecoming, is that
  14            right, is that your testimony?
  15                   A.      It can.
  16                   Q.      It can?
  17                   A.      Yes.
  18                   Q.      Can we agree that perhaps it's
  19            not clearly defined?
  20                   A.      Yes.
  21                   Q.      Okay.
  22                           How about, I mean is this the
  23            first time that you have considered that
  24            issue as it's never come up before in
  25            categorizing?

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    1                                  A. CRAWFORD
    2                   A.    Allegations of fabricated
    3           evidence, it comes up, yeah, it does come
    4           up.
    5                   Q.    Okay.
    6                         So you just wing it when trying
    7           to figure out what category to put it into?
    8                         MR. MITCHELL: I object, but you
    9                    can answer it.
  10                    A.    We put it in --
  11                    Q.    Something?
  12                    A.    Yes.
  13                    Q.    And something that perhaps
  14            makes sense, you know, within, we can agree
  15            that it could fall into a couple of these?
  16                    A.    Yes.
  17                    Q.    So if one wanted to find
  18            specific files about falsifying evidence,
  19            it really wouldn't be a clear category to
  20            look in, you really have to look in one of
  21            them?
  22                    A.    One, yes.
  23                    Q.    And this is an issue that's
  24            come up before and you have worked within
  25            these 37?

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    1                                  A. CRAWFORD
    2                         MR. MITCHELL: I object to the
    3                   form, but you can answer.
    4                  A.     What issue has come up before?
    5                  Q.     I mean complaints regarding
    6           fabrications of evidence that have come up
    7           before, right?
    8                  A.     Yes.
    9                  Q.     One time or more than one time?
  10                   A.     More than one.
  11                   Q.     Okay.
  12                          And in the contention of
  13            categorizing them, the SOP is just defined,
  14            put it somewhere?
  15                   A.     Yes.
  16                   Q.     Who is in charge of making
  17            perhaps referrals to update and amend these
  18            categories?
  19                   A.     Anybody can make a referral or
  20            a recommendation.
  21                   Q.     Are you aware of whether or not
  22            anyone has made a referral or
  23            recommendation?
  24                   A.     I'm not aware of any, no.
  25                   Q.     Who would be aware of that?

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    1                                  A. CRAWFORD
    2                         MR. MITCHELL: I object, but you
    3                   can answer.
    4                  A.     If there were any
    5           recommendations, I would be aware of it.
    6                  Q.     Why haven't you ever made that
    7           recommendation?
    8                         MR. MITCHELL: And I object, but
    9                   you can answer.
  10                   A.     Because we haven't had a need
  11            for it.
  12                   Q.     Meaning you're satisfied to
  13            just categorize it in any of these that are
  14            close enough?
  15                   A.     Yes, as long as it's thoroughly
  16            investigated.        It's difficult to categorize
  17            every allegation of police misconduct.
  18            It's such a wide ranging spectrum that we
  19            use the categorizations that are available
  20            and then we specifically address the
  21            allegations in the summary.
  22                   Q.     In the summary, okay.
  23                          And is that because through the
  24            summary, you're aware that if you need to
  25            find the files for a specific type of thing

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    1                                  A. CRAWFORD
    2           that's not in a category of its own, that
    3           you could do a quierum and pull up all the
    4           information and with all of the information
    5           that have certain key words within the
    6           summary?
    7                         MR. MITCHELL: And I object, but
    8                   you can answer.
    9                  A.     That search can't be limited to
  10            the summary and the blue team entry because
  11            there may have been information that was
  12            developed pursuant to the investigation.
  13                   Q.     Sure.
  14                          But you're aware that you can
  15            do a key word query that would pick up
  16            words in the summary?
  17                   A.     In the summary, yes.
  18                   Q.     So, for example, you had a case
  19            that clearly alleged falsification of
  20            evidence.     Your staff is trained to
  21            specifically include the allegation in the
  22            summary that way you could pull it up later
  23            if you wanted to using a key word search;
  24            is that correct?
  25                          MR. MITCHELL: I object to form.

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    1                                  A. CRAWFORD
    2                   You can answer.
    3                  A.     You could.            You wouldn't be
    4           able to limit your key word search to just
    5           falsified.      You'd have to use fabricated,
    6           you'd have to use the word planted.
    7           Unfortunately there are many words in the
    8           English language that could be used to
    9           describe the misconduct under those
  10            circumstances.
  11                   Q.     Sure.
  12                          And you'd have to do that
  13            because there's not a specific category
  14            that's made for it?
  15                   A.     Yes.
  16                   Q.     How about perjury in court, for
  17            example, where does that go in here?
  18                   A.     Perjury would usually result
  19            from referral from the DA's office and
  20            again that would most likely be categorized
  21            as unbecoming.
  22                   Q.     Anything else, any other
  23            category?
  24                   A.     It couldn't fit under improper
  25            police act, it could -- I guess it's

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    1                                  A. CRAWFORD
    2           possible it could be failed to perform, but
    3           most likely would be categorized as conduct
    4           unbecoming.
    5                  Q.       Does the public and complaints,
    6           do they often come in accusing police
    7           officers and employees of lying in one form
    8           or another?
    9                  A.       Yes.
  10                   Q.       And you would say multiple
  11            complaints probably make that allegation I
  12            would imagine, right?
  13                   A.       Yes.
  14                   Q.       But I don't, I mean I see a
  15            false statement, but I don't see anything
  16            in particular about court.                    Is that because
  17            people never claim cops lie in court?
  18                            MR. MITCHELL: I object to the
  19                    form.     You can answer.
  20                   A.       As you know, perjury would be
  21            limited to a written submission or
  22            testimony under oath.               Some people assert
  23            that officers lie when they, when talking
  24            to somebody or, you know, when conveying
  25            information in other circumstances, so it

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    1                                  A. CRAWFORD
    2           would be difficult to use perjury as a
    3           classification.         False statement, that's
    4           generally used when somebody conveys a
    5           false statement either to SPEAR [sic] an
    6           officer to Internal Affairs, so yes,
    7           unfortunately we don't have, you know, 100
    8           specific allegations to categorize many
    9           more aspects of allegations and misconduct.
  10                   Q.     Is that because the software
  11            doesn't accommodate 100 categorizations or
  12            just no one has taken the initiative to
  13            expand?
  14                   A.     We haven't --
  15                          MR. MITCHELL: Sorry, I object
  16                    to form.       You can answer.
  17                   A.     -- no, we have all the
  18            information captured in the system.
  19            Generally when not using it for research
  20            or, you know, to check files.                 Yes, it
  21            would be easier, I just search his IPad to
  22            do.    I mean you have to go through each
  23            case, definitely would make things easier
  24            if we had another tool available, but no
  25            matter what, you'd have to, I couldn't

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    1                                  A. CRAWFORD
    2           certify that a review of our records was
    3           exhaustive unless I could check every
    4           possible permutation or category.
    5                  Q.     Is that because you wouldn't
    6           trust the query that captures --
    7                  A.     Yes.
    8                  Q.     -- your staff those in the
    9           summary?
  10                   A.     I couldn't just say I'm just
  11            going to search this particular allegation
  12            and misconduct and say with any certainty
  13            that that could be the only way that it was
  14            categorized.
  15                   Q.     Sure.
  16                          But if you did want to find
  17            files that contain perjured statements or
  18            fabricated allegations, you could easily
  19            start with a query and it would see what's
  20            in there as far as what complaints or files
  21            are linked to that keyboard?
  22                   A.     Yes.
  23                          MS. McCLURE: Off the record.
  24                          (Whereupon, a 15-minute break
  25                    was taken.)

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    1                                  A. CRAWFORD
    2                         MS. McCLURE: We're back on the
    3                   record.      The witness is still sworn.
    4                   Everyone is back present from our
    5                   break.     All right.
    6                  Q.     Going back to the Internal
    7           Affairs Department, do you guys do annual
    8           reporting of any kind?
    9                  A.     We do annual reporting and we
  10            do quarterly reporting.
  11                   Q.     And who do those reports go to?
  12                   A.     The quarterly reports go to the
  13            Suffolk County Legislature and the annual
  14            reporting goes to the Department of
  15            Justice.
  16                   Q.     Okay.
  17                          And what information is a
  18            general overview goes into each of those
  19            reports respectively?
  20                   A.     The legislative report will on
  21            a quarterly basis report the number of
  22            cases or complaints that have been
  23            received, how many cases have been
  24            completed.       We will also indicate a summary
  25            of the length of each investigation that

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    1                                  A. CRAWFORD
    2           are still pending.            It will also summarize
    3           disciplinary action that have been taken by
    4           the department and we will provide
    5           statistics regarding the complaints and the
    6           categorization of allegation.
    7                  Q.     Okay.
    8                         Is that categorization done
    9           based on these 37 categories?
  10                   A.     Yes.
  11                   Q.     So if there were multiple
  12            incidents of, say, fabrication of evidence
  13            per se, that would not be reflected in your
  14            category analysis of your report, right?
  15                   A.     Not specifically, no.
  16                   Q.     And is it fair to say that
  17            anymore specific type of incident whether
  18            or not it's repeatedly investigated by your
  19            office, if it's not part of those 37
  20            categories, it's not going to be included
  21            in that categorical breakdown?
  22                   A.     I'm sorry, could you ask that
  23            question again?
  24                   Q.     Sure.
  25                          So let's say you have a

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    1                                  A. CRAWFORD
    2           particular type of incident like perjury
    3           that is seen with some regularity, but
    4           there's not a particular category for it,
    5           is it correct that that will not reflect as
    6           something investigated in the categories
    7           that are put in your annual reporting?
    8                         MR. MITCHELL: I object, but you
    9                   can answer.
  10                   A.     As indicated in the specific
  11            category, no.
  12                   Q.     So it's limited then to these
  13            specific 37 and nothing more?
  14                   A.     Yes.
  15                   Q.     Okay.
  16                          With regard to these annual
  17            reports that go to, is it that for the
  18            quarterly reporting and annually reporting?
  19            Are they broken down by category of these
  20            37 as far as reporting categorically that
  21            goes into them?
  22                   A.     Yes.
  23                   Q.     Is there any narrative
  24            recitation of important matters or major
  25            discipline that goes further into material

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    1                                  A. CRAWFORD
    2           facts than just the categories in those
    3           reports?
    4                  A.     As far as a disciplinary action
    5           that was taken?
    6                  Q.     Yes.
    7                  A.     No, it would be just a brief
    8           description of the actual disciplinary
    9           action that was taken, so say a suspension
  10            without pay, loss of accruals, termination,
  11            et cetera.
  12                   Q.     Okay.
  13                          After cases are closed in your
  14            office, if additional parties or
  15            information is made known to your office,
  16            what is the procedure for re-opening a
  17            file, do you re-open a file --
  18                   A.     Yes.
  19                   Q.     -- or is there a determination
  20            to be made?      Can you explain the procedure
  21            to me?
  22                   A.     If information it receives of a
  23            referral or an additional complaint and
  24            it's regarding an incident that was already
  25            investigated, then that file would be

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    1                                  A. CRAWFORD
    2           reopened and whatever investigative action
    3           that were taken at that point would be
    4           documented.
    5                  Q.      Let me ask you this.
    6                          What, if any, internal triggers
    7           are there to perform an IA investigation?
    8                          MR. MITCHELL: I object, but you
    9                   can answer.
  10                   A.      You just want me to limit it to
  11            internal triggers?
  12                   Q.      Yes, so absent a complaint or a
  13            referral, are there any internal triggers
  14            to start an investigation?
  15                   A.      For it to be internal, it would
  16            be an internal referral from the, whether
  17            it be direction from a police commissioner
  18            or it would be a report from an employee,
  19            is that what you're referring to?
  20                   Q.      That's what I'm getting at.
  21                   A.      Okay.
  22                   Q.      Are there any other internal
  23            triggers or just those referrals from
  24            employees?
  25                   A.      To commence an investigation?

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    1                                  A. CRAWFORD
    2                  Q.     Yes.
    3                  A.     It either would have to be, we
    4           would have to have some kind of referral of
    5           information where it would be something
    6           that be discerned internally somehow that
    7           would warrant commencing an investigation.
    8                  Q.     When you say discerned
    9           internally somehow, I'm taking that to mean
  10            there's no particular policy regarding
  11            conditions that would warrant an internal
  12            audit automatically, is that fair to say?
  13                          MR. MITCHELL: I object, but you
  14                    can answer.
  15                   A.     Well, you're referring to
  16            investigations?
  17                   Q.     Right.
  18                   A.     Okay.
  19                          For there to be an
  20            investigation commenced, we would have to
  21            have some information indicating that there
  22            was a misconduct by a member of the
  23            department.      So if you're limiting it to an
  24            internal referral, it would be either from
  25            you know, supervisor, another employee,

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    1                                  A. CRAWFORD
    2           something that was, let's just say, as a
    3           hypothetical, a supervisor checks the
    4           Facebook page of another employee and
    5           discovers something inappropriate policy,
    6           you know, there would be referral to IAB.
    7                  Q.     Is there any procedure or staff
    8           member whose job it is to continuously
    9           monitor employees and conditions to
  10            determine whether an investigation should
  11            be opened?
  12                          MR. MITCHELL: I object, but you
  13                    can answer.
  14                   A.     I'm sorry, can you ask the
  15            question one more time, please?
  16                   Q.     Sure.
  17                          Is there any procedure or
  18            employee whose job it is to continuously
  19            monitor any certain conditions or employees
  20            in general for conditions that would
  21            trigger an Internal Affairs investigation?
  22                   A.     Well, as far as monitoring,
  23            yes.    Does it automatically trigger an
  24            Internal Affairs investigation, no.                   Does
  25            continually monitoring --

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    1                                  A. CRAWFORD
    2                  Q.     Okay.
    3                  A.     -- of conditions or information
    4           or patterns regarding conduct of our
    5           members --
    6                  Q.     Okay.
    7                  A.     -- but it doesn't automatically
    8           warrant the commencement of an Internal
    9           Affairs investigation.
  10                   Q.     And is that a matter of
  11            protocol or is that a matter of generalized
  12            orders of your department to be cognizant
  13            of what its employees are doing?
  14                   A.     Both.
  15                   Q.     Can you tell me what the policy
  16            is regarding any proactive investigation
  17            that you guys take that is not reactive to
  18            a referral or a complaint?
  19                          MR. MITCHELL: I object, but you
  20                    can answer.
  21                   A.     Okay.       We have departmental
  22            monitoring of the employees regarding
  23            various aspects of their performance and
  24            supervisors are tasked with continually
  25            monitoring this information, but again, it

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    1                                  A. CRAWFORD
    2           doesn't automatically trigger an Internal
    3           Affairs investigation.
    4                         I mean if the monitoring picks
    5           up on some kind of apparent misconduct or
    6           suspicion of misconduct, then yes, at that
    7           point an investigation will be commenced.
    8                  Q.     Does monitoring occur of all
    9           employees?
  10                   A.     Of all sworn members, yes.
  11                   Q.     And does that monitoring
  12            pertain to job performance, Email, internet
  13            presence, what does that monitoring entail?
  14                   A.     We have an early intervention
  15            dashboard that's available to all our
  16            supervisors that's pursuant to the IAPro
  17            platform.     Supervisors are tasked with
  18            checking the system to see if there are any
  19            indications of possible problems involving
  20            those employees regarding complaints,
  21            domestic incidents, you know, PD, police
  22            involved vehicle accidents, pursuits, use
  23            of force, et cetera.              Is that what you're
  24            referring to with monitoring?
  25                   Q.     I'm getting there.

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    1                                  A. CRAWFORD
    2                          So is monitoring something that
    3           is tasked up, you said supervisors.                    Are
    4           you talking about the direct reports of,
    5           you know, people who are supervising
    6           employees or are you saying supervisors
    7           within the IA Department are tasked with
    8           monitoring?
    9                  A.      Both.
  10                   Q.      Both, okay.
  11                           So supervisors of all kinds
  12            have access to IAPro and its early
  13            intervention system?
  14                   A.      Yes.
  15                   Q.      And all IA records that are not
  16            classified as, I guess, top secret or
  17            confidential?
  18                   A.      They're not going to have IAB
  19            files.
  20                   Q.      Oh, okay.
  21                   A.      They'll have access to an early
  22            intervention dashboards.
  23                   Q.      And what information is
  24            available on the early intervention
  25            dashboard?

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    1                                  A. CRAWFORD
    2                  A.      They would indicate the number
    3           of particular incidents involving each
    4           member.
    5                  Q.      The number of incidents
    6           pertaining to each member, is that right?
    7                  A.      Yes, yes.
    8                  Q.      Does it describe or in what
    9           detail does it describe the incidents
  10            themselves?
  11                   A.      Generally the dashboard itself
  12            is not going to provide comprehensive
  13            information regarding any of the involved
  14            incidents.
  15                   Q.      Does it give any information?
  16                   A.      Yes, it will give a description
  17            of the involved incidents associated with
  18            that officer.
  19                   Q.      And who creates that
  20            description?
  21                   A.      That's created through the
  22            IAPro platform.
  23                   Q.      Is it limited to the category
  24            one of 37?
  25                   A.      No, it's, it's delineated by

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    1                                  A. CRAWFORD
    2           the type of incidents.                So, for instance, a
    3           complaint, use of force incident, any
    4           officers involved in a domestic incident
    5           and officers involved with pursuits,
    6           vehicle pursuits, police vehicle accidents,
    7           so it would have that information available
    8           on this dashboard.
    9                  Q.     Would it necessarily be the
  10            case that information on that system be
  11            associated with one of those types of
  12            incidents that you just described?
  13                   A.     Yes.
  14                   Q.     Okay.
  15                          So in order for, I guess we
  16            will call it a notice or an entry to be
  17            made on this early intervention system, it
  18            would be have to be from a motor vehicle
  19            incident, a domestic violence incident or a
  20            complaint or there was one other, refresh
  21            my memory?
  22                   A.     Okay.       That would be, this is
  23            information that's maintained in IAPro and
  24            it would be associated with each member, so
  25            each supervisor is responsible on a monthly

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    1                                  A. CRAWFORD
    2           basis to check this early intervention
    3           dashboard and check to see if there are any
    4           issues with the performance of their
    5           subordinates.
    6                  Q.     I'm not understanding how
    7           issues with the performance of subordinates
    8           is shown on that system.
    9                         So if it's limited to
  10            instances, tell me again those four
  11            categories; complaints, pursuits, car
  12            accidents and domestic violence, is that
  13            right?
  14                   A.     Yes, and police vehicle
  15            accidents.
  16                   Q.     And police vehicle accidents,
  17            pardon me.
  18                          So if it's not one of those
  19            incidents, is it in that system or no?
  20                   A.     Is what in the system?
  21                   Q.     Well --
  22                   A.     I mean this is the information
  23            that's available on --
  24                   Q.     That's available.
  25                   A.     -- early intervention

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    1                                  A. CRAWFORD
    2           dashboard.
    3                  Q.     So let's say there was a
    4           performance issue that wasn't a complaint,
    5           DV incident, a vehicle pursuit or a police
    6           vehicle related accident, is it reflected
    7           in there?
    8                         MR. MITCHELL: And forgive me,
    9                   only because I don't want to like
  10                    come back later and ask this
  11                    question, but he also said use of
  12                    force is one of the categories.
  13                          MS. McCLURE: Oh, okay.               I
  14                    appreciate that.
  15                   Q.     So out of those five, if
  16            there's a performance related issue that's
  17            not from one of those five, is it in that
  18            system?
  19                   A.     In a dashboard, no.
  20                   Q.     Okay.
  21                          How about the monitoring that's
  22            associated with IAPro, is that part and
  23            parcel of the monitoring that's associated
  24            with the monitoring tab on IAPro or is that
  25            a separate function of monitoring or

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    1                                  A. CRAWFORD
    2           separate software?
    3                  A.      These would be alerts generated
    4           through the IAPro system.
    5                  Q.      So the IAPro system monitoring
    6           the way that you guys use it, takes
    7           information and creates alerts that then
    8           appears in these early intervention
    9           dashboards --
  10                   A.      No.
  11                   Q.      -- is that correct?
  12                   A.      No.
  13                   Q.      Tell me about the feed of
  14            information, what ends up in the early
  15            intervention information, where is that
  16            information inputted?
  17                   A.      The input is part of the IA
  18            Bureau process.
  19                   Q.      So it goes into IAPro, it's
  20            associated with an officer when it's made,
  21            we established that before?
  22                   A.      Yes.
  23                   Q.      Okay.
  24                           So then it's issued one of 37
  25            categories, we went through that before as

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    1                                  A. CRAWFORD
    2           well?
    3                   A.    If it's pertaining to a
    4           complaint.
    5                   Q.    Okay.
    6                         And then at some point is given
    7           one of those five categories that we just
    8           discussed?
    9                   A.    No, you're confusing --
  10                    Q.    Okay, that's what I need to
  11            understand.
  12                          So at what point is an incident
  13            given one of those five categories that
  14            show up in the dashboard?
  15                    A.    When it's reported, okay, the
  16            use of force reports or are administered
  17            throughout the IAPro software, police
  18            vehicle accidents.            So these reports are
  19            generated on the command level when the
  20            incident occurs and then when it's inputted
  21            into the system, it will be associated with
  22            the involved officers and then IAPro will
  23            track, you know, each particular incident.
  24                    Q.    So when a new supervisor comes
  25            into his duties over a particular team or

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    1                                  A. CRAWFORD
    2           set of folks, he is made aware of the fact
    3           that he has to check you said monthly
    4           before, correct --
    5                  A.     Yes.
    6                  Q.     -- the system for, pardon me,
    7           the dashboard let's call it, the monitoring
    8           dashboard, okay.
    9                         And is there any summary that's
  10            given to a new supervisor regarding his
  11            employees and any history that they may
  12            have had that will be reflected in IAPro or
  13            is it incumbent upon that person to do the
  14            research on who they're supervising and if
  15            there any problems?
  16                   A.     It gives them notice regarding
  17            potential problems.             If he needs any
  18            particular information, he is going to have
  19            to get that through his or her supervisors.
  20                   Q.     And that notice comes from this
  21            early intervention dashboard, correct?
  22                   A.     Yes.
  23                   Q.     Is there any other system of
  24            notice that you would be given?
  25                   A.     If the officers involved

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    1                                  A. CRAWFORD
    2           incidents made a threshold, then it would
    3           be an alert sent to the command, then it
    4           would go to the commanding officer who
    5           would then refer to the lieutenant in the
    6           squad.
    7                  Q.     All right.
    8                         But it would never be the case
    9           that they would go, say, review personnel
  10            records to see what prior training or
  11            interventions were held by old supervisors?
  12                          MR. MITCHELL: I object to the
  13                     form, but you can answer.
  14                   A.     They may.           I mean if you have a
  15            new supervisor and he wants to learn about
  16            his subordinates or if she wants to learn
  17            about the subordinates, then they may seek
  18            access.
  19                   Q.     But they don't have to?
  20                   A.     No, they don't have to.
  21                   Q.     These alerts that you generated
  22            from IAPro, who programs the trigger points
  23            for these alerts in IAPro?
  24                   A.     The commanding officer of
  25            Internal Affairs Bureau establishes the

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    1                                  A. CRAWFORD
    2           thresholds.
    3                  Q.     And is that threshold policy
    4           subject to a review or vote or --
    5                  A.     Yes.
    6                  Q.     It is, okay.
    7                         Can you tell me about that
    8           process for agreeing upon the trigger
    9           points for an alert?
  10                   A.     If there was a need for a
  11            review of the threshold, then at that point
  12            it would be discussed.                Most recently, one
  13            that I can think of, we had to create an
  14            alert for the reporting requirements
  15            pursuant to Executive Law Section 75.
  16                          So if any member of the
  17            department has five or more complaints
  18            within any 24 months, we have to convey a
  19            report to the State Attorney General's
  20            office.
  21                   Q.     Okay.
  22                   A.     So that was the most recent
  23            amendment we made to the system.
  24                   Q.     And who was it that brought
  25            that to the attention of the decision maker

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    1                                   A. CRAWFORD
    2           with regard to that?              Who decided that an
    3           intervention needed to be had with regard
    4           to that trigger evaluation?
    5                  A.       I did.
    6                  Q.       Okay.
    7                           And did you do that as part of
    8           your duties or did you just surmise that
    9           that would be necessary?
  10                   A.       It's part of my duty --
  11                            MR. MITCHELL: I object, but you
  12                    could answer.
  13                   A.       -- part of my duties and I was
  14            aware of the legislative amendment that
  15            went into effect.
  16                   Q.       And what are the trigger points
  17            now, are they different for the 37
  18            categories or is it one uniform trigger
  19            point for an alert?
  20                            MR. MITCHELL: I object to the
  21                    form.     You can answer.
  22                   A.       Well, the alerts are not
  23            limited to complaints, so as far as the
  24            thresholds or complaints, it would be three
  25            complaints within a year or two complaints

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    1                                  A. CRAWFORD
    2           of unprofessional language or attitude.
    3                  Q.     Within what span of time?
    4                  A.     For two, it would be six months
    5           and that's -- and other than that, five
    6           complaints over any 24-month period, that
    7           would trigger a reporting requirement.
    8                  Q.     Is there any manual review such
    9           that, let's say, someone has five
  10            complaints within 25 months, is that person
  11            evaluated or no?
  12                   A.     Depending on the circumstances,
  13            yes.
  14                   Q.     Okay.
  15                          When you say depending on the
  16            circumstances, does that mean that there's
  17            no rule that requires human oversight of
  18            those kinds of the, of the need for an
  19            alert of any kind?
  20                          MR. MITCHELL: I object, but you
  21                    can answer.
  22                   A.     I'm sorry, could you ask that
  23            question again?
  24                   Q.     Sure.
  25                          The fact that you say depends

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    1                                  A. CRAWFORD
    2           on the circumstances, right, whether
    3           someone is made the subject of an alert, if
    4           he's had, say, five complaints within a
    5           24-month period, I'm saying your testimony
    6           correctly, right?
    7                  A.      Well, as far as the alerts?
    8                  Q.      Right.
    9                  A.      No, they're limited to the
  10            threshold that was established in the
  11            IAPro.      I think you were talking about a
  12            general review.
  13                   Q.      That's my follow-up question.
  14                   A.      Okay.
  15                   Q.      Is there some sort of human
  16            review of the alert system to say, well,
  17            this person has had 25 complaints in 25
  18            months, perhaps there should be an alert
  19            about this guy that perhaps the computer
  20            didn't catch?
  21                   A.      Well, I would expect that if he
  22            had five in 25 months, then he or she most
  23            likely would have triggered one of the
  24            other thresholds.
  25                   Q.      Which are what again, tell me?

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    1                                  A. CRAWFORD
    2                  A.      Three complaints over a
    3           12-month period or two unprofessional
    4           language/attitude complaints over a
    5           six-month period.
    6                  Q.      Okay.
    7                          And there are no other triggers
    8           that relate to any other, we will call it
    9           conduct unbecoming or any other problem,
  10            it's just limited to those five and three,
  11            is that right, as you just testified?
  12            There's no other trigger programmed in the
  13            system?
  14                           MR. MITCHELL: I object to the
  15                    form. You can answer.
  16                   A.      Regarding complaints or
  17            regarding other thresholds?
  18                   Q.      Is there any other trigger
  19            threshold with regard to complaints, let's
  20            get that out of the way?
  21                   A.      Regarding complaints at this
  22            point, no, it's just those three.
  23                   Q.      Okay.
  24                           And what human system would
  25            exist to cause a trigger or an alert

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    1                                  A. CRAWFORD
    2           outside of the computer system for
    3           complaints, is there any?
    4                  A.     There would be a review on the
    5           command level regarding an officer's
    6           performance as far as, you know, looking
    7           for patterns, I mean this is what we do
    8           when we do complaint intake.                  I mean we
    9           review an officer's history, if there's any
  10            type of pattern, then obviously that's a
  11            factor that needs to be investigated.
  12                   Q.     So who is responsible again for
  13            reviewing the officer's history at
  14            complaint intake to determine whether there
  15            needs to be a notice or alert sent out?
  16                   A.     Well, the alerts are
  17            automatically generated from IAPro, but as
  18            far as any other perceived need outside of
  19            the threshold triggers, that will be on the
  20            case-by-case basis.
  21                   Q.     So am I correct in saying that
  22            there are not alerts generated from any
  23            other source, but the threshold system
  24            programs into that computer?
  25                   A.     Yes.

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    1                                  A. CRAWFORD
    2                  Q.     And what we have just discussed
    3           was alerts with regard to complaints only;
    4           is that correct?
    5                  A.     Yes.
    6                  Q.     What other alerts are there?
    7                  A.     There are alerts regarding
    8           domestics, if an officer is involved in a
    9           domestic incident; there are alerts
  10            regarding pursuits, officers involved in
  11            pursuits; there are alerts regarding
  12            officers involved in police vehicle
  13            accidents; there are alerts regarding use
  14            of force incidents.
  15                   Q.     That seems to correspond
  16            exactly to those five categories that would
  17            then show up on the dashboard, correct,
  18            that's monitored by supervisors?
  19                   A.     Yes.
  20                   Q.     So using those five categories,
  21            are the same five categories on which the
  22            computer trigger alerts are based, is that
  23            right?
  24                   A.     Yes.
  25                   Q.     So is it fair to say then that

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    1                                   A. CRAWFORD
    2           if a situation does not fit into one of
    3           those five categories, it is not subject to
    4           those automatic computerized alerts?
    5                  A.        Yes.
    6                  Q.        If an incident doesn't fit into
    7           one of those five categories, is there any
    8           system computerized or otherwise designed
    9           to automatically trigger an alert if it
  10            does not fit into one of those five
  11            categories?
  12                   A.        We used to have an overall, any
  13            six combination of, six incidents; however,
  14            due to the limitations with the system, we
  15            had to amend that to address the reporting
  16            notification to State Attorney General's
  17            office.
  18                   Q.        And how long have you been
  19            using this system where you feel the
  20            notification system is limited by the
  21            fields, by the software?
  22                             MR. MITCHELL: I object to the
  23                     form.     You can answer.
  24                   A.        Can you ask that question
  25            again?

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    1                                   A. CRAWFORD
    2                  Q.     Yes, sure.
    3                         You just testified that you
    4           feel that these five categories are
    5           limited, you're use to using something a
    6           little different, but that had six, right,
    7           am I saying that correctly?
    8                  A.     No.       There was another alert
    9           that was available on the system where if
  10            any combination of the tracked incidents
  11            amounted to six occurrences, there would be
  12            an alert generated.
  13                   Q.     Okay.
  14                   A.     That we had to amend that and
  15            to use that alert for the reporting
  16            requirement to the State Attorney General.
  17                   Q.     Okay.
  18                          So as it stands right now,
  19            there are no other provisions for --
  20                   A.     No.
  21                   Q.     -- that would cause an alert?
  22                   A.     No.
  23                   Q.     So when a supervisor takes a
  24            supervisory role and is given access to the
  25            dashboard that would have all of the

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    1                                  A. CRAWFORD
    2           alerts, if the alert is not there, is he
    3           under any requirement to do anything
    4           further to understand if there's a history
    5           or anything he should be looking out for or
    6           is that the extent of his requirements?
    7                          MR. MITCHELL: I object, but you
    8                    can answer.
    9                  A.      The supervisors are required to
  10            do an inquiry into the early intervention
  11            system on a monthly basis.                    As far as any
  12            other inquiries, that would be done often
  13            on a case-by-case basis with a particular
  14            supervisor.
  15                   Q.      And that's discretionary?
  16                   A.      Yes.
  17                   Q.      I'd like to talk about the
  18            concise officer history provision of the
  19            IAPro.      You're familiar with that as well?
  20                   A.      Yes.
  21                   Q.      And how in the course of the
  22            administration of your duties do you use
  23            that concise officer history?
  24                   A.      That will be used any time
  25            we're doing an inquiry regarding an

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    1                                  A. CRAWFORD
    2           officer.
    3                  Q.      And what information is
    4           available to you when you pull up an
    5           officer by name?
    6                  A.      With the concise history?
    7                  Q.      Yes.
    8                  A.      Essentially all information
    9           that's available on IAPro.
  10                   Q.      So that would include any
  11            information that was inputted as to the
  12            summary of the IA profile?
  13                   A.      Whatever summary was entered,
  14            it would have, as far as complaints, it
  15            would indicate each complaint of the
  16            categorization of the allegations of
  17            misconduct and the dispositions for each
  18            disciplinary action.               It would indicate if
  19            there was any disciplinary action that was
  20            taken against the involved officer, you
  21            could also obtain any incidents involving
  22            use of force, police vehicle accidents,
  23            pursuits, use of force; it would also
  24            indicate any alerts that were generated in
  25            the course of that officer's career.                     So

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    1                                  A. CRAWFORD
    2           yes, there's a lot of information available
    3           in the concise history report.
    4                  Q.     Okay.
    5                         And all of this information is
    6           subject to the back-up that we talked about
    7           earlier where, God forbid, something
    8           happened to the computer, it would be able
    9           to be backed up from some external source?
  10                   A.     Yes, but if, for whatever
  11            reason, we lost our computer system and the
  12            back-up was in effectual, we would have the
  13            paper files as a reference within the
  14            office.
  15                   Q.     Understood, okay.
  16                          So in the concise officer
  17            history database then, it transfers
  18            information from the narrative summary and
  19            inputs it into the concise officer history
  20            screen, is that fair to say?
  21                   A.     Yes.
  22                   Q.     So if a user is using the
  23            system correctly, someone should be able to
  24            look up the concise officer history and
  25            have a complete narrative of the materials

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    1                                  A. CRAWFORD
    2           in this case, is that right?
    3                  A.     Ideally, yes.
    4                  Q.     Well, ideally in the sense that
    5           that is the procedure and protocol that you
    6           require, right, that's what it is for, the
    7           narrative section, to put the material
    8           facts that you testified to before?
    9                  A.     Yes.
  10                   Q.     And those material facts would
  11            necessarily then have additional
  12            information beyond those 37 categories,
  13            correct?
  14                   A.     Ideally, yes.
  15                   Q.     And that's because, I think we
  16            have acknowledged here today that there's
  17            additional information that doesn't
  18            necessarily fit into one of these 37
  19            categories that's material to your
  20            investigation and the nature of that claim,
  21            correct?
  22                   A.     Yes, and also as the
  23            investigation progresses, further
  24            information will be developed.
  25                   Q.     And when further information is

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    1                                  A. CRAWFORD
    2           developed, is it supposed to be further put
    3           into that narrative summary?
    4                  A.     Generally it's not, whatever
    5           was inputted as the original complaint will
    6           remain as the summary and then any
    7           information regarding the investigation
    8           will be depicted in the investigative
    9           reports and attachments.
  10                   Q.     Okay, understood.
  11                          So in the event someone needs
  12            to run a concise officer history, are they
  13            able to be run on query [sic] of a
  14            department or is it done on a per officer
  15            basis?
  16                   A.     Generally the concise history
  17            is run on a, based on the officer.
  18                   Q.     Based on the officer, okay.
  19                          And if you want to run a query
  20            based upon a key word, you're aware that
  21            you can pull up a key summary of all of the
  22            cases that have that key word in it?
  23                   A.     Yep.
  24                   Q.     And is fair to say that you can
  25            then with a click, click into those cases

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    1                                   A. CRAWFORD
    2           and see the officers that were involved in
    3           a particular case and then run their
    4           concise history; is that all correct?
    5                  A.     Yes.
    6                  Q.     I don't recall if I asked this
    7           before and forgive me if I did, I'm sure
    8           counsel will advise me.                  Are there audit
    9           procedures in place to ensure that the
  10            category selected and that the narrative at
  11            the time of intake is done properly?                   I
  12            don't recall if I asked you that question.
  13                   A.     No.
  14                          MR. MITCHELL: And I will
  15                    forgive you if you did, and forgive
  16                    me because I don't recall if you did,
  17                    but with that in mind, I object, but
  18                    you can answer.
  19                   Q.     So is anybody over --
  20                   A.     Yes, as part of the intake
  21            process, the commanding officer or the
  22            executive officer will review the incoming
  23            complaint and then based on the available
  24            information ensure that the allegations are
  25            categorized as properly as we can properly

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    1                                  A. CRAWFORD
    2           categorize them at that point.
    3                  Q.     Okay.
    4                         And files are uploaded to the
    5           individual IAPro system from your files; is
    6           that correct?        Documents are uploaded to
    7           the IA profiles from your IA hard files?
    8                  A.     Yes.
    9                  Q.     And then they become part and
  10            parcel from the computerized file?
  11                   A.     Yes.
  12                   Q.     When files are discovered or
  13            subject to some disclosure of any kind, do
  14            you use the hard file or the computer file
  15            for disclosure?
  16                   A.     Unfortunately, the IAPro
  17            records are not comprehensive.                That's
  18            especially when it pertains to any of the
  19            files that pre-existed the implementation
  20            of the use of the platform.
  21                          So as a fail [sic] safe, we
  22            also have a card catalog filing system to
  23            track investigations involved with
  24            officers.     So for officers with, you know,
  25            30 or 40 years of service, we're not going

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    1                                  A. CRAWFORD
    2           to rely on the concise history within IAPro
    3           and we, unless the officer was hired within
    4           the last seven or eight years, we're going
    5           to check the card catalog to ensure that
    6           all the information is correct.
    7                  Q.     But that's not a procedure
    8           required of a supervisor?
    9                  A.     No, that's a procedure limited
  10            to production of files in IAB.
  11                   Q.     I'm trying to understand how in
  12            the course of discovery when any particular
  13            IA file is discovered, how it could have
  14            different contents from one person to the
  15            next if it's being discovered from your
  16            office.
  17                          So is there some way that you
  18            could think of that one person would get
  19            different copies of files than another
  20            person might receive?
  21                          MR. MITCHELL: I'm going to
  22                    object, but you can answer.
  23                   A.     I'm sorry, for a discovery
  24            request --
  25                   Q.     Yep.

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    1                                  A. CRAWFORD
    2                  A.     -- are you asking if it's
    3           possible that to requests to a particular
    4           officer would result in two different
    5           productions?
    6                  Q.     Yep.
    7                  A.     I obviously can't say that it
    8           can happen, but no, we do a comprehensive
    9           check of the available files and ensure
  10            that all pertinent files are disclosed.
  11                   Q.     Okay.
  12                          I'm trying to understand how in
  13            this case I had received a copy of the
  14            Thomas Moroughan --
  15                          MR. MITCHELL: Moroughan.
  16                   Q.     -- Moroughan file.
  17                          I received a copy of the IA
  18            file and the documents and my files didn't
  19            have the same handwritten notes on them
  20            that were published on the internet, so I'm
  21            just trying to figure out how my files are
  22            different from the files of the Nassau
  23            County attorneys put up on-line.
  24                          MR. MITCHELL: And I object to
  25                    the form, if you know.

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    1                                  A. CRAWFORD
    2                  A.     I'm sorry --
    3                         MR. MITCHELL: I don't know, I'm
    4                    sorry, how would he know?
    5                  Q.     Let me rephrase my question.
    6                         My question is, it's my
    7           understanding that a set of files exist in
    8           that particular case that were received by
    9           folks in Nassau County.
  10                          MR. MITCHELL: Forgive me, I
  11                     don't mean, if you could just clarify
  12                     folks in Nassau County.              Just be more
  13                     specific, that's all.
  14                   Q.     As part of their investigation
  15            into the matter, I'm sure you were aware
  16            that there was a dual investigation into
  17            that matter?
  18                   A.     Yes.
  19                   Q.     And then those files that were
  20            produced to Nassau County as opposed [sic]
  21            to the Internal Affairs Department or
  22            inspectors out there --
  23                   A.     I'm sorry to interrupt, what
  24            files?
  25                   Q.     A copy of the IA.

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    1                                  A. CRAWFORD
    2                  A.     So the Suffolk County Police
    3           Department Internal Affairs Bureau file.
    4                  Q.     Was disclosed, and apparently
    5           it was published because I got it.                  It was
    6           available publicly and I received it.                    That
    7           copy that I received publicly purported to
    8           have a whole lot of handwritten information
    9           on it from those that were involved in the
  10            process of reviewing the reports and I know
  11            that you were involved in that, so I know
  12            perhaps, do you know what I'm talking about
  13            so far?
  14                          MR. MITCHELL: I object to your
  15                    form, but you could answer her
  16                    question.
  17                   A.     You're talking about the IA
  18            investigative report regarding that
  19            investigation --
  20                   Q.     Right.
  21                   A.     -- from Suffolk County Police
  22            Department?
  23                   Q.     Right.
  24                   A.     And it had handwritten
  25            provisions on it?

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    1                                    A. CRAWFORD
    2                   Q.       Right.
    3                            Are you aware of the
    4           handwritten notes that were published in
    5           the media pertaining to that investigation
    6           report?
    7                   A.       That was published in Newsday.
    8                   Q.       That's right.
    9                   A.       Yes.
  10                    Q.       Okay.
  11                             So I'm just trying to figure
  12            out how those copies that had clearly
  13            internal handwriting on them didn't make it
  14            to me and my discovery requests in this
  15            case.        I got clean sheets without any
  16            handwritten notes on them.
  17                             I'm trying to understand from
  18            you as far as recordkeeping goes, are those
  19            handwritten notes kept separately or why
  20            weren't they included in my discovery?
  21                             MR. MITCHELL: I object to the
  22                     form.     He can answer the first part
  23                     of your question.
  24                    Q.       Yes, as far as recordkeeping,
  25            are they --

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    1                                    A. CRAWFORD
    2                            MR. MITCHELL: But as far as why
    3                    you didn't get it, he's not competent
    4                    to answer that, unless he knows it.
    5                    Do you know why she didn't get some
    6                    paperwork?
    7                   A.       When did you get this
    8           paperwork?
    9                   Q.       During the course of my case.
  10                             So I'm trying to understand --
  11                    A.       Okay.
  12                    Q.       -- why some IA records are,
  13            seem to be sanitized and others aren't.
  14                             MR. MITCHELL: I object to the
  15                     form.     You can answer.
  16                    A.       I can only speculate.
  17                             MR. MITCHELL: Don't speculate.
  18                    A.       Okay, I don't know.          I'm sorry,
  19            unless you could show me.
  20                             MR. MITCHELL: No, I don't know
  21                     is an acceptable answer.
  22                    Q.       Sure.
  23                             I would not want you to answer
  24            things that you don't know that is for
  25            sure.

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    1                                  A. CRAWFORD
    2                   A.    Okay.
    3                   Q.    So do you know whether or not
    4           your IA file in paper or on the computer
    5           contains any copies of any handwritten
    6           notes from any party from any of the
    7           documents?
    8                   A.    I don't know for certain.                  I
    9           wasn't involved in that investigation.                       At
  10            one point, I was asked to review a document
  11            that was created by Inspector Calderelli.
  12            I'd have to check the actual file.
  13                    Q.    That document from Inspector
  14            Calderelli is the one I'm talking about
  15            that was published on Newsday that had
  16            handwritten notes in it.
  17                          I'm trying to figure out if
  18            that's a copy saved in your file or if that
  19            came from somewhere else.                     Do you know if
  20            that copy with handwritten notes is in your
  21            file?
  22                    A.    That, I don't know, and I don't
  23            know if Inspector Calderelli kept a
  24            personal copy of a document and then
  25            produced it to Newsday, I don't know.

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    1                                  A. CRAWFORD
    2                  Q.     Should it be kept as a routine
    3           matter?
    4                  A.     Should it be maintained by IAB?
    5                  Q.     Yes.
    6                  A.     Yes, and no file should have
    7           been removed from the office.
    8                  Q.     Oh, okay.
    9                         So what were you shaking your
  10            head no about just now, what part of my
  11            question?
  12                          MR. MITCHELL: I object, but you
  13                    can answer.
  14                   A.     No, you said should have been
  15            removed, I said no, that's clear-cut that
  16            you do not remove any documents and no,
  17            nobody should be removing any document.
  18                   Q.     Okay.
  19                   A.     Keeping it in as personnel
  20            effects.
  21                   Q.     Okay.
  22                          Should that document have been
  23            retained in the IA file with handwritten
  24            notes regarding information or thoughts or
  25            anything at all, should that copy have been

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    1                                  A. CRAWFORD
    2           kept within procedures and rules?
    3                  A.     If it pertained to that
    4           procedure, yes, it should be kept.
    5                  Q.     So as your file sits right
    6           there, is there a copy of it in there?
    7                  A.     I'd have to check that
    8           particular file.          I would expect it, yes.
    9           Any document that was created pursuant to
  10            that investigation is contained within the
  11            file maintained within IAB.
  12                   Q.     Okay, that's fair, I wouldn't
  13            expect you to know per se if it's in there,
  14            but knowing it's supposed to be in there is
  15            what I'm getting at.
  16                   A.     Okay.
  17                   Q.     So is it also fair to say that
  18            any reports reviewed by anyone in the chain
  19            of command or anyone who was asked for
  20            thoughts that their handwritten notes on
  21            them should per procedure be maintained in
  22            your IA file?
  23                   A.     Yes.      Any records maintained
  24            pursuant to that investigation which all of
  25            them maintained or depict handwritten

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    1                                  A. CRAWFORD
    2           notations regarding the review process,
    3           yes, they should be maintained with IAB.
    4                  Q.     So no one should be throwing
    5           out any handwritten notes of anything at
    6           any time, is that fair, unless there are --
    7                  A.     If it's not related, then it's
    8           not material, it's just like an
    9           investigation, not criminal, just like a,
  10            like I described before, you got a phone
  11            message from this complainant, I wouldn't
  12            expect that to be saved in the file, but
  13            any materials to the investigation, yes,
  14            should be maintained in the file.
  15                   Q.     So someone's draft mark-ups
  16            containing edits to any kind of official
  17            report should be kept for any policy and
  18            procedure?
  19                   A.     No, if it's not a final report
  20            because we have an extensive review process
  21            and that entails sometimes numerous
  22            amendments.
  23                   Q.     Okay.
  24                          Let me see if I could better
  25            understand this.

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    1                                  A. CRAWFORD
    2                         I'm going to mark this for ID.
    3           I made a copy of a Newsday report that way
    4           you and I are talking about the same thing.
    5                         MS. McCLURE: Can you mark this
    6                   as Plaintiff's Exhibit 2, please.
    7                         (Whereupon, the aforementioned
    8                   document was marked as Plaintiff's
    9                   Exhibit 2 for identification as of
  10                    this date by the Reporter.)
  11                   Q.     So I'm going to ask you just to
  12            take a look at this.              This is the article
  13            that we were just referring to in Newsday.
  14            You're familiar with that article?
  15                   A.     Yes.
  16                   Q.     Okay.
  17                          And the photo insert there
  18            purports to be a draft copy of that
  19            Calderelli report, correct?
  20                   A.     Yes.
  21                   Q.     And there's some handwriting on
  22            that report that clearly is indicative of
  23            being some kind of draft or someone's
  24            thoughts on what should go in and what
  25            should be taken out on a final draft.

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    1                                   A. CRAWFORD
    2           Would you agree with that?
    3                  A.     Yes.
    4                  Q.     So what I want to understand is
    5           that, is it Suffolk County's policy to
    6           purge these reports with handwritten notes
    7           on them when eventually a final report is
    8           written?
    9                         MR. MITCHELL: And I will object
  10                    to form.        You can answer.
  11                   A.     If it's just a draft of a
  12            report and it gets amended and it's not a
  13            final report, it depends on whether there's
  14            a need to save the original draft.
  15                   Q.     Okay.
  16                          So then the county does not
  17            have a policy per se or a written policy
  18            that has requirements about saving drafts
  19            or supervisor directives --
  20                   A.     No.
  21                   Q.     -- with regard to IA reports?
  22                   A.     When it comes --
  23                          MR. MITCHELL: I object, but you
  24                    can answer.
  25                   A.     -- when it comes to our

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    1                                     A. CRAWFORD
    2           reports, for instance, if I get a report, I
    3           review it and there are a couple of issues
    4           that need further investigative efforts or
    5           if it's not drafted properly in my opinion,
    6           I send it back for some kind of revision,
    7           no.    Generally, we just save the final
    8           version of the report and that's what gets
    9           submitted up the chain for review.
  10                   Q.       Okay.
  11                            So a copy with handwritten
  12            notes as the one we're using in Exhibit
  13            Number 2 according to the county's policies
  14            and procedures are then properly destroyed?
  15                            MR. MITCHELL: Objection to the
  16                    form.     That's not his testimony.               I
  17                    object to the form, but you can
  18                    answer.
  19                   A.       No.
  20                   Q.       What should happen to it?
  21                   A.       I don't know what happened with
  22            this report.          I remember being assigned to
  23            a meeting with Inspector Calderelli because
  24            there was some glaring issues with a report
  25            that he drafted.

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    1                                   A. CRAWFORD
    2                  Q.     And you were called to that
    3           meeting at that time?
    4                  A.     Yes.
    5                  Q.     And in what capacity were you
    6           called to that meeting?
    7                         MR. MITCHELL: I object to form.
    8                   You can answer.
    9                  A.     I was assigned to legal bureau.
  10            I was working in the commissioner's office.
  11                   Q.     So you were not a member of
  12            Internal Affairs at that time?
  13                   A.     No.
  14                   Q.     And you were, legal affairs of
  15            the commissioner's office at that time?
  16                   A.     Legal bureau.
  17                   Q.     Legal bureau, okay.
  18                          That corresponded with the time
  19            that you were held an officer position with
  20            the Superior Officers Union as well; is
  21            that correct?
  22                   A.     No.
  23                   Q.     No, it was a different in time?
  24                   A.     It was in 2014 and no, I was
  25            not on a union board at that point.

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    1                                   A. CRAWFORD
    2                  Q.       Okay.
    3                           So you were in this capacity as
    4           a legal affairs capacity, as one would
    5           attend that meeting?
    6                  A.       Yes.
    7                  Q.       So in your estimation then
    8           having been so involved with this specific
    9           report, should per the policy of Suffolk
  10            County, should that have been destroyed or
  11            should that have been kept?
  12                            MR. MITCHELL: I object to the
  13                    form.     You can answer.
  14                   A.       I never really possessed the
  15            report, so I don't know what happened to
  16            it.
  17                   Q.       Looking at it now and
  18            understanding the recordkeeping policies as
  19            you do, should that report have been kept
  20            or should it have not been kept?
  21                            MR. MITCHELL: I object to the
  22                    form.     You can answer.
  23                   Q.       Or something else?
  24                   A.       I can't tell just based on
  25            this, I don't know if this was signed by

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    1                                  A. CRAWFORD
    2           the commissioner or signed by anybody along
    3           the review process.             So I don't know what
    4           version of this report is indicated in this
    5           Newsday publication and also, I don't know
    6           what we actually have in our file.                  We
    7           might have this in our file.
    8                  Q.     So it was a report that was
    9           important enough to call several persons in
  10            to discuss it, is that fair to say?                   How
  11            many people were involved in that meeting
  12            to discuss this report?
  13                   A.     It was chief of detectives, me
  14            and Chief Calderelli.
  15                   Q.     And who was the chief at that
  16            time, who was the chief of detectives that
  17            you just mentioned?
  18                   A.     Chief Madigan.
  19                   Q.     So who called that meeting?
  20                   A.     Commissioner Webber.
  21                   Q.     So Commissioner Webber was
  22            interested enough in this report that he
  23            got the three of you guys to get-together
  24            to discuss it and at that time, you, this,
  25            well, and you would say then that any

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    1                                  A. CRAWFORD
    2           drafts about that report wouldn't
    3           necessarily be saved?                So it's important
    4           enough to have a meeting about it, but not
    5           important enough to save those handwritten
    6           notes?
    7                            MR. MITCHELL: I object to the
    8                    form.     You can answer.
    9                  Q.        I'm just asking, for the
  10            recordkeeping policies, should it be saved
  11            or should it not, given these
  12            circumstances?
  13                             MR. MITCHELL: And I object to
  14                     form.     You can answer.
  15                   A.        If it was reviewed by the
  16            commissioner and there were notations to
  17            that effect, it should be saved in my
  18            opinion.
  19                   Q.        I want to go back to IAPro
  20            little bit on these categories.
  21                             At some point, these categories
  22            changed, we would agree on that.                   At some
  23            point these 37 were updated, they weren't
  24            always 37, at some point they were 19 or
  25            something to that effect; is that correct?

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    1                                   A. CRAWFORD
    2                           MR. MITCHELL: I object to the
    3                   form.     You can answer.
    4                  A.       I don't know the exact number
    5           when it was originally put into the system,
    6           but yes, they have been amended overtime.
    7                  Q.       Okay.
    8                           So at the time that each
    9           amendment happened, how were the legacy
  10            categories incorporated into the new
  11            categories?
  12                   A.       They weren't.
  13                   Q.       What happened to them?
  14                   A.       Whatever categorization
  15            occurred when it was entered into IAPro
  16            still remains.
  17                   Q.       Okay.
  18                            So is it possible that there
  19            are categories that are not reflected on
  20            this list of 37 that are still in the
  21            system?
  22                   A.       Yes.
  23                   Q.       What are those categories that
  24            are still in appearance somewhere in the
  25            IAPro system, but are not in the

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    1                                  A. CRAWFORD
    2           categorization system?
    3                  A.     Example such as now it's
    4           categorized as excessive force, at one
    5           point for whatever reason they categorized
    6           it as undue force.
    7                  Q.     Okay.
    8                  A.     That's one example.             Also, we
    9           added bias policing as an allegation,
  10            probably about seven years ago; prior to
  11            that, I mean it would be entered as civil
  12            rights violation, but that, as you know,
  13            could incorporate false arrest, excessive
  14            force, et cetera.
  15                          So unfortunately, the
  16            categorization is not sufficiently specific
  17            where you could just say, oh, whatever
  18            you're looking for has to be under just
  19            this categorization and that one only.
  20                   Q.     Okay.
  21                          What would occur if a
  22            particular officer had a common issue
  23            violating a particular duty, but his
  24            violation did not occur within the trigger
  25            points, so not five within a 24-month

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    1                                  A. CRAWFORD
    2           period or not three of the other certain
    3           kind.        They had to do with something else.
    4                            Would there be any flag that
    5           was put into the system because of the
    6           commonality and the problems of his
    7           behavior?
    8                            MR. MITCHELL: And I'm going to
    9                    object to the form.                  You say it has
  10                     to do something else, you're talking
  11                     about a complaint?
  12                             MS. McCLURE: I'm talking about
  13                     whether it's in a complaint or
  14                     whether it's some supervisor notice
  15                     that he was having a problem --
  16                             MR. MITCHELL: And I object to
  17                     the form.       You can answer.
  18                    A.       As part of IAB intake process,
  19            when we get a complaint on an officer, we
  20            check the history on the officer to see if
  21            any parent patterns.
  22                    Q.       In IAPro, is that where you
  23            checked?
  24                    A.       We start with IAPro, yes, but
  25            depending on how long the officer was with

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    1                                  A. CRAWFORD
    2           the department, we may have to check our
    3           antiquated card catalog system.
    4                  Q.       If an officer had a repeated
    5           history of having some trouble with
    6           withholding exculpatory of reading
    7           material, how would that person be
    8           triggered in the computer system?
    9                           MR. MITCHELL: I object to the
  10                    form.     You can answer.
  11                   A.       I, very rarely do we see an
  12            actual allegation that withheld Brady [sic]
  13            material.       It would be, that's very rarely
  14            encountered.       If we got an allegation of
  15            false arrest or some improper action
  16            regarding statement taken something of that
  17            nature, but these don't happen frequently.
  18                   Q.       So if they did occur with a
  19            particular officer with any frequency, say,
  20            four or five times in a ten-year span,
  21            would that trigger any flags to say, hey,
  22            this guy is having trouble with this Brady
  23            thing, he should be monitored?
  24                            MR. MITCHELL: I object to the
  25                    form.     You can answer.

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    1                                  A. CRAWFORD
    2                  A.     If there's any commonality or
    3           any apparent pattern, yeah, that definitely
    4           should be noted.          It's part of the intake
    5           process.
    6                  Q.     Part of the intake of what?
    7                  A.     Of a complaint investigation --
    8                  Q.     Okay.
    9                  A.     -- or an administrative
  10            investigation.
  11                   Q.     What would trigger such an
  12            administrative investigation?
  13                   A.     Could be referral from the DA's
  14            office, could be direction from the police
  15            commissioner, could be any source.
  16                   Q.     Okay.
  17                   A.     So we don't need an actual
  18            civilian coming forward and making a
  19            complaint to commence an investigation.                     So
  20            if there's any other referral, any other
  21            essentially a referral or any kind of need
  22            to do an investigation, then that would
  23            trigger what we call an administrative
  24            investigation.
  25                   Q.     And that would be all

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    1                                  A. CRAWFORD
    2           reactionary to some information coming to
    3           the IAB?
    4                  A.     Yes, it would be some
    5           information that would trigger that need.
    6                  Q.     Is there any system of
    7           follow-up when it comes to officers'
    8           testimony in grand jury or at trial if
    9           there are allegations of false swearing of
  10            any kind?     Is there any kind of automatic
  11            system of follow-up to make sure if there
  12            should be some kind of internal trigger or
  13            flag on a person saying I don't know that
  14            he was being truthful, maybe you should
  15            watch him?      Is there any human trigger that
  16            would go into that?
  17                          MR. MITCHELL: I object to the
  18                    form, but you can answer
  19                   Q.     Do you understand what my
  20            question is?
  21                   A.     I understand that the
  22            limitation is going to be especially with
  23            grand jury testimony.               We're not going to
  24            be able to monitor that.                 So generally if
  25            there's an issue regarding an officer's

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    1                                  A. CRAWFORD
    2           testimony pursuant to a criminal
    3           prosecution, we're going to get a
    4           notification from the DA's office and that
    5           will be our notice.
    6                  Q.     So it will be up to the DA to
    7           say to themselves something isn't right
    8           about this officer and then it would be
    9           incumbent on the DA to bring that to your
  10            attention?
  11                   A.     Yes, that does happen on a
  12            regular basis.
  13                   Q.     So there's no internal
  14            monitoring of testimony, say, in a grand
  15            jury or at trial?
  16                          MR. MITCHELL: I object.               You
  17                    can answer.
  18                   A.     In practicality, I don't know
  19            how we would be able monitor testimony in a
  20            grand jury other than seeking the DA's
  21            office or the ADA.
  22                   Q.     I guess that's my question.
  23                          Do you guys seek information or
  24            do you only receive it?
  25                          MR. MITCHELL: I object, but you

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    1                                  A. CRAWFORD
    2                   can answer.
    3                  A.      We seek it, but generally any
    4           time there's an issue, we get a referral
    5           from the DA's office, that's an automatic.
    6                  Q.      Is it generally or is it always
    7           the case that when you guys do these
    8           investigations into testimony and false
    9           swearing that it's reactionary from some
  10            information coming into your office?
  11                           MR. MITCHELL: I object, but you
  12                    can answer.
  13                   A.      We would get notice from the
  14            DA's office and it would be a formal
  15            referral from the DA, him or herself, to a
  16            commissioner and then it would trigger an
  17            IAB investigation into underlying matter.
  18                   Q.      Okay.
  19                           How about complaints against
  20            the Suffolk County Laboratory or the
  21            Medical Examiner's Office, do they come
  22            through your office as well?
  23                   A.      No, because they're not under
  24            the purview of the police department.
  25                   Q.      Okay.

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    1                                   A. CRAWFORD
    2                           Help me to understand what, if
    3           any, Internal Affairs are monitored of
    4           those two departments?
    5                           MR. MITCHELL: I object to the
    6                   form.     If you're asking -- I object,
    7                   but you can answer.                   You can answer
    8                   the question.
    9                  A.       Okay.      We don't have authority
  10            over are those offices and any allegations
  11            of misconduct pertaining to their office
  12            would be referred to their offices.
  13                   Q.       Understood.
  14                            Explain to me if you would the
  15            four categories of findings from your
  16            office.
  17                   A.       We have exonerated which means
  18            that the alleged actions of the officer
  19            have been established by evidence to have
  20            occurred, but upon review, they're
  21            justified or proper; we have unfounded in
  22            which case due to the investigation
  23            reliable information has been discerned
  24            that would have disproved the allegations
  25            and refute the allegations; and there's

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    1                                  A. CRAWFORD
    2           unsubstantiated which means the
    3           investigation didn't resolve the differing
    4           accounts between the complainant and the
    5           involved officers and then there's
    6           substantiated which means that there's
    7           credible information to support the
    8           allegations and the allegations are in fact
    9           constitute police misconduct.
  10                   Q.     In instances where cases are
  11            exonerated and facts and allegations have
  12            been deemed to have in fact occurred, but
  13            were deemed not to be misconduct, what, if
  14            any follow-up occurs with regard to
  15            monitoring of those cases after your file
  16            is closed?
  17                          MR. MITCHELL: I object, but you
  18                    can answer.
  19                   A.     Monitoring of the case that's
  20            closed?
  21                   Q.     Of the case or personnel that's
  22            involved.
  23                   A.     Well, as far as the case
  24            itself, I mean once it's closed, there's
  25            not going to be any further investigation

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    1                                   A. CRAWFORD
    2           unless there's new information that comes
    3           forward or comes to light or there's some
    4           additional allegations that are made.                    As
    5           far as monitoring of the involved officer,
    6           I think we discussed comprehensively of the
    7           amount that's done.
    8                  Q.       Okay.
    9                           Is there any mechanism or by
  10            exonerated cases that were again, factually
  11            substantiated, are disclosed as part of
  12            your regular disclosure process or lawsuits
  13            and foil requests or are exonerated cases
  14            kept classified?
  15                            MR. MITCHELL: I object to the
  16                    form.     You can answer.
  17                   A.       We abide by the directions
  18            provided to us either by the U.S.
  19            Attorney's Office, the DA's office, State
  20            Attorney General's office or the County
  21            Attorney's office or outside legal counsel
  22            as to what files they need to produce.
  23                   Q.       Okay.
  24                   A.       So we don't make those
  25            decisions for such offices.

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    1                                   A. CRAWFORD
    2                  Q.        Are your files in IA organized
    3           by incident or office?
    4                  A.        They're organized by case
    5           number.
    6                  Q.        Case number, okay.
    7                            And does a case number get
    8           assigned to each and every incident?
    9                  A.        Each and every investigation.
  10                   Q.        So one file has one
  11            investigation in it?
  12                   A.        Yes.
  13                   Q.        Is there ever a time when your
  14            office sees it fit to have a third party or
  15            outside source perform an investigation?
  16                             MR. MITCHELL: I object to the
  17                     form.     You can answer.
  18                   A.        As far as referring a matter?
  19                   Q.        When a matter is referred, is
  20            there ever a time where you feel something
  21            would be best investigated by an outside
  22            entity?
  23                   A.        Yes.
  24                   Q.        Can you tell me about those
  25            times?

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    1                                  A. CRAWFORD
    2                  A.     If we have a matter that
    3           appears to be of a criminal nature
    4           involving one of our officers, we will
    5           refer to the DA's office, sometimes the
    6           U.S. Attorney's Office and sometimes the
    7           State Attorney General's office.
    8                         Other than that, no.              We have
    9           procedures if a complaint is made against
  10            the commissioner or the deputy police
  11            commissioner or chief of department by one
  12            of our employees and it involves, you know,
  13            sexual harassment or hostile work
  14            environment, such matters have to be
  15            referred to the chief deputy, county
  16            executive for investigation.
  17                   Q.     And when that occurs, do you
  18            get copies of the records that were
  19            generated that to be maintained in your
  20            Internal Affairs bracket?
  21                   A.     No, such investigations we
  22            don't get copies in IAB.
  23                   Q.     Do you get communications or
  24            correspondence about the outcome of those
  25            investigations?

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    1                                  A. CRAWFORD
    2                  A.      We don't get a formal
    3           investigation, no.
    4                  Q.      What kind of notification do
    5           you get?
    6                  A.      The copy of the report, I guess
    7           maintained in labor relations.
    8                  Q.      I'm sorry, copy of what report,
    9           copy --
  10                   A.      Whatever investigative report
  11            that's created pursuant to matter.                    It's
  12            not going to be maintained within IAB.
  13                   Q.      Okay.
  14                           It's going to be maintained
  15            where, pardon me?
  16                   A.      Labor relations.
  17                   Q.      Labor relations?
  18                           MR. MITCHELL: The Dennison
  19                    Building.
  20                   Q.      The Dennison Building, okay.
  21                           And where is labor relations?
  22                   A.      In the Dennison Building.
  23                   Q.      Is that considered part of the
  24            police department, part of your office,
  25            what is there?         Are they a separate arm of

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    1                                   A. CRAWFORD
    2           the government, what are they?
    3                  A.       It's a county agency that's
    4           outside the police department.
    5                  Q.       And how were you notified about
    6           the outcome then?           You said you don't get a
    7           formal notification, so what, do you get a
    8           phone call?
    9                  A.       We don't get any kind of
  10            notification unless there's some action
  11            that needs to be taken.
  12                   Q.       Okay.
  13                            So after a third party takes
  14            over an investigation, your office has no
  15            involvement or understanding of the case or
  16            its outcome at all whatsoever?
  17                            MR. MITCHELL: I object to the
  18                    form.     You can answer.
  19                   A.       Only pertaining to the
  20            investigations that are done under the
  21            investigations of labor relations.
  22                   Q.       Okay.
  23                   A.       Any cases that we refer to for
  24            possible criminal investigations, well,
  25            prosecution say to the DA's office or, we

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    1                                  A. CRAWFORD
    2           would retain disciplinary investigation
    3           within the agency.
    4                  Q.     Okay.
    5                         And what records would you
    6           maintain in those files?
    7                  A.     It would be the usual
    8           investigative report and associated
    9           documents.
  10                   Q.     Would you receive copies of
  11            anything generated by the third parties
  12            who's investigating it?
  13                   A.     It would incorporate any
  14            documentation that was provided by the
  15            prosecuting agency, yes.
  16                   Q.     So there is a system in place
  17            for sharing information between your office
  18            and the investigating agency?
  19                   A.     I wouldn't say a system, it
  20            would be a request that upon completion of
  21            its criminal investigation and or
  22            prosecution that we would be provided with
  23            whatever documents that they could share.
  24                   Q.     And do you do that as a matter
  25            of policy in all cases where something

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    1                                  A. CRAWFORD
    2           criminal is investigated by a third party?
    3                  A.      Yes.
    4                  Q.      Did you do that for the Spota
    5           investigation, request those files?
    6                          MR. MITCHELL: And I object to
    7                   the form, you can answer.
    8                  A.      I'm sorry, to the Spota
    9           investigation?
  10                   Q.      Yes, I'm sorry, perhaps you're
  11            familiar with it.
  12                           Did you request the
  13            investigating agency to disclose any of
  14            their files to you?
  15                           MR. MITCHELL: You're referring
  16                    to the investigation, the District
  17                    Attorney Tom Spota?
  18                           MS. McCLURE: Yes, the one he's
  19                    currently in prison --
  20                           MR. MITCHELL: I just want to
  21                    clarify, you're talking about an
  22                    investigation of Tom Spota?
  23                           MS. McCLURE: Yes.
  24                           MR. MITCHELL: Okay, that's all.
  25                    With that in mind, I'm objecting to

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    1                                  A. CRAWFORD
    2                   the form.        You can answer.
    3                  Q.      Do you remember the question?
    4                  A.      Yes.      Did we request -- there
    5           was a request from Commissioner Hart that
    6           was made to the FBI for whatever
    7           documentation they could share and, yes,
    8           there was some documentation that was
    9           provided to the police department.
  10                   Q.      About when was that received?
  11                   A.      I believe that was probably
  12            January of 2020.
  13                   Q.      Tell me about the background
  14            usage log of IAPro.              Are you familiar with
  15            that system and the capability of it?
  16                   A.      You mean as far as access when
  17            people access the program?
  18                   Q.      Right.
  19                   A.      Yes, I am familiar.
  20                   Q.      Okay.
  21                           Is there a system in place for
  22            you to monitor who accesses the system and
  23            what's done on it?
  24                   A.      Yes, we can monitor who has
  25            access to particular files and then delve

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    1                                  A. CRAWFORD
    2           into the issue as to why a particular
    3           investigator accessed the file.
    4                  Q.     Is it automatically reviewed
    5           per some standing operating procedure or do
    6           you just simply know that you have the
    7           capability to do it and have occasionally
    8           review it?
    9                  A.     I know we have the capability
  10            and know how to use it and when the need
  11            arises, if there's an investigative need we
  12            will check it.
  13                   Q.     Okay.
  14                          I know that in IAPro you have
  15            the ability to purge files and purge
  16            employees; is that correct?
  17                   A.     It has, the system has the
  18            capability all data that's entered into it.
  19                   Q.     And is a back-up system kept of
  20            purged information, do you know?
  21                   A.     The only information that's
  22            allowed to be purged is if somebody
  23            erroneously enters a file with no
  24            information and then it's not essentially
  25            purged, it's just used for a report of that

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    1                                  A. CRAWFORD
    2           nature.
    3                  Q.     And when you say allowed, does
    4           that mean there's some policy specific with
    5           regard to purging information?
    6                  A.     All request to purge any
    7           entries and what will happen is the only
    8           time it's allowed to occur is if the CO or
    9           I review report that's created by somebody
  10            in Internal Affairs Bureau, a notification
  11            or some other report and for whatever
  12            reason they left it blank.
  13                   Q.     Okay.
  14                   A.     And then at that point, we
  15            don't actually purge it, we just -- I have
  16            our Admin One just open up the file so it
  17            can be used for such a report.
  18                   Q.     All right.
  19                   A.     And even just to make it
  20            perfectly clear, if any data for whatever
  21            reason was accidentally purged, again we
  22            have the documents for all of the files.
  23                   Q.     Are you aware of whether or not
  24            your IT department has what's called a
  25            purge hold on the files in IAPro?

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    1                                  A. CRAWFORD
    2                  A.     I'm not aware if they had a
    3           purge hold on them.
    4                  Q.     Is there somebody within the IT
    5           department who is in charge of IAPro and
    6           its administration?
    7                         MR. MITCHELL: I object.               You
    8                   can answer.
    9                  A.     There's nobody in charge of it.
  10            Generally we use whichever computer tech is
  11            available to help us with whatever we need.
  12                   Q.     Okay.
  13                          Are you familiar with the
  14            storage and your office's policy on the
  15            keeping of Metadata in records?                 Do you
  16            know what that is?
  17                   A.     I'm sorry, am I familiar with
  18            the policy?
  19                   Q.     Are you familiar first with
  20            what Metadata is as a record, and secondly
  21            do you have a policy on the storage of it?
  22                          MR. MITCHELL: I'm going to
  23                    object, but you can answer it.
  24                   A.     No, I'm not aware of any
  25            particular policy regarding Metadata.

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    1                                  A. CRAWFORD
    2                  Q.      But you are aware of the
    3           information stored in Metadata?
    4                  A.      As far as how it's stored, no,
    5           I'm not.     I'm not an IT or a tech person,
    6           no.
    7                  Q.      But you are aware that it
    8           stores information about a user's
    9           interphase [sic] with a computer
  10            information that is stored on a computer
  11            and when it was generated and when it's
  12            deleted, you can tell all of that from
  13            Metadata.      Is that something that you have
  14            in your understanding of what Metadata is?
  15                   A.      Okay, no, I didn't understand
  16            what you meant by Metadata, but yes, we do
  17            have the capability to check any data was
  18            altered within the system.
  19                   Q.      And is that system that you
  20            have pursuant to standardized policies and
  21            procedures checking that data with any
  22            given regularity?
  23                   A.      No, we don't have any
  24            requirement to check such data.
  25                   Q.      Okay.

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    1                                  A. CRAWFORD
    2                          MS. McCLURE: Off the record.
    3                          (Whereupon, a five-minute break
    4                   was taken.)
    5                          MS. McCLURE: Back on the
    6                   record. All parties are present.                  The
    7                   witness knows he's sworn.               We're in
    8                   the home stretch.               All right.
    9                  Q.      I'm going to hand you now, I'm
  10            going to mark just this first page of the
  11            IAPro manual exhibit as three, Plaintiff's
  12            3.
  13                           (Whereupon, the aforementioned
  14                    document was marked as Plaintiff's
  15                    Exhibit 3 for identification as of
  16                    this date by the Reporter.)
  17                           MS. McCLURE: If you guys want
  18                    to check this out.               It's just page
  19                    one.    The software brand.
  20                           MR. MITCHELL: Thank you.
  21                           MS. McCLURE: Exhibit 3, I will
  22                    pass this to the witness to take a
  23                    look at that first page.
  24                   Q.      Mr. Crawford, take a look at
  25            the provider, IAPro, the information at the

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                                                                   Page 227

    1                                  A. CRAWFORD
    2           bottom pertaining to the vendor.
    3                         Is that in fact the software
    4           that you guys use reflected in that page
    5           one of the manual?
    6                  A.     IAPro software, yes.
    7                  Q.     So that March 2019 handbook
    8           sort of speak is several hundred pages.                     Do
    9           you have a copy of that full handbook in
  10            your office?
  11                   A.     I know we have a handbook as a
  12            reference within the office.                  I don't know
  13            if it's the March 2019 version.
  14                   Q.     Okay.
  15                          Do you have every handbook for
  16            every version that's been published?
  17                   A.     That, I'm not aware of.
  18                   Q.     All right.
  19                          I want to talk about the
  20            monitor tab a little bit more.                  The monitor
  21            tab, my understanding, is that it's linked
  22            to that early intervention system and the
  23            threshold notifications that we have
  24            already discussed.
  25                          Is my understanding correct?

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    1                                  A. CRAWFORD
    2                  A.     Yes.
    3                  Q.     Does that monitor tab serve any
    4           other function in your office?
    5                  A.     Yes, we also use the monitoring
    6           for officers that are subject to
    7           stipulation and agreements.
    8                  Q.     Okay.
    9                  A.     Also for officers that are
  10            subject to the terms of an Order of
  11            Protection.
  12                   Q.     So for Orders of Protection,
  13            that pertain to domestic violence incidents
  14            or any other criminal or family related
  15            matter?
  16                   A.     Yes.
  17                   Q.     And when the monitor tab gives
  18            you an employee snapshot, the screen talks
  19            about threshold limits.                 Are those
  20            threshold limits limited to the two
  21            threshold limits we talked about earlier
  22            that trigger notifications?
  23                   A.     Thresholds regarding complaint?
  24                   Q.     Any other threshold limit.                 I
  25            see administrative threshold, citizen

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    1                                  A. CRAWFORD
    2           complaint limit, overall threshold limit,
    3           probationary police officer or use of force
    4           limit.       If you want to take a look at that.
    5                   A.      I mean we also have bias
    6           policing, by allegation of bias policing,
    7           it's not really a threshold, but upon every
    8           incident generated for that.
    9                   Q.      So bias policing is defined as
  10            what?
  11                    A.      As any act or, by a police
  12            officer that is based on either an actual
  13            bias or perceived bias.
  14                    Q.      And a flag or an alert goes out
  15            immediately upon the accusation of the bias
  16            policing?
  17                    A.      Yes, there's no, the threshold
  18            is essentially one.
  19                    Q.      And how long does that flag
  20            stay active?       How long is that alert
  21            carried with that officer?
  22                    A.      Well, the alert is generated
  23            upon one complaint.
  24                    Q.      And how long does it stay
  25            there?

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    1                                   A. CRAWFORD
    2                  A.     It stays in his or her history
    3           for the remainder of the officer's carrier.
    4                  Q.     Is that the case for all
    5           alerts?     Do they stay with the officer for
    6           the remainder of their career?
    7                  A.     There's a record of the alerts,
    8           yes.
    9                  Q.     Okay.
  10                          Do those alerts at any point
  11            drop off of the early intervention screen?
  12                   A.     Well, I, as far as the
  13            dashboard, as far --
  14                   Q.     As far as the dashboard.
  15                   A.     No.       It may drop off for a
  16            certain period of time elapses and that
  17            officer is no longer within a threshold
  18            criteria, but the alert itself is going to
  19            remain as a permanent part of that
  20            officer's history.
  21                   Q.     So what alerts remain as a
  22            permanent part of the officer's history
  23            until retirement?
  24                   A.     All of them.
  25                   Q.     Okay.

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    1                                  A. CRAWFORD
    2                         So you just testified that some
    3           of them, if they fall out of a threshold
    4           time limit would fall off.                    So are there
    5           categories of notifications or flags,
    6           pardon me, what's the proper term, alert?
    7                  A.     Well, we need to make a
    8           distinction between an alert and an
    9           indication on the dashboard.
  10                   Q.     Okay.
  11                   A.     The alert is generated upon an
  12            officer meeting one of the established
  13            thresholds.      The alert goes to the command
  14            of the officer and that's going to be a
  15            record of, that alert is going to be a
  16            permanent alert of that officer's
  17            disciplinary history.
  18                   Q.     And what, if anything, remains
  19            a permanent part on the dashboard?
  20                   A.     Ideally, nothing. I mean it's
  21            going to fluctuate on the information
  22            available at any particular time.                    So if an
  23            officer had, for argument sake, three
  24            complaints last year, but two years go by
  25            and the officer doesn't have any additional

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    1                                  A. CRAWFORD
    2           complaints and there are no other incidents
    3           that would trigger a threshold, then at
    4           that point you should have a green light.
    5                  Q.     And what determines that time
    6           period that you, you know, determine
    7           whether or not if there's been a clean
    8           history, something should be removed?                      Is
    9           that policy or discretion?
  10                          MR. MITCHELL: I object to the
  11                    form. You can answer.
  12                   A.     It's pursuant to the
  13            established threshold and whatever time we
  14            entered into the system for that particular
  15            threshold.
  16                   Q.     And is it one person that
  17            determined the threshold for each category?
  18                   A.     Ultimately, yes.                It's a
  19            commanding officer of Internal Affairs
  20            Bureau.
  21                   Q.     And are those changed or
  22            updated ever?
  23                   A.     They are updated.                As far as
  24            the last time it's been updated, that was
  25            probably 2015 or so, I don't know. I'm

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    1                                  A. CRAWFORD
    2           sorry, that's when we added bias policing
    3           and an automatic alert on that, but we had
    4           to change the threshold, we had an overall
    5           six incident alert, but because of
    6           limitations in the system, we had to
    7           convert that to the category regarding five
    8           complaints within any 24-month period so we
    9           can ensure that we adhere to our reporting
  10            requirements.
  11                   Q.     So are all of the alerts then
  12            subject to fall off of the dashboard at
  13            sometime or another?
  14                          MR. MITCHELL: I'm going to
  15                    object to the form.                   You can answer.
  16                   A.     As far as the information
  17            that's available on the dashboard when the
  18            supervisor is supposed to make the monthly
  19            checks?
  20                   Q.     Yep.
  21                   A.     Yes, that's going to
  22            continually fluctuate based on the data
  23            present at the time.
  24                   Q.     So if a person has had, for
  25            example, ten complaints of lying, that's a

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    1                                  A. CRAWFORD
    2           category, right, lying; ten problems that,
    3           but he hasn't had any problem with that in
    4           the last, say, two years or whatever the
    5           threshold might be at by the commander and
    6           the supervisor pulled up the dashboard
    7           after that time had happened, would there
    8           be any indication on the dashboard of that
    9           prior problem?
  10                   A.     No, not to the supervisor.
  11                   Q.     All right.            I want to talk
  12            about reports that are run from IAPro.
  13                          In the course of the
  14            administration of your office, do you
  15            regularly run any type of reports; monthly,
  16            quarterly showing officers who have had
  17            problems or any type of compilation of data
  18            that you feel is important to review?
  19                   A.     Yes, what we do is check for
  20            specific types of categorization of
  21            complaints, allegations of excessive force,
  22            false arrest, et cetera, and we will help
  23            put together a list of the officer's most
  24            complaints so it can be analyzed further.
  25                   Q.     Is that list automatically

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    1                                   A. CRAWFORD
    2           generated by IAPro, the top percentage
    3           list, what is it called, or is that a list
    4           that you guys generate yourself?
    5                  A.       Generally the data runs that we
    6           do would generate ourselves.                  We don't use
    7           any standardized report.
    8                  Q.       Okay.
    9                           So within your offices, is it
  10            correct to say that there are compilations
  11            of data on your computer that track
  12            information about officers and problems
  13            that are seen as commonalities throughout
  14            the data that you create and maintain on
  15            your computer system outside of IAPro?
  16                            MR. MITCHELL: I object to the
  17                    form.     You can answer.
  18                   A.       We will put together the
  19            reports, we will use it for our arm
  20            analysis and with our meetings with the
  21            commissioner and actually the department
  22            just instituted a new bureau, a risk
  23            management bureau that's going to be
  24            actually assisting us with analyzing this
  25            data, but there's something we do

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    1                                  A. CRAWFORD
    2           internally with IAPro and we present the
    3           information to the commissioner.
    4                  Q.      When you guys go to those
    5           meetings, how would you go with your
    6           laptops and computers or do you go with
    7           those reports printed on paper?
    8                  A.      Generally we have the data
    9           compiled and printed out.
  10                   Q.      So are those data compilations
  11            maintained on paper and also scanned
  12            somewhere in your computer?
  13                   A.      Ordinarily I will keep my
  14            copies in a folder that I use for our
  15            meetings with the commissioner as a
  16            reference.
  17                   Q.      Okay.
  18                           And because they were made in
  19            the computer, is it safe to say that your
  20            reports would also be stored in the
  21            computer?
  22                   A.      Well, the data is, I would say,
  23            from a system, so we don't scan, you know,
  24            these data runs and enter them as any
  25            particular report.             We just have this

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    1                                  A. CRAWFORD
    2           available as a reference when we meet the
    3           commissioner.
    4                  Q.     So you do data runs, so queries
    5           from IAPro and then print it out?
    6                  A.     Yes.
    7                  Q.     Okay.
    8                         So you don't transfer that data
    9           into, say, an Excel sheet or data into your
  10            own report, is that right?
  11                   A.     We, it may be converted in an
  12            Excel spread sheet or print it out as a
  13            word document depending on what data we're
  14            trying to assemble.
  15                   Q.     Okay.
  16                          Do those types of reports or
  17            charts in Excel have a particular name?
  18                   A.     No, I mean we just use them for
  19            personal reference within the office and
  20            have it available for our meeting with the
  21            commissioner.
  22                   Q.     How often do you guys meet with
  23            the commissioner?
  24                   A.     Once a week.
  25                   Q.     Do you always have reports with

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    1                                  A. CRAWFORD
    2           you to go over with the commissioner in
    3           substance?
    4                  A.     Usually, yeah, you better be
    5           prepared when you meet with the
    6           commissioner.        Yes, we have references
    7           available.
    8                  Q.     So there are weekly reports
    9           about Internal Affairs that you share with
  10            the commissioner on a weekly basis with new
  11            reports generated every week?
  12                   A.     We actually don't transmit a
  13            report with the commissioner.                 We meet in
  14            person with the commissioner at minimum
  15            once a week and also additionally if the
  16            need arises, but we will have information
  17            available when the commanding officer and I
  18            go to these meetings.
  19                   Q.     Do you guys also discuss any
  20            significant cases that you may be
  21            investigating?
  22                   A.     Yes, of course.
  23                   Q.     And to be able to share with
  24            him that information, do you ever prepare
  25            any summary reports or memoranda about

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    1                                  A. CRAWFORD
    2           those significant cases to give to him?
    3                  A.     Generally our presentations to
    4           the commissioner are verbal and we will
    5           have whatever reports as a reference for
    6           these meetings.
    7                  Q.     Okay.
    8                         So I want to go back for a
    9           moment.     After your office became aware of
  10            the results of the outside investigation of
  11            Thomas Spota that we talked about earlier,
  12            did your office do any further
  13            investigating or generate any reports of
  14            your own with regard to your, anything,
  15            anything that you would have learned from
  16            that case?
  17                          MR. MITCHELL: I object.               You
  18                    can answer.
  19                   A.     Yes, the department conducted
  20            an investigation regarding our members'
  21            involvement with that particular case as
  22            well as other associated matters.
  23                   Q.     And how did you determine which
  24            associated matters would be investigated?
  25                   A.     Well, this was at the direction

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    1                                  A. CRAWFORD
    2           of the police commissioner at the time, but
    3           it was essentially Chief Burke and
    4           associated incidents.
    5                  Q.     So using the reports then from
    6           a third party agency, you received
    7           information and launched an investigation
    8           on your own that generated additional
    9           reports regarding that subject matter
  10            affiliated things; is that correct?
  11                   A.     Yes.
  12                   Q.     Does your office have any
  13            involvement over the investigation of the
  14            district attorneys as well or just police
  15            officers?
  16                   A.     Just members of the police
  17            department.
  18                   Q.     Do you have any records
  19            regarding members of the police department
  20            and their interaction with any DA's as part
  21            of your investigations, like do you ever
  22            investigate DA's or their directives given
  23            to police officers?
  24                          MR. MITCHELL: I object.               You
  25                    can answer.

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    1                                  A. CRAWFORD
    2                  A.       We have no authority to
    3           investigate allegations of misconduct or
    4           anything else involving members of the DA's
    5           office; however, if our investigation is
    6           necessarily need to include information
    7           from the DA's office, yes, we will try to
    8           get information from the DA's office.
    9                  Q.       If it comes to your attention
  10            that a member of the DA's office working in
  11            conjunction with a member of your
  12            department are committing some kind of
  13            misconduct or a conduct that you know as an
  14            attorney is unethical, what is the policy
  15            and procedure of your office to report that
  16            to the agency that does have jurisdiction
  17            over the DA's office?
  18                            MR. MITCHELL: I object to the
  19                    form.     You can answer.
  20                   A.       If we received any information,
  21            any allegations of misconduct from members
  22            of the DA's office, it will be referred to
  23            the DA himself and also to the Public
  24            Integrity Bureau and depending on the
  25            nature of the allegations, referral to the

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    1                                  A. CRAWFORD
    2           U.S. Attorney's Office may also be
    3           indicated, depending on the information.
    4                  Q.     Okay.
    5                         And is that procedure
    6           memorialized in any kind of SOP or
    7           guidebook or is it discretionary?
    8                  A.     As far as discretionary, if we
    9           get allegations in misconduct involving
  10            another agency, no, it's not discretionary,
  11            we have to refer to them.
  12                          As far as which agencies get
  13            the referral, that would be pursuant to a
  14            discussion on the highest level with the
  15            police commissioner.
  16                   Q.     With regard to criminal matters
  17            that come through and are prosecuted here
  18            through Suffolk County, if any of those
  19            investigations result in either a
  20            conviction that's overturned or an
  21            acquittal, does that trigger an automatic
  22            investigation by your office?
  23                          MR. MITCHELL: I object, but you
  24                    can answer.
  25                   A.     The acquittal itself or the

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    1                                  A. CRAWFORD
    2           reversal pursuant to an appeal would not
    3           automatically trigger an investigation.                     We
    4           would have to receive notice regarding the
    5           matter, so we don't keep track of criminal
    6           prosecution and the results and any appeals
    7           that may result, but ordinarily our
    8           investigation will be triggered by the
    9           expected resulting in litigation.
  10                   Q.     Okay.
  11                   A.     So generally if a verdict is
  12            set aside or there's an acquittal and
  13            invariably the department and the County of
  14            contracting would be served with the very
  15            least a Notice of Claim, if not Summons &
  16            Complaint and upon receipt of either of
  17            those documents articulating any allegation
  18            of misconduct would trigger an
  19            investigation.
  20                   Q.     Sure.
  21                          On referral?
  22                   A.     Yes.
  23                   Q.     Within your department, does
  24            anyone communicate with the District
  25            Attorney's office any kind of

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    1                                  A. CRAWFORD
    2           recordkeeping, any kind of list of officers
    3           who are presently flagged or under alert
    4           for any issue?
    5                         MR. MITCHELL: I'm going to
    6                   object.      You can answer.
    7                  A.     I'm sorry, could you repeat
    8           that again?
    9                  Q.     Do you share any records with
  10            the Suffolk County District Attorney's
  11            office when it comes to your attention or
  12            when an officer is flagged or an alert is
  13            put out to watch a specific officer?
  14                          MR. MITCHELL: I'm going to
  15                    object.      You can answer.
  16                   A.     Are you asking me if any of the
  17            alerts that are generated pursuant to the
  18            IAPro platform or shared with the DA's
  19            office?
  20                   Q.     Either the alerts themselves or
  21            any communication to notify the DA's office
  22            of an alert.
  23                          MR. MITCHELL: I object.               You
  24                    can answer.
  25                   A.     Any communications to the DA's

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    1                                   A. CRAWFORD
    2           office regarding an alert?
    3                  Q.       Yes.
    4                  A.       Who would make that
    5           communication?
    6                  Q.       I'm asking you.
    7                  A.       No --
    8                  Q.       Does any communication happen
    9           at all?
  10                   A.       -- when it comes through the
  11            alerts generally the IAPro system, no.                      At
  12            this time there's an internal alert.
  13                            MS. McCLURE: Folks, I think,
  14                    I'm just about ready to wrap up.                    I'm
  15                    going to take a moment.                   We will go
  16                    off the record and then I suspect we
  17                    will wrap it up.
  18                            MR. MITCHELL: Okay, sounds
  19                    good.
  20                            (Whereupon, a five-minute break
  21                    was taken.)
  22                            MS. McCLURE: Guys, we're going
  23                    back on the record.                   All parties are
  24                    present and we're back on the record.
  25                   Q.       Officer, we have covered quite

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    1                                  A. CRAWFORD
    2           a bit today, but I need to understand a bit
    3           more about these back-ups that you weren't
    4           able to talk about before, how they're
    5           maintained.
    6                         Is there someone specifically
    7           that is in charge of maintaining these
    8           back-ups that could answer questions about
    9           extracting information from them?
  10                   A.     As far as the IT staff, it
  11            would either be William Dougherty,
  12            Inspector William Dougherty is the
  13            inspector of our section or Captain
  14            Frederick Webber is the executive officer.
  15                   Q.     All right, very good.
  16                          And with regard to the reports
  17            that we have discussed today about doing
  18            the queries that generate substantial
  19            information and the concise history that
  20            should have information pulled from the
  21            IAPro system including the narratives,
  22            those are indeed queries that could be run
  23            and either saved electronically or printed
  24            out; is that correct?
  25                   A.     Yes.

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    1                                   A. CRAWFORD
    2                  Q.     Do you save electronic copies
    3           of your weekly reports to the commissioner?
    4                  A.     No.
    5                  Q.     So those are queries that you
    6           make weekly that you printout that, what
    7           happens to them afterwards, do you keep a
    8           copy, throw them out, what happens to
    9           those?
  10                   A.     It's just, I may keep it in my,
  11            I have a file that I keep as a personal
  12            reference for the means with the
  13            commissioner, if I replace it at any point
  14            it's not as if these are standing reports
  15            or any reports that are used external or
  16            generally just shred the reports and update
  17            it with new information.
  18                   Q.     All right.
  19                          And how about those problem
  20            officer reports that you were talking about
  21            before, the top few that have been having
  22            issues, I referred to it as something else,
  23            from the IAPro manual, but what do you call
  24            those reports?
  25                          MR. MITCHELL: I object to the

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    1                                  A. CRAWFORD
    2                   form. You can answer.
    3                  A.     I'm sorry, the report of
    4           problem officers?
    5                  Q.     Yes.
    6                         You testified that there's a
    7           report that you run where it shows officers
    8           that have had perhaps the top percentile of
    9           problems in one report; is that correct?
  10                   A.     Yes, we will run reports with,
  11            you know, the officers with the most
  12            allegation of excessive force.
  13                   Q.     And does that result from a
  14            query that you do in IAPro that brings up a
  15            list of officers?
  16                   A.     Yes.
  17                   Q.     And that list could either be
  18            printed or saved of course in Adobe format,
  19            am I right?
  20                   A.     Yes.
  21                   Q.     As far as the concise officers
  22            history reports, it's my understanding that
  23            those reports are generated by individual
  24            officers; is that correct?
  25                   A.     They're generated by individual

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    1                                  A. CRAWFORD
    2           officers?
    3                  Q.     Right.
    4                         In other words, can I pull up a
    5           concise officer history of a particular
    6           command or investigation unit that has
    7           multiple officers?
    8                  A.     Okay, no, I'm sorry, I thought
    9           you meant that the individual officers were
  10            the ones generating.              Yes, the concise
  11            history would be limited to a particular
  12            officer.
  13                   Q.     And does your unit ever see fit
  14            to group those concise officer histories by
  15            departments, so, say make a compilation of
  16            the histories for, of a certain precinct or
  17            a certain command unit?
  18                   A.     Generally, in my experience
  19            that without getting particular data on
  20            individual officers compiling it for a
  21            command really isn't useful data, in my
  22            opinion.
  23                   Q.     So if someone wanted to receive
  24            concise officer histories of a particular
  25            group of folks, that would be run either

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    1                                  A. CRAWFORD
    2           one of two ways in my estimation, either by
    3           officer individuals or extracted from the
    4           back-up which would have all the
    5           information available, is that right?
    6                  A.     Yes.
    7                  Q.     And in order to inquire about
    8           extracting that information via back-up, I
    9           have to contact one of those two officers
  10            because it's outside of your scope, right?
  11                          MR. MITCHELL: I object to form,
  12                    but you can answer.
  13                   A.     Extracting from the back-up,
  14            I'm not aware of that ever occurring, but
  15            yes, if we had all of our computer
  16            equipment destroyed in a fire and we had to
  17            replicate all of the data, then yes, we
  18            have to have IT session at that point to
  19            replicate the data for us.
  20                   Q.     I suppose that's good enough.
  21            That answers my question.                     I have no
  22            further questions at this time.
  23                          MS. McCLURE: Is there anything
  24                    else you wanted to bring to my
  25                    attention, folks?               Is there anything

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    1                                  A. CRAWFORD
    2                  you want to put on the record or
    3                  should we go ahead and wrap up?
    4                            MR. MITCHELL: The only thing I
    5                  would put on the record is request a
    6                  copy of the transcript for him to
    7                  make corrections and errors.
    8                            MS. McCLURE: Of course.
    9                            MR. MITCHELL: That's it.
  10                   Nothing else from me.
  11                             MR. WOOD: I have no questions.
  12                             MS. McCLURE: Thank you.              That
  13                   will conclude the record.
  14                             (Whereupon, at 3:09 p.m., the
  15                   Examination of this witness was
  16                   concluded.)
  17
  18                         °               °                °       °
  19
  20
  21
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  23
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                                                                   Page 252

    1       Brian Mitchell, Esq.

    2       bmitchell@suffolkcountyny.gov

    3                                   April 19, 2021.

    4       RE: White v. County Of Suffolk, et al.

    5            4/12/2022, Alexander Crawford (#5183058)

    6            The above-referenced transcript is available for

    7       review.

    8            Within the applicable timeframe, the witness should

    9       read the testimony to verify its accuracy. If there are

   10       any changes, the witness should note those with the

   11       reason, on the attached Errata Sheet.

   12            The witness should sign the Acknowledgment of

   13       Deponent and Errata and return to the deposing attorney.

   14       Copies should be sent to all counsel, and to Veritext at

   15       cs-ny@veritext.com.

   16

   17        Return completed errata within 30 days from

   18      receipt of testimony.

   19          If the witness fails to do so within the time

   20      allotted, the transcript may be used as if signed.

   21

   22                      Yours,

   23                      Veritext Legal Solutions

   24

   25

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    1       White v. County Of Suffolk, et al.
    2       Alexander Crawford (#5183058)
    3                             E R R A T A          S H E E T
    4       PAGE_____ LINE_____ CHANGE________________________
    5       __________________________________________________
    6       REASON____________________________________________
    7       PAGE_____ LINE_____ CHANGE________________________
    8       __________________________________________________
    9       REASON____________________________________________
  10        PAGE_____ LINE_____ CHANGE________________________
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  12        REASON____________________________________________
  13        PAGE_____ LINE_____ CHANGE________________________
  14        __________________________________________________
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  16        PAGE_____ LINE_____ CHANGE________________________
  17        __________________________________________________
  18        REASON____________________________________________
  19        PAGE_____ LINE_____ CHANGE________________________
  20        __________________________________________________
  21        REASON____________________________________________
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  23        ________________________________                  _______________
  24        Alexander Crawford                                     Date
  25

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                                                                   Page 254

    1                                  A. CRAWFORD
    2                         D E C L A R A T I O N
    3
    4                  I hereby certify that having been
    5           first duly sworn to testify to the truth, I
    6           gave the above testimony.
    7
    8                  I FURTHER CERTIFY that the foregoing
    9           transcript is a true and correct transcript
  10            of the testimony given by me at the time
  11            and place specified hereinbefore.
  12
  13
  14
                                   _________________________
  15                                    ALEXANDER CRAWFORD
  16
  17
  18            Subscribed and sworn to before me
  19            this _____ day of ________________ 20___.
  20
  21
                _________________________
  22                   NOTARY PUBLIC
  23
  24
  25

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    1                                   A. CRAWFORD
    2                               E X H I B I T S
    3           PLAINTIFF'S EXHIBITS
    4           EXHIBIT       EXHIBIT                                  PAGE
    5           NUMBER        DESCRIPTION
    6           EX 1          Document: Subpoena of
    7                         Alexander Crawford                            4
    8
                EX 2          Documents: Newsday
    9
                              Article #1                                 197
  10
  11            EX 3          Document: IAPro
  12                          Instruction Manual Page                    226
  13
  14                     (Exhibits retained by Counsel.)
  15
  16
  17                                I N D E X
  18            EXAMINATION BY                                         PAGE
  19            MS. McCLURE                                           4-250
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                                                                   Page 256

    1                                  A. CRAWFORD
    2              INFORMATION AND/OR DOCUMENTS REQUESTED
    3           INFORMATION AND/OR DOCUMENTS                          PAGE
    4           (None)
    5
    6
    7
    8                    QUESTIONS MARKED FOR RULINGS
    9           PAGE LINE QUESTION
  10             21       6   When you say bargaining
  11                          representative, can you explain
  12                          to me what that means?
  13
  14             86       10 I wasn't, but you could tell me
  15                          about that now.
  16
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                                                                   Page 257

    1                                  A. CRAWFORD
    2                        C E R T I F I C A T E
    3
    4           STATE OF NEW YORK                   )
                                                    :    SS.:
    5           COUNTY OF SUFFOLK                   )
    6
    7                  I, NANCY WEINSCHREIDER, a Notary
    8           Public for and within the State of New
    9           York, do hereby certify:
  10                   That the witness whose examination is
  11            hereinbefore set forth was duly sworn and
  12            that such examination is a true record of
  13            the testimony given by that witness.
  14                   I further certify that I am not
  15            related to any of the parties to this
  16            action by blood or by marriage and that I
  17            am in no way interested in the outcome of
  18            this matter.
  19                   IN WITNESS WHEREOF, I have hereunto
  20            set my hand this 19th day of April 2022.
  21
  22
  23                   <%24591,Signature%>
                                NANCY WEINSCHREIDER
  24
  25

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                          Federal Rules of Civil Procedure

                                          Rule 30



             (e) Review By the Witness; Changes.

             (1) Review; Statement of Changes. On request by the

             deponent or a party before the deposition is

             completed, the deponent must be allowed 30 days

             after being notified by the officer that the

             transcript or recording is available in which:

             (A) to review the transcript or recording; and

             (B) if there are changes in form or substance, to

             sign a statement listing the changes and the

             reasons for making them.

             (2) Changes Indicated in the Officer's Certificate.

             The officer must note in the certificate prescribed

             by Rule 30(f)(1) whether a review was requested

             and, if so, must attach any changes the deponent

             makes during the 30-day period.




             DISCLAIMER:     THE FOREGOING FEDERAL PROCEDURE RULES

             ARE PROVIDED FOR INFORMATIONAL PURPOSES ONLY.

             THE ABOVE RULES ARE CURRENT AS OF APRIL 1,

             2019.    PLEASE REFER TO THE APPLICABLE FEDERAL RULES

             OF CIVIL PROCEDURE FOR UP-TO-DATE INFORMATION.
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             COMPANY CERTIFICATE AND DISCLOSURE STATEMENT

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